           Exhibit 57




Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 1 of 103
                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF
                               NORTH CAROLINA



STUDENTS FOR FAIR ADMISSIONS, INC.,         |     Case 1:14-cv-00954-LCB-JLW
Plaintiff,                                  |
                                            |
v.                                          |
                                            |
UNIVERSITY OF NORTH CAROLINA, et al.,       |
Defendants.                                 |




                REBUTTAL REPORT OF CAROLINE M. HOXBY, PH.D.
                                  April 6, 2018


     CONTAINS CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER




     Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 2 of 103
                                                     Table of Contents
I.       Introduction ......................................................................................................................... 1
II.      Summary of Opinions ......................................................................................................... 1
III.     Contrary To Prof. Arcidiacono’s Claims, Race is Not a Dominant Factor in UNC’s
         Holistic Admissions Process ............................................................................................... 6
         A.     Even Using Prof. Arcidiacono’s Models, the Contribution of Race in
         Explaining Admissions Decisions on the Whole is Small, Consistent with the
         Findings in my Opening Report ...........................................................................................8
         B.    The Average Characteristics of Admitted URM and Non-URM Students
         Are Not Probative in Answering the Question of Whether Race or Ethnicity Is a
         Dominant Factor in UNC’s Admissions Process .................................................................8
         C.     Prof. Arcidiacono’s Analysis of Race/Ethnicity by “Academic Index”
         Decile Is Misleading and Does Not Provide Evidence that Race/Ethnicity Is a
         Dominant Factor in Admissions ........................................................................................12
         D.      Prof. Arcidiacono Presents Non-Representative and Misleading Estimates
         of the “Magnitude of Racial/Ethnic Preferences” that Grossly Overstate the Role
         of Race/Ethnicity in UNC Admissions ..............................................................................19
IV.      Prof. Arcidiacono’s Models of the Admissions Process Use Improper Assumptions and
         Contain Errors and are Therefore Not a Reliable Basis for Analysis of Any Alternative
         Admissions Plan................................................................................................................ 28
         A.     Prof. Arcidiacono Falsely Claims that his Analysis Likely Underestimates
         Race Preferences Based on Unsubstantiated Assumptions about the Unobservable
         Characteristics of the Applicant Class ...............................................................................30
         B.     Prof. Arcidiacono’s Models Are Based Only on UNC’s Actual Applicants
         Even Though They are Not Representative of the Students Who Would Apply
         under Alternative Admissions Plans ..................................................................................32
         C.    Prof. Arcidiacono’s Models Rely on Ratings that Have Not Been
         Generated for Any Student Who Has Not Applied to UNC in the Past. Therefore,
         His Models Cannot Predict How Admissions Would Work for Students Who
         Have Not Applied, Including All Future Students.............................................................34
         D.     Prof. Arcidiacono’s Models Are Unreliable for Assessing Racial
         Preferences or Alternative Admissions Plans because They Are Overfit..........................36
         E.     Prof. Arcidiacono’s Models Contain Variables that Generate Biased
         Estimates. Also, the Models Contain Errors and Neglect Relevant Student Data
         Rendering Them Unreliable for Assessing Admissions ....................................................42
V.       Mr. Kahlenberg Has Failed to Provide Evidence of the Existence of a Workable Race-
         Blind Alternative ............................................................................................................... 47
         A.     The Alternative Admissions Plans in the KA Simulations, When Applied
         to Most Prospective North Carolina Students Who Would Be Affected, Generate



                                            Confidential – Subject to Protective Order                                                          i


       Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 3 of 103
        a Class Far Too Large and Imply that UNC Would Become Dramatically Less
        Selective .............................................................................................................................49
        B.     The “Kahlenberg Bumps” Are So Large and Apply to So Many
        Prospective Applicants that They Would Generate a Student Body that Is
        Academically Less Qualified .............................................................................................57
        C.     Mr. Kahlenberg’s Version of a “Percentage Plan” Is Unworkable and
        Does Not Correspond to Top X Percent Plans that Are Implemented, Not Even in
        Spirit ................................................................................................................................62
        D.    Numerous Suggestions Made by Mr. Kahlenberg Regarding Alternative
        Admissions Plans are Unfounded, Unworkable, or Based Purely on Hopes.....................69
        E.     Mr. Kahlenberg Does Not Attempt to Evaluate Alternative Admissions
        Plans Solely on the Basis of Whether They Would Allow UNC to Maintain Racial
        Diversity. Instead, His Evaluation of Each Plan is Based Partly on Whether It
        Increases UNC’s Socioeconomic Diversity. ......................................................................74
VI.     Conclusion ........................................................................................................................ 74




                                            Confidential – Subject to Protective Order                                                         ii


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 4 of 103
I.       Introduction


1.       I am Caroline M. Hoxby and I am the Scott and Donya Bommer Professor in Economics
at Stanford University. On January 12, 2018 I submitted an expert report (my “opening report”
or the “Hoxby Report”) in this matter. My qualifications are described in detail in my opening
report and appendices thereto.
2.       I have reviewed reports by Prof. Peter Arcidiacono (“Arcidiacono Report”) and Mr.
Richard Kahlenberg (“Kahlenberg Report”) submitted on January 17, 2018 and January 12,
2018, respectively, in support of Plaintiffs in this matter and have been asked to consider the
opinions therein. 1
3.       In particular, I have been asked to assess Prof. Arcidiacono’s attempted modeling of
admissions at the University of North Carolina at Chapel Hill (“UNC”), and his opinion that race
is a dominant factor in those admissions. 2 In addition, I have been asked to assess the
simulations presented by Mr. Kahlenberg (which were actually performed by Prof. Arcidiacono),
and his opinion that they show workable race-neutral alternative admissions plans.
4.       I have been assisted in this matter by staff of Cornerstone Research, who worked under
my direction, and I have relied upon the materials listed in Appendix A. I am being
compensated at a rate of $637.50 per hour. My compensation is not contingent in any manner
upon the nature of my findings or on the outcome of this litigation.


II.      Summary of Opinions


5.       None of the analysis or opinions presented in the Arcidiacono Report or Kahlenberg
Report changes any of the opinions I presented in my opening report.
6.       Even after reviewing the Arcidiacono and Kahlenberg Reports, it remains my opinion
that race is not a dominant factor in UNC admissions. Similarly, I continue to opine that no
workable race-blind alternative would allow UNC to maintain its racial diversity while also
maintaining its current high academic standards.


1 Expert Report of Peter S. Arcidiacono, January 17, 2018 (“Arcidiacono Report”); Expert Report of Richard D. Kahlenberg,
January 12, 2018 (“Kahlenberg Report”). I have also reviewed the rebuttal report of Professor Bridget T. Long, which addresses
the opinions in the Kahlenberg Report.
2 In this report, I use the terms “race” and “race/ethnicity” interchangeably to mean “race and ethnicity.”




                                        Confidential – Subject to Protective Order                                           1


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 5 of 103
7.       Prof. Arcidiacono’s claims relating to UNC’s admissions processes, including the role of
race in that process, are unreliable and misleading. Rather than consider the role of race across
the entire applicant pool, Prof. Arcidiacono instead focuses on smaller sets of non-representative
applicants. The fact that race may be a factor for some applicants does not mean that race is a
dominant factor in overall admissions decisions. In fact, consistent with the findings reported in
my opening report, when I calculate the overall contribution of race/ethnicity to how well Prof.
Arcidiacono’s models explain admissions, I find that race/ethnicity explains only 2.0 percent to
6.7 percent, depending on the model. Thus, Prof. Arcidiacono’s own models demonstrate that
race is not a dominant factor in UNC’s admissions. I have three main criticisms of his approach
to assessing the question of whether race is a “predominant factor in UNC’s admissions
process:” 3

              First, Prof. Arcidiacono is wrong to suggest that a difference in average statistics
              across racial groups (e.g., that underrepresented minority (“URM”) admits have lower
              SAT scores on average than non-URM admits) demonstrates that race is playing a
              significant or dominant role in the admissions process at UNC. A difference in
              average across any metric (whether test score, GPA, or other variable) does not, taken
              alone, establish anything about the role of race in the admissions process.

              Second, Prof. Arcidiacono’s use of an “academic index” based on test score and GPA
              to purportedly illustrate the role of race in the admissions process is also misleading.
              Prof. Arcidiacono focuses on applicants who are not representative of those actually
              admitted to UNC and therefore the statistics he presents give a biased view of how
              race could affect the entire applicant pool. Even using Prof. Arcidiacono’s own
              “academic index,” an analysis of the applicants who are representative of UNC’s
              admitted class shows that race is not a dominant factor in UNC’s admissions process.

              Third, Prof. Arcidiacono attempts to demonstrate an alleged racial/ethnic preference
              in admissions by emphasizing how the predicted probability of admission for an
              Asian American (or white) applicant would change if he were a URM, such as


3 Arcidiacono Report, p. 1. I interpret Prof. Arcidiacono’s use of the word “predominant” as “dominant,” which is the term that

was used in the Complaint. See Students for Fair Admissions, Inc. v. University of North Carolina, Case No. 1:14-cv-954, The
Middle District of North Carolina, dated November 17, 2014, (“Complaint,”), ¶¶ 4, 51, 199.



                                         Confidential – Subject to Protective Order                                               2


     Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 6 of 103
              African American or Hispanic (I call these his “transformation examples”). But
              again, Professor Arcidiacono focuses on finding applicants who are not representative
              of the entire applicant pool. In other words, in his Tables 4.1 and 4.2, Prof.
              Arcidiacono presents a biased selection that fails to illustrate how such hypothetical
              changes to an applicant’s race would affect all non-URM admits rather than the
              small, non-representative subset on whom he focuses. In addition, in these
              transformation examples, he does not account for UNC’s “capacity constraints,”
              which would considerably reduce the magnitudes he reports.

8.       Prof. Arcidiacono also constructs models of the UNC admissions process. But these
models do not effectively model UNC’s holistic admissions process, and they are unreliable for
the purpose of assessing UNC’s admissions process and testing various proposed race-blind
admissions processes. Simulations of these proposed race-blind admissions processes are
contained in the Kahlenberg Report, but were apparently performed by Prof. Arcidiacono using
his models. I refer to them as the “KA simulations.” There are several reasons why Prof.
Arcidiacono’s models are unreliable:

              First, by incorporating measures that can only be assessed through holistic, subjective
              review of an actual application file such as Personal Qualities or Essays (I discussed
              these “unverifiable measures” in my opening report) into the admissions model
              utilized in the KA simulations, Prof. Arcidiacono limits the population on which the
              model can be used. In other words, because of the way Prof. Arcidiacono chose to
              build his model, it can only be used with data from actual applicants to UNC. It
              cannot be used to model admissions for the broader set of potential applicants who
              might be incentivized to apply if UNC implemented a different admissions plan. This
              choice also means that Prof. Arcidiacono ignores the extensive data on this potential
              applicant pool that is available through data relating to all public school students in
              North Carolina—not just those who actually applied to UNC. 4 This is a severe



4 These data are provided by the North Carolina Education Research Data Center (NCERDC) and I used them in my opening
report. These data contain information on public school students in North Carolina and they include, among other things,
information on the student’s high school, the student’s GPA, grades, class rank, graduation status, and standardized test scores.
These data contain demographic information, such as the student’s age, sex, and race/ethnicity. The data also contain information
on whether the student qualified for a free or reduced-price lunch under the National School Lunch Program.



                                         Confidential – Subject to Protective Order                                             3


     Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 7 of 103
               limitation because it means that alternative admissions plans cannot be evaluated
               adequately. Using a sample to fit a model that is not representative of the population
               over which prediction must be made is a very well-known problem in statistics and
               can result in highly biased predictions for evaluations of admissions plans. Because
               Prof. Arcidiacono’s model is the foundation for the KA simulations of race-blind
               alternatives, the severe limitations of the model render the simulations and Mr.
               Kahlenberg’s ultimate conclusions about race-blind alternatives unreliable.

               Second, Prof. Arcidiacono’s admissions models are overfit. By this I mean that his
               models are constructed so that they appear to explain a good share of UNC
               admissions decisions but, in reality, his models work only in the data used in the
               estimation of his models. As soon as his models are used to try to predict which
               applicants would be admitted among some alternative sample of applicants or using
               data on hypothetical applicants (that is, any applicants outside the data used in
               estimation), his models cannot explain admissions decisions reliably. This is
               improper under well-established statistical principles. 5

               Finally, Prof. Arcidiacono’s admissions models suffer from various improper
               assumptions, and numerous errors, that further make them unreliable.

9.        With respect to the analysis of race-blind alternatives set forth in the simulations
contained in the Kahlenberg Report, I disagree that Mr. Kahlenberg has provided convincing
evidence of a workable race-blind alternative that would allow UNC to maintain its racial
diversity while also maintaining its high academic standards. In part this is because his findings
are dependent upon Prof. Arcidiacono’s flawed admissions models. I disagree with his opinions,
however, for several other independent reasons:

               First, the KA Simulations are unreliable in assessing what a hypothetical alternative
               admissions process would achieve because they are based entirely on past UNC
               applicants and do not account for the students who would apply under a newly
               implemented alternative admissions process. Experience from cases where race-blind


5For example, Prof. Arcidiacono does not use any of the established methods to test for, or correct for, problems that arise when
using a selected sample (e.g., only UNC applicants) to draw inferences about a broader population.



                                         Confidential – Subject to Protective Order                                                 4


     Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 8 of 103
     admissions plans have actually been implemented, as well as the change in incentives
     to apply to UNC that would be created by Mr. Kahlenberg’s dramatic changes to how
     UNC would evaluate applicants, imply that the applicant pool would change under
     the hypothetical alternative admissions plans that Mr. Kahlenberg analyzes. Using
     data on North Carolina public high school students (the majority of UNC applicants),
     I show that the results of his simulations are very different when applied to the pool
     of likely potential applicants to UNC. When applied to those students, Mr.
     Kahlenberg’s simulations imply that UNC would admit a class that is much less
     academically qualified.

     Second, Mr. Kahlenberg proposes extremely large preferences for socioeconomically
     disadvantaged applicants. These preferences are so large as to, in many cases, swamp
     all other factors in a student’s application and result in a large part of the admitted
     class being determined solely by socioeconomic status. For example, a student
     receiving Mr. Kahlenberg’s “SES family” and “SES neighborhood” preferences (as in
     his Simulation 3), would be receiving a preference equivalent to over 550 SAT points
     in the admissions model upon which Mr. Kahlenberg relies.

     Third, numerous suggestions made by Mr. Kahlenberg regarding alternative
     admissions plans are unfounded, unworkable, or both. In particular, Mr. Kahlenberg
     proposes a highly idiosyncratic version of a “Percentage Plan” (or “Top X Percent”
     plan) that does not correspond to Top X Percent plans that have been actually
     implemented by other institutions or discussed in academic research and literature.
     His proposed plan is so unusual that, in my opinion, it is unworkable or, if
     implemented, it would not result in the admitted class that Mr. Kahlenberg presents in
     his Simulation 5. Other suggestions made by Mr. Kahlenberg, such as eliminating
     alumni preferences, utilizing wealth data, or enhancing recruiting, are unrealistic or
     he has not specified how they would actually be implemented.

     Fourth, Mr. Kahlenberg does not attempt to evaluate alternative admissions plans
     solely on the basis of whether they would allow UNC to maintain racial diversity.
     Instead, in each instance, his evaluation of a plan focuses equally on whether it
     increases UNC’s socioeconomic diversity. This is not my understanding of what


                          Confidential – Subject to Protective Order                           5


Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 9 of 103
                 UNC must consider when considering whether a workable race-blind alternative
                 exists.

10.         The rest of this report proceeds as follows. In Section III, I discuss Prof. Arcidiacono’s
results and opinions regarding the magnitude of race/ethnicity preferences in UNC’s admissions
process. In Section IV, I discuss Prof. Arcidiacono’s modeling of UNC’s admissions process
more generally and the problems associated with using his models to evaluate hypothetical
alternative admissions plans. In Section V, I discuss Mr. Kahlenberg’s and Prof. Arcidiacono’s
“simulations” of alternative admissions plans and whether any of their results suggest that there
is a workable race-blind alternative admissions plan that would allow UNC to achieve its
diversity goals while maintaining the academic preparedness of its incoming class.
11.         At the outset, I note that, in several places in this report, I provide results based on Prof.
Arcidiacono’s models of UNC’s admissions process. Doing so should not be misconstrued as
my acceptance that his models are accurate or reliable (in fact, in this report I discuss many
reasons why his models are not reliable). I present these results merely to show in certain
instances that, even if one were to accept Prof. Arcidiacono’s model, which I do not, Prof.
Arcidiacono’s and Mr. Kahlenberg’s conclusions are not warranted.


III.        Contrary To Prof. Arcidiacono’s Claims, Race is Not a Dominant Factor in UNC’s
            Holistic Admissions Process


12.         To begin, it is useful to discuss a fundamental difference in the way that Prof.
Arcidiacono and I approach the question of assessing the role race plays in UNC’s admissions
process. This is particularly important given that we both attempt to model UNC’s admissions
using statistical regression models, and yet seemingly come to very different conclusions.
13.         Prof. Arcidiacono approaches the question from a much narrower perspective: if,
according to his model, race seems to play a role in the admissions decision, even for a small
subset of applicants, it appears that he interprets race to be the “dominant” factor. 6 The reason I
say Prof. Arcidiacono focuses on a small subset of applicants is that he chooses to present results
in his Tables 4.1 and 4.2 (along with accompanying text) based on particular hypothetical


6   See, e.g., Arcidiacono Report, pp. 43–45.



                                           Confidential – Subject to Protective Order                        6


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 10 of 103
individual applicants who are not representative of UNC’s admissions process or entire applicant
pool. Moreover, even for these applicants, Prof. Arcidiacono has not shown that race/ethnicity is
a dominant factor.
14.       I consider the question from a broader perspective. As I understand the state of the law,
race can permissibly play a role in an individual admissions decision – the proper question is
whether race is a dominant factor in overall admissions decisions. 7 This is why, in my opening
report, I analyze the extent to which race can explain admissions decisions across the entire
applicant pool. In my opening report, I showed that race plays a small role overall in explaining
actual admissions decisions at UNC, contributing not more than a 5.6 percent share to the
admissions decision, across all applicants. 8 As an example of why one cannot focus solely on an
individual applicant, there are likely some students for whom playing the oboe, or being good at
debate, tips them from not-admit to admit – this does not mean that those are dominant factors in
admissions.
15.       In this section, I discuss the reasons why I disagree with Prof. Arcidiacono’s opinion that
race plays a dominant role in admissions. Although he claims to find that “significant”
preferences are given to URM applicants, his report actually does not provide support for that
conclusion. 9 Nor in fact, does his report show that race plays a significant role for any individual
applicant. 10 First, the average statistics for admitted URM and non-URM applicants that he
calculates are not probative in determining the importance of race in UNC’s admissions process.
Second, Prof. Arcidiacono’s analysis of “academic index” deciles misleadingly fails to account
for the fact that most of UNC’s admitted students come from just a few of those deciles. Third,
Prof. Arcidiacono provides misleading and non-representative hypothetical examples of the
magnitude of the change in admissions probability from “transforming” an individual non-URM
applicant into a URM applicant.
16.       However, before turning to the discussion of each of these points, I first show that when
one uses Prof. Arcidiacono’s own model to estimate the contribution of race/ethnicity in



7 To suggest that race can never play a role in any admissions decision would seem to deny the possibility of considering race at
all. I understand that the current state of the law allows for UNC to consider race as part of its admissions decisions.
8 Expert Report of Caroline Hoxby, January 12, 2018 (“Hoxby Report”), Exhibit 1: Tables 1–2.
9 Arcidiacono Report, p. 2.
10 See, Sections III.C and III.D.




                                         Confidential – Subject to Protective Order                                                 7


    Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 11 of 103
explaining admissions decisions across the entire applicant pool (as I did in my opening report),
one finds that the contribution is small, consistent with the findings in my opening report.

          A.        Even Using Prof. Arcidiacono’s Models, the Contribution of Race in
                    Explaining Admissions Decisions on the Whole is Small, Consistent with the
                    Findings in my Opening Report

17.       In my opening report, I used well-accepted statistical approaches (including the R-
squared and the Shapley decomposition of the R-squared) to assess which particular factors
might drive the explanation of admissions decisions. 11 Through this analysis, I showed that
race/ethnicity explains at most a small share of UNC’s admissions decisions: approximately 0.8
percent to 5.6 percent, depending on the model. 12
18.       If one applies the same methodology to Prof. Arcidiacono’s models, one finds similar
results. Exhibit 1: Table 1 shows the R-squared and the contribution of race/ethnicity in Prof.
Arcidiacono’s Models 2 through 7. 13 This table shows that the contribution of race/ethnicity in
explaining admissions decisions is small: approximately 2.0 percent to 6.7 percent, depending
on the model. Hence, when one examines the importance of race for admissions decisions
overall, even Prof. Arcidiacono’s models show that race contributes only a small amount to UNC
admissions outcomes. 14
19.       In the following sections, I discuss Prof. Arcidiacono’s conclusions and how they can
lead to such apparently different conclusions than those reported in Exhibit 1.

          B.        The Average Characteristics of Admitted URM and Non-URM Students Are
                    Not Probative in Answering the Question of Whether Race or Ethnicity Is a
                    Dominant Factor in UNC’s Admissions Process

20.       To frame his conclusions, Prof. Arcidiacono provides statistics on the test scores, GPAs,
ratings, and demographic characteristics of URM and non-URM students who apply to and are
admitted by UNC. 15 He concludes that, among admitted students, non-URMs have higher test



11 Hoxby Report, ¶¶ 44–46.
12 Hoxby Report, Exhibit 1: Tables 1 and 2.
13 The Arcidiacono models are described in the Arcidiacono Report, Figure 4.1.
14 Note that although I show results based on Prof. Arcidiacono’s models in Exhibit 1 that does not imply that I consider Prof.

Arcidiacono’s models to be accurate or reliable.
15 Arcidiacono Report, Tables 2.3 and 2.4.




                                         Confidential – Subject to Protective Order                                               8


     Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 12 of 103
scores, grades, and UNC ratings than URMs. 16 Plaintiff’s Complaint itself suggests that
comparisons of the average test scores, grades, academic index, etc., of URM students and non-
URM students are probative regarding the role of race in admissions. 17 However, as I describe
below, such comparisons do not shed any light on the extent to which race/ethnicity is a factor
(much less a dominant factor) in admissions decisions.
21.      It is easiest to see this by considering a hypothetical example. Suppose there are two
groups of students (X and Y). Now consider Exhibit 2: Figure 1a and 1b. Each figure shows
the distributions of test scores for two hypothetical groups of students X and Y. The distribution
for students in group X is green and the distribution for students in group Y is purple.
                                                          Exhibit 2: Figure 1a
             Number of Students




                                                                                  Average
                                                                                  Among Y
                                                                                  Applicants



                                                                 Average
                                                                 Among X
                                                                 Applicants




                                  ← Lower Scores                    Test Scores                 Higher Scores →




22.      Notice that there are fewer students in group X than in group Y. (That is why the X
distribution is generally lower than the Y distribution in Exhibit 2: Figure 1a.) Notice as well



16Arcidiacono Report, pp. 25–26. The one exception, he states, is the Personal Quality rating.
17See for example, Complaint Tables A and B. “These statistics show that UNC-Chapel Hill does not use race simply as a
“plus” factor. For African American applicants with an academic index above 3.1, race is a dispositive factor essentially
guaranteeing admission. For Asian-American applicants with an academic index below 2.6, on the other hand, race is a
dispositive factor virtually guaranteeing rejection.” Complaint, p. 54. “In particular, the statistics show a massive academic
achievement gap between non-preferred admitted students and underrepresented minorities. The average high-school GPA and
SAT scores for nonpreferred students (Asian American + white) are 4.57 and 1375. The average high school GPA and SAT
scores for underrepresented minorities (African American + Hispanic + American Indian/Alaska Native) are 4.40 and 1269.”
Complaint, p. 56.



                                                   Confidential – Subject to Protective Order                                    9


     Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 13 of 103
that the distribution of test scores among X students is shifted leftwards, compared to that of Y
students. Thus, the average test scores of X students are lower than the average test scores of Y
students.
23.    Suppose that a university admits students in a manner that is blind to membership in
group X or Y, purely on the basis of test scores. With such an admissions plan, the university
would draw an admissions cut-off, as shown by the bold vertical black line in Exhibit 2: Figure
1b. Students to the right of the cut-off line are admitted, and students to the left of the line are
rejected. Again, this test-score based admissions plan is completely blind to membership in
group X or Y.
24.    Now, if one were to compute the average test scores of students who were admitted via
this process, the average scores of X students would be considerably lower than the average
scores of Y students. These averages are shown as the vertical green and vertical purple colored
lines in Exhibit 2: Figure 1b. These differences arose even though the university practiced
admissions that were entirely blind to group membership. The differences in average scores in
the two groups of admitted students is simply an artifact of the underlying distribution of scores
in the two populations.




                                 Confidential – Subject to Protective Order                            10


   Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 14 of 103
                                                         Exhibit 2: Figure 1b

                                                         Reject   Accept
            Number of Students




                                                                                     Average Among
                                                                                       Admitted Y
                                                                                        Students




                                                                    Average
                                                                     Among
                                                                   Admitted X
                                                                    Students




                                 ← Lower Scores                    Test Scores                       Higher Scores →



25.      As this simple example shows, comparisons of average qualifications among groups of
admitted students are not probative of the dominance of race/ethnicity in admissions. 18
Differences can arise even when admissions are race-blind, or race is not a factor used in
admissions at all, let alone a dominant factor.
26.      The conclusion of this simple example also applies to holistic admissions. As in the
above example, differences in average qualifications across admits in different racial or ethnic
groups can arise due to differences in the underlying group populations and are not necessarily
the effect of any use of race/ethnicity in admissions.




18 In Section IV.C of the Hoxby Report, I explained that to “assess the magnitude of losses to the university’s mission, it is

reasonable to consider how the average statistics, such as the average test scores, of UNC’s student body change under each
alternative admissions plan.” The exercise conducted in my original report is entirely conceptually distinct from the comparison
of average test scores between groups of admitted students conducted by Prof. Arcidiacono. I use the differences in average test
scores of admitted and matriculating students across different hypothetical admissions plans to assess potential losses to the
university. Prof. Arcidiacono appears to be trying to draw inferences about the magnitude of racial preferences by comparing the
average statistics between racial/ethnic groups.




                                                  Confidential – Subject to Protective Order                                 11


   Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 15 of 103
         C.       Prof. Arcidiacono’s Analysis of Race/Ethnicity by “Academic Index” Decile
                  Is Misleading and Does Not Provide Evidence that Race/Ethnicity Is a
                  Dominant Factor in Admissions

27.      After presenting the differences in average characteristics of admitted URM and non-
URM students, Prof. Arcidiacono conducts an analysis of admission rates by decile of an
“academic index” of his construction. 19 (I refer to this as the “Arcidiacono Index” hereafter as it
is an instrument used only by Prof. Arcidiacono.) This Arcidiacono Index is a weighted average
of the applicant’s SAT score and high school GPA. 20 UNC does not admit students based on
such an index, nor do UNC’s own policies or statements suggest that the University values only
test scores and grades. To the contrary, as I discussed in my opening report, UNC’s admissions
policies articulate a broad range of criteria used in evaluating candidates, including with respect
to key intangibles that go beyond only educational preparation. 21
28.      Once Prof. Arcidiacono has constructed his index, he groups applicants into 10 equal-
sized groups or "deciles" based on the index. He then compares admissions rates for applicants
of various races, within each Arcidiacono Index decile. 22 He concludes that “admission rates are
substantially lower for non-URMs within each academic index decile.” 23 This exercise—along
with Prof. Arcidiacono’s interpretation of its results—is flawed and misleading in two key ways:

              The Arcidiacono Index—by construction—puts no weight whatsoever on such
              qualities as creativity, grit, leadership, motivation, social and cultural contributions,
              and so on that are part of the UNC admissions process. This matters because if the
              students in each decile of the Arcidiacono Index are not in fact assessed holistically to
              be equal applicants, then comparisons of their admissions rates tell us nothing about
              the role that race may play in their admissions decision. For instance, if non-URM
              students within each decile have subjectively assessed qualities than are inferior to




19 Arcidiacono Report, Section 3.
20 Arcidiacono Report, p. 26.
21 Hoxby Report, ¶ 13; UNC0079430; UNC0323603 (2016-17 Reading Document). Note that in my opening report I incorrectly

cited the 2016-17 Reading document as UNC0000010.
22 Arcidiacono Report, p. 27.
23 Arcidiacono Report, p. 29.




                                      Confidential – Subject to Protective Order                                    12


     Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 16 of 103
              those of URM students in the same decile, the non-URM students should presumably
              have lower admissions rates than the URM students. 24

              Even if the admissions rates were made to be identical across racial/ethnic groups
              within each Arcidiacono Index decile (effectively removing the alleged preference
              that Prof. Arcidiacono claims UNC gives to URMs), the admissions outcomes would
              change very little due to UNC’s status as a highly-selective institution and the fact
              that three-quarters of its admitted applicants come from the top deciles within the
              Arcidiacono Index. In fact, within each in-state decile and each out-of-state decile,
              setting the URM and non-URM admissions rates to be equal would never cause the
              number of non-URM admits to rise by even 1 percent relative to all admits. 25 This is
              shown in Exhibit 2: Table 1 which is based on Prof. Arcidiacono's own calculations
              (presented in Tables 3.1 through 3.4 of his report). Considering all the in-state and
              out-of-state deciles together, and setting the URM and non-URM admissions rates to
              be equal would cause the number of non-URM admits to rise by only 7 percent of
              total admits. 26 Even if we were to assume that the Arcidiacono Index should be the
              sole basis for admission, his evidence still does not demonstrate that race/ethnicity is
              a dominant factor in admissions. This non-dominant effect takes Prof. Arcidiacono's
              own flawed index as given and employs his own calculations.




24 Consider comparisons between a URM applicant and non-URM applicant, both of whom have the same test scores and grades.
If one were to find that, within this comparison, the URM applicant had more challenging childhood circumstances, then the
URM applicant would tend to have a greater level of some factor that allowed him or her to overcome those more challenging
circumstances. This is the case so long as one grants any role to challenges during childhood and adolescence in the
determination of test scores and grades.
25 These numbers are based on Prof. Arcidiacono’s academic index, which does not accurately reflect UNC’s admissions process

or decisions. This statement does not say anything about what would happen under an actual race-blind admissions plan.
26 Again, note that this number is based on Prof. Arcidiacono’s academic index, which does not accurately reflect UNC’s

admissions process or decisions. This statement does not say anything about what would happen under an actual race-blind
admissions plan.



                                       Confidential – Subject to Protective Order                                        13


     Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 17 of 103
                             Exhibit 2: Table 1 27
Change in Non-URM Admits with Equalized Admissions Probabilities within Each
                     Arcidiacono Academic Index Decile
                Average Admissions Cycle (2011-12 to 2016-17)

                             Change in non-URM In-State Admits [2]               Change in non-URM Out-of-State Admits [2]
        Decile                               Change as a                                       Change as a
      Based on                                 Share of     Change as a                          Share of       Change as a
     Arcidiacono      Change in non-           In-State        Share of      Change in non-    Out-of-State        Share of
        Index         URM Admits [3]          Admits [4]    All Admits [5]   URM Admits [3]     Admits [4]      All Admits [5]
           1                  1                 0.02%           0.02%               0             -0.01%            0.00%
           2                 13                 0.32%           0.24%               9              0.58%            0.15%
           3                 35                 0.84%           0.62%              17              1.13%            0.30%
           4                 41                 0.99%           0.73%              30              2.04%            0.54%
           5                 44                 1.07%           0.79%              34              2.25%            0.60%
           6                 31                 0.75%           0.55%              33              2.20%            0.58%
           7                 14                 0.34%           0.25%              36              2.44%            0.64%
           8                  5                 0.13%           0.10%              27              1.82%            0.48%
           9                  2                 0.04%           0.03%              21              1.43%            0.38%
          10                  0                -0.01%           0.00%              19              1.28%            0.34%


29.         To understand why it is misleading for Prof. Arcidiacono to suggest that Tables 3.3 and
3.4 of his report show that race plays a dominant factor in UNC’s admissions process, it is
critical to consider the number of admits in each Arcidiacono Index decile—a fact that is not
reflected in these two tables. This fact matters because, due to UNC’s status as a highly-
selective public institution, certain deciles generate hardly any admits of any race and the top
deciles generate about three-quarters of all admitted applicants. Within these top deciles—which
are the ones most relevant because they generate such a large percentage of the class—URM and
non-URM applicants have similar admissions rates. This is shown in Exhibit 2: Figures 2a and
2b.
30.         Exhibit 2: Figure 2a shows in-state URM and non-URM admits by Arcidiacono Index
decile for the average cohort, based on Prof. Arcidiacono's own statistics. The deciles are noted
on the horizontal axis, and the number of admits is noted on the vertical axis. Within each
decile, the column on the left shows UNC's actual admits, broken into URM (the top, lighter
portion of the column) and non-URM (the solid bottom part of the column). The column on the
right shows the number of URM and non-URM admits based on the Arcidiacono Index UNC
would have if it were to set the admissions rate to be equal across URMs and non-URMs within
the decile—in other words if UNC were to remove the alleged admissions “boost” that Prof.



27   See, Exhibit 2 for sources and notes.




                                              Confidential – Subject to Protective Order                                     14


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 18 of 103
Arcidiacono suggests UNC is giving to URM applicants. 28 Note that equalizing the admissions
rate across URMs and non-URMs does not change the number of admits in each decile, only the
composition; the total height of each column remains unchanged.
                                        Exhibit 2: Figure 2a 29
                        UNC Admits by Decile Based on Arcidiacono Index
   Number of
                      In-State, Average Admissions Cycle (2011-12 to 2016-17)
   Admits
   900    Left Bar = Actual Admissions
           non-URM Admits, Actual Admissions Probabilities       non-URM Admits, Equalized Admissions Probabilities
   800
           URM Admits, Actual Admissions Probabilities           URM Admits, Equalized Admissions Probabilities

   700

   600

   500

   400

   300

   200

   100

      0
               1            2             3              4              5             6               7               8   9   10
                                                             Decile Based on Arcidiacono Index



31.       For instance, the columns at the far right of Exhibit 2: Figure 2a are applicants from the
10th or highest and most “qualified” decile, based on the Arcidiacono Index. In the average
year, there are 816 non-URM admits and 32 URM admits from this decile. (This is the left-hand
column within the 10th decile.) As Prof. Arcidiacono acknowledges, the admissions rates are
very similar across non-URM applicants (98.7 percent) and URM applicants (97.9 percent)
within this decile. Thus, if we were to set the admissions rate to be identical across non-URM
and URM applicants within this decile, admits would hardly change at all. That is why the right-
hand column within the 10th decile looks almost exactly the same as the left-hand column.
32.       Again, what happens in the 10th decile matters because of UNC’s status as a highly
selective public flagship institution. In fact, approximately 75 percent of UNC's in-state admits
come from the 7th, 8th, 9th, and 10th deciles in an average year. This can be seen in Exhibit 2:
Figure 2a which shows high columns in those deciles. In all of these deciles, the admissions



28 Note that this Exhibit is based on Prof. Arcidiacono’s academic index, which does not accurately reflect UNC’s admissions

process or decisions. This statement does not say anything about what would happen under an actual race-blind admissions plan.
29 See, Exhibit 2 for sources and notes.




                                               Confidential – Subject to Protective Order                                          15


   Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 19 of 103
rates for URM and non-URM students are similar so that admission outcomes would hardly
change if the rates were equal across URM and non-URM students. To see this, compare the
left-hand column to the right-hand column within each decile. Since (i) the role of race/ethnicity
in these deciles (in-state deciles 7 through 10) is minor and (ii) these deciles account for about
three-quarter of admits in an average year, the role of race/ethnicity is not a dominant factor for
the majority of UNC in-state applicants.
33.       Given UNC’s selective nature, it is not surprising that very few total admits come from
deciles 1 through 3, which reflect applicants with the lowest test scores and high school GPA.
Together, deciles 1 through 3 account for just 3 percent of UNC's admits overall and just 4
percent of UNC's in-state admits.
34.        Admit rates are somewhat different for URMs and non-URMs in deciles 4 through 6,
which account for about one-quarter of in-state admits. However, this is where we would expect
to see such differences. To understand this, consider a university that admits students via a
holistic process and takes race/ethnicity into account in a manner that minimizes its influence on
admissions outcomes. In other words, race/ethnicity is considered, but it is not dominant. In
such a holistic process, admissions staff form a holistic assessment of each student, taking into
account not only academic and extracurricular qualifications, but also personal qualities,
subjective factors, and context (such as challenging childhood circumstances), as well as
race/ethnicity. This holistic assessment then determines the admissions decision. In this process,
there will likely be a group of students who are competitive, but not clear candidates for outright
admission or rejection. For these students a small factor in their favor could make the difference.
For example, the consideration of race/ethnicity, even if applied minimally in the admissions
process overall as one factor among all of those presented in an application, could be the
difference for some of these students. The students in deciles 4 through 6 are likely these “on the
bubble” students. 30
35.       However, even for these students, Prof. Arcidiacono has not shown that race/ethnicity
dominates other characteristics in determining their admissions outcomes – these students’
applications are still reviewed holistically by UNC. In fact, while race/ethnicity could be a factor


30 The Oxford English Dictionary defines the phrase “on the bubble” as occupying the last qualifying position on a roster (of a

sports team) or for a tournament, and liable to be replaced by another. See “On the bubble,” Oxford English Dictionaries,
https://en.oxforddictionaries.com/definition/on_the_bubble.



                                         Confidential – Subject to Protective Order                                               16


    Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 20 of 103
that may play a role in determining the admissions outcomes of students “on the bubble,” many
other characteristics could also play such a role, including musical talents, leadership qualities,
an affinity with one of UNC’s distinctive undergraduate programs, or any of the other
characteristics that are not included in the Arcidiacono Index.
36.      Moreover, even if race were “dominant” for some “on the bubble” cases (which Prof.
Arcidiacono has not shown), that would not imply that race is a dominant factor in admissions
overall. Since deciles 4 through 6 account for only a quarter of in-state admits, the differences in
admissions rates across URMs and non-URMs has a small overall effect on UNC admissions.
This is why, in Exhibit 2: Table 1, there is not much effect from equalizing the admissions rates
across URM and non-URM students in these deciles. Visually, we can see this in Exhibit 2:
Figure 2a. 31 If we focus on deciles 4 through 6, we do see the left-hand column looks a bit
different from the right-hand column within each decile. However, the differences are very
small relative to the heights of the columns in deciles 7 through 10. This is just another way of
saying that, for admissions, deciles 7 through 10 are important because they generate the vast
majority of admitted students, deciles 4 through 6 have a much smaller impact, and deciles 1
through 3 have a very small impact.
37.      Thus, to the extent that Prof. Arcidiacono presents the results of each decile as equally
relevant to the question of whether race/ethnicity is being used as a dominant factor in UNC
admissions is misleading. By ignoring the number of admits within each decile, he suggests that
race/ethnicity is dominant when it is clear, from a figure like Exhibit 2: Figure 2a, that it actually
plays a minor role and, according to his own models, at most appears to potentially play a role
with respect to a small subset of applicants.
38.      The same conclusions hold true when examining the out-of-state applicant and admitted
population. Exhibit 2: Figure 2b is just like the previous figure except that it shows out-of-state
admits. Again, it is constructed using Prof. Arcidiacono's own statistics. Within each decile, the
column on the left shows UNC's actual out-of-state admits. The column on the right shows the
number of out-of-state admits UNC would have if the admissions rate were set to be equal across
URMs and non-URMs within the decile.


31 Again, I note that this Exhibit is based on Prof. Arcidiacono’s academic index, which does not accurately reflect UNC’s

admissions process or decisions. This statement does not say anything about what would happen under an actual race-blind
admissions plan.



                                        Confidential – Subject to Protective Order                                           17


   Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 21 of 103
39.       First note that all of the columns are lower in Exhibit 2: Figure 2b than in Figure 2a. This
is because 82 percent of UNC’s matriculation spots are reserved for in-state applicants. UNC
admits many fewer students from out-of-state than it admits from in-state. Thus, even if race
played a larger role with respect to out-of-state applicants, the influence of any phenomenon that
occurs in the out-of-state pool has a much smaller effect when considering the entire pool.
40.       Just as we did when analyzing the in-state results, it is useful to start by examining out-
of-state decile 10 since, all by itself, the 10th decile accounts for a large share – 36 percent – of
all out-of-state admitted applicants. If we were to set admissions rates to be identical across
URM and non-URM students in this decile, the change in non-URM admissions would be very
slight. 32 This is shown in the figure: the left-hand and right-hand columns in this decile are very
similar. There are two reasons why the change in admissions is so slight. First, the admissions
rates are similar across URM and non-URM applicants. Second, there are only a small number
of URM applicants in an average year.
41.       About three-quarters of UNC's out-of-state admits are drawn from deciles 8, 9 and 10 in
average year. Thus, it is reasonable next to focus on these three deciles (not the 10th only). If
we were to set the admissions rate to be identical across non-URM and URM applicants within
these deciles, admissions would change only slightly. This is evident from the figure and Exhibit
2: Table 1. Again, this is because (i) admissions rates are sufficiently similar across non-URM
and URM applicants and (ii) the number of URM applicants is small.
42.       Similar to the results of the in-state analysis discussed above, out-of-state deciles 1
through 4 generate few admits (7 percent). And out-of-state deciles 5 through 7 can be thought
of as the deciles that correspond to the “on the bubble” cases. Thus, as I discussed above, it is
not surprising that this is where admit rates are somewhat different for URMs and non-URMs.
However, due to the small number of admits from these deciles—which account for about one-
fifth of out-of-state admits—the differences in admissions rates across URMs and non-URMs do
not have much overall effect on UNC admissions.
43.       In summary, the conclusions based on the Arcidiacono Index are misleading to the extent
Prof. Arcidiacono purports to suggest that they show race/ethnicity is playing a dominant role in


32 The change in non-URM admissions would be equal to roughly 4 percent or 19 of the non-URM students in the 10th decile.

Again, the report of this and other statistics, by decile, is based on Prof. Arcidiacono’s flawed admissions model and does not
imply that UNC’s true admissions process can be characterized this way.



                                         Confidential – Subject to Protective Order                                               18


    Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 22 of 103
UNC admissions. This incorrect impression can only be achieved if one ignores the fact that the
higher deciles of the index provide the vast majority of UNC’s admits. In fact, the evidence
suggests that if admissions rates were set equal across URM and non-URMs applicants in the
higher deciles of the index, admission outcomes would be only slightly affected. Since these
deciles account for about three-quarters of admits, even Prof. Arcidiacono’s own analysis shows
that race/ethnicity cannot be playing a dominant role. Moreover, the evidence is consistent with
the view that race/ethnicity as one factor among many could make a difference among the small
subset of applicants who are qualified, but whose test scores/GPA are not so high as to have a
very high chance of admission. 33

         D.        Prof. Arcidiacono Presents Non-Representative and Misleading Estimates of
                   the “Magnitude of Racial/Ethnic Preferences” that Grossly Overstate the
                   Role of Race/Ethnicity in UNC Admissions

44.      Prof. Arcidiacono next moves to estimating an alleged racial/ethnic preference in
admissions for individual applicants (Arcidiacono Report, Section 4). To do so, Prof.
Arcidiacono constructs several examples in which a hypothetical non-URM applicant is “treated
as” or “transformed” into a URM applicant. I call these his “transformation examples.” These
examples are shown in Tables 4.1 and 4.2 of his report and they purport to show the magnitude
of racial/ethnic preferences. For example, he claims that his analysis shows that “hypothetical
non-URM applicants who are highly likely to be rejected would be transformed into highly likely
admits if they were URMs, and all other characteristics stayed the same” (emphasis in
original). 34 In fact, these tables do not provide evidence that race/ethnicity play a dominant role
because Prof. Arcidiacono’s examples are selectively picked and are not representative of what
would happen across the entire pool of UNC’s actual applicants and in light of UNC’s inherent
capacity (or class size) constraints that must be considered.
45.      To generate the examples in his Tables 4.1 and 4.2, Prof. Arcidiacono first uses a
regression to model UNC’s admissions process. There are numerous problems with his
modeling procedure, which are discussed in Section IV below. However, for the purposes of this


33 Again, I note that I do not accept that Prof. Arcidiacono’s Admissions Index accurately captures UNC’s admissions process or

decisions.
34 Arcidiacono Report, p. 43.




                                        Confidential – Subject to Protective Order                                           19


   Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 23 of 103
section, I take his modeling as given. Specifically, he employs estimates from his “Model 4” for
his primary examples. 35
46.       Once he has estimated Model 4, Prof. Arcidiacono uses it to generate an estimated
admission probability for each student. It is important to understand these estimated
probabilities because Prof. Arcidiacono uses them multiple times in his report and they also form
the basis for the simulations of alternative admissions plans in the Kahlenberg Report. 36 The
basis for Prof. Arcidiacono’s estimated admissions probability is a linear combination of
characteristics that Prof. Arcidiacono estimates, which I will refer to as the “index value” from
the Arcidiacono Models. 37 It is this “index value” (which is not a metric that is used in UNC’s
holistic admissions process) that Prof. Arcidiacono adjusts when he “transforms” applicants from
one race to another and that Mr. Kahlenberg adjusts when simulating his purportedly race-blind
admissions plans.
47.       Two things about Prof. Arcidiacono’s estimated admissions probabilities are especially
worth noting:
                i. They are estimates, not a student’s true admissions probability or true admissions
                     outcome. Prof. Arcidiacono’s models are not able to embody UNC’s holistic
                     individualized admissions process at all fully. Thus, the estimates include many
                     erroneous predictions. Some students with a high estimated admissions
                     probability are, in fact, rejected. Some students with a low estimated admissions
                     probability are, in fact, accepted.
                ii. All of Prof. Arcidiacono’s models put too much weight on observable student
                     characteristics—especially test scores, grades, and race—relative to UNC’s true
                     admissions process. This is because Prof. Arcidiacono cannot observe many
                     factors that UNC admissions staff can observe: factors that are too subjective,
                     qualitative, or individual to be in the set of measured factors in the UNC
                     admissions dataset. Since the models cannot put weight on unobservable factors,



35 Arcidiacono Report, p. 43.
36 Kahlenberg Report, Section VI.
37 Prof. Arcidiacono estimates his admissions models using a “Logit regression.” Such a regression assumes that the probability

of admission is a particular function (the “Logit” function) of a linear combination of the characteristics of an applicant. This
linear combination of characteristics is something that Prof. Arcidiacono estimates; it does not embody UNC’s holistic
admissions process.



                                         Confidential – Subject to Protective Order                                            20


     Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 24 of 103
                     they overweight observable factors like test scores, grades, and race. As a result,
                     test scores and grades play a larger role in a student’s estimated admissions
                     probability than they play in his or her true admissions probability and true
                     admissions outcomes.
48.       A useful way to think about Arcidiacono’s estimated admissions probabilities is that they
are a lot like the Arcidiacono Index: they are a combination of test scores, grades, and other
observable factors with a lot of the weight on test scores and grades but some weight on other
factors as well. A higher estimated admissions probability is like a higher Arcidiacono Index
value.
49.       Using his model, Prof. Arcidiacono takes a student’s actual data, changes the variables
that record his or her race, and then obtains a newly recalculated estimate of the student’s
admissions probability with his or her “switched” or “transformed” race. For instance, Prof.
Arcidiacono can switch the indicator that a student is white from 1 to 0 and switch the indicator
that a student is African American from 0 to 1. 38 When he recalculates the student’s estimated
admissions probability after making this switch, he generates one of his “transformation
examples” to which I referred earlier. 39
50.       It is worth noting that Prof. Arcidiacono does not, in fact, perform these switches
correctly because he does not change all of the race variables correctly. This is a point discussed
below in Section IV.E.2. However, for the remainder of this section, I treat his transformation
examples as though they had been performed correctly.
51.       Now, if all students’ race variables are switched to any particular race, the recalculated
estimated admissions probabilities effectively become race-neutral. Students can all be switched
to being white, Asian, African American, Hispanic, etc. Such recalculated “all-one-race”
estimated admissions probabilities are analogous to the Arcidiacono Index because they are
really just another way of combining test scores, grades, and other observable factors (excluding
race) to get an index of a student’s (mainly academic) observable qualifications.




38 Setting indicator variables to zero is the same process by which Mr. Kahlenberg “turns off” the coefficients on certain

characteristics, like race indicators and an alumni indicator, in his simulations.
39 See, Arcidiacono Report, Tables 4.1 and 4.2.




                                          Confidential – Subject to Protective Order                                         21


    Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 25 of 103
52.       To show how Prof. Arcidiacono’s estimated admissions probabilities relate to actual
admissions decisions, I construct Exhibit 2: Figure 3a. 40 This figure has a similar design to
Exhibit 2: Figure 2a. To construct it, I use Prof. Arcidiacono’s own Model 4 and I switch all
students to being African American. (Note that I would get a similar figure had I switched them
all to being any particular race.) I take the all-one-race estimated admission probability and
divide it up into deciles (or tenths) just as Prof. Arcidiacono divided up the Arcidiacono Index. I
show UNC’s actual admission of URM and non-URM students in each decile: the left-hand
column in each decile. I also show the admission of URM and non-URM students that would
result using Prof. Arcidiacono’s Model 4 if the admissions rate were set to be the same for all
race/ethnicity groups in each decile: the right-hand column in each decile. Thus, Exhibit 2:
Figure 3a is just like Exhibit 2: Figure 2a except that I use Prof. Arcidiacono’s Model 4-based
estimates of admissions probability to divide students into deciles instead of using the
Arcidiacono Index. Both Exhibit 2: Figure 3a and Exhibit 2: Figure 2a are for in-state students.
                                         Exhibit 2: Figure 3a 41
                       UNC Admits by Decile Based on Arcidiacono Model 4
  Number of            and All-One-Race Estimated Admissions Probabilities
  Admits
                       In-State, Average Admissions Cycle (2011-12 to 2016-17)
  1200
              Left Bar = Actual Admissions                      Right Bar = Equal Admissions
              non-URM Admits, Actual Admissions Probabilities   non-URM Admits, Equal Admissions Probabilities
  1000
              URM Admits, Actual Admissions Probabilities       URM Admits, Equal Admissions Probabilities

   800


   600


   400


   200


      0
               1            2            3             4            5            6            7           8              9   10
                                 Decile Based on Arcidiacono Model 4 and All-One-Race Estimated Admissions Probabilities



53.       The first thing to see in Exhibit 2: Figure 3a is that the vast majority—80 percent—of
UNC’s admits come from the top 4 deciles (deciles 7 through 10). 42 Given UNC’s selective


40 Note that, in order to show the results of Prof. Arcidiacono’s Model 4, this Exhibit is based only on the applicants who are

included in his Model 4, not all applicants (see Section IV.E.1 for a discussion of the applicants he excluded).
41 See Exhibit 2 for sources and notes.
42 I note that this number and the numbers throughout this section are based on Prof. Arcidiacono’s admission’s models, which I

do not consider to be accurate or reliable.



                                              Confidential – Subject to Protective Order                                          22


   Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 26 of 103
nature, it is not surprising that very few total admits come from deciles 1 through 3, which—
together—account for just 1 percent of UNC's in-state admits. This leaves deciles 4, 5, and 6 to
account for the remaining modest share (19 percent) of UNC’s admissions process. In particular,
decile 5 accounts for just 6 percent of UNC’s admits. This is an important fact to keep in mind,
going forward.
54.      The second thing to see in Exhibit 2: Figure 3a is that in deciles 7 through 10, the
admissions rates for URM and non-URM students are very similar so that admission outcomes
would change hardly at all if the rates were set equal across URM and non-URM students. To
see this, compare the left-hand column to the right-hand column within each decile.
55.      Since (i) the role of race/ethnicity in these deciles (in-state deciles 7 through 10) is minor
and (ii) these deciles account for 80 percent of admits in an average year, the role of
race/ethnicity cannot be dominant in UNC in-state admissions.
56.      Admit rates are somewhat different for URMs and non-URMs in deciles 4, 5, and 6
especially decile 5. Once again, and consistent with my previous analysis in Section III.C
(Exhibit 2: Figure 2a) this is where we one might expect to see such differences as these are the
students for whom any difference observed as part of individualized review could make the
difference in whether they are admitted, consistent with UNC minimizing the role of
race/ethnicity in a holistic admissions process. This point has already been explained with
regard to Exhibit 2: Figure 2a.
57.      As I discussed above with respect to Exhibit 2: Figure 2a, even for the “on the bubble”
students in deciles in 4, 5, and 6, Prof. Arcidiacono has not shown that race/ethnicity dominates
other characteristics in determining their admissions outcomes – these students’ applications are
still reviewed holistically by UNC. In fact, while race/ethnicity could play a role in determining
the admissions outcomes of students “on the bubble,” many other characteristics could also play
such a role, including musical talents, leadership qualities, an affinity for a distinctive UNC
program, or any of the other characteristics that are not included in the Arcidiacono Models. 43 In
each decile, there are some URM students and non-URM students who are admitted, while in the
same decile, there are some other URM students and non-URM students who are not admitted.



43 In fact, since most students within these deciles are non-URM, when comparing outcomes between students in these deciles,

most comparisons are between non-URM applicants.



                                        Confidential – Subject to Protective Order                                             23


   Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 27 of 103
58.      To make his Table 4.1 (based on in-state students), Prof. Arcidiacono selects two
estimated admissions probabilities for non-URM students: a 10 percent admissions probability
and a 25 percent admissions probability. These students are concentrated in deciles 4, 5, and 6:
78 percent of non-URM students with one of these two admissions probabilities fall into decile 5,
13 percent of them fall into decile 4, and 9 percent fall into decile 6. 44 Thus, Prof. Arcidiacono
has decided to focus on specific, and highly non-representative, applicants for whom
race/ethnicity could be most likely to play a role. 45
59.      For this subset of URM students with either a 25 percent or 10 percent respective
estimated admissions probability on whom he decides to focus, Prof. Arcidiacono switches their
race from Asian or white to either African American or Hispanic. 46 He then recalculates these
students' estimated admissions probabilities based on his Model 4. Each of these recalculations
makes up one of the transformation examples shown in Table 4.1.
60.      By selecting this subset of students for his transformation examples (the students shown
in Table 4.1), Prof. Arcidiacono makes it appear that race/ethnicity plays a much more important
role in admissions than it actually does. To see that, remember that decile 5—from which about
three quarters of the transformation examples in Table 4.1 are drawn—accounts for 6 percent of
UNC admits. This is why it is critical to examine the entire picture of the admissions process as
I do in Exhibit 2: Figure 3a and not just focus on isolated examples.
61.      In fact, using Prof. Arcidiacono’s own calculations, the median change in admissions
probability for an Asian in-state applicant if he or she were “transformed” to African American
is an increase of 2.6 percent. 47 This is far smaller than the increased estimated admission
probabilities of 63.9 percent (25 percent to 88.9 percent) and 62.7 percent (10 percent to 72.7
percent) that Prof. Arcidiacono misleadingly emphasizes in his Table 4.1. 48




44 Again, I note that these numbers are based on Prof. Arcidiacono’s admissions models, which I do not consider to be accurate or
reliable.
45 Based on Prof. Arcidiacono’s admissions models, which I do not consider to be accurate or reliable.
46 Actually, as noted below (Section IV.E.2), he does not perform the transformation correctly because he retains the student's

original race in certain interaction variables.
47 Again, I note that this number is based on Prof. Arcidiacono’s admission’s models, which I do not consider to be accurate or

reliable. This statement does not say anything about what would happen under an actual race-blind admissions plan.
48 Note also that the transformation is not performed correctly. See discussion in Section IV.E.2.




                                         Confidential – Subject to Protective Order                                           24


     Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 28 of 103
62.       Next, I turn to out-of-state applicants. Exhibit 2: Figure 3b is like Exhibit 2: Figure 3a
except that it is for out-of-state applicants and uses Prof. Arcidiacono’s own Model 4 for them. 49
I show UNC’s actual admission of URM and non-URM students in each decile: the left-hand
column in each decile. I also show the admission of URM and non-URM students that would
result based on Prof. Arcidiacono’s Model 4, if the admissions rate were set to be the same for all
race/ethnicity groups in each decile: the right-hand column in each decile.
63.       It is important to remember that out-of-state admits account for only about one-third of
UNC’s total admits so that Exhibit 2: Figure 3b represents much less of UNC’s overall
admissions process than the previous figure does.
64.       The first thing to see in Exhibit 2: Figure 3b is that the majority (57 percent) of UNC’s
out-of-state admits come from just the top decile (decile 10). The second thing to see is that
setting the admission rate to be equal in decile 10 makes hardly any difference to the set of
applicants admitted. So, for over half of the out-of-state admits, race plays hardly any role—
according to Prof. Arcidiacono’s own estimates.
65.       Exhibit 2: Figure 3b shows that very few total out-of-state admits come from deciles 1
through 6, which—together—account for just 9 percent of UNC's out-of-state admits overall.
66.       This leaves out-of-state deciles 7, 8, and 9 to account for the remaining share of UNC’s
out-of-state admissions process. These are “on the bubble” deciles for the out-of-state process if
we rely on Arcidiacono’s Model 4. It is a peculiar artifact of his model (which I am using for
this limited purpose even though it does not accurately capture UNC’s admissions decisions) that
his estimated admissions probabilities are so low in deciles 1 through 6 that deciles 7, 8, and 9
represent applicants who are “on the bubble.” Regardless, deciles 7, 8, and 9 are where one
might expect to see differences in admit rates if UNC were minimizing the role of race/ethnicity
in admissions by using it only minimally in a holistic, individualized admissions process. That
is, it is for these students that a small factor in their favor could make the difference.
67.       Even though I observe that admit rates based on Prof. Arcidiacono’s model are different
for URMs and non-URMs in these deciles, 50 it is critical to keep in mind that out-of-state deciles



49 Again, because this Exhibit shows the results of Prof. Arcidiacono’s Model 4, this Exhibit is based only on the applicants who
are included in his Model 4, not all applicants (see Section IV for a discussion of the applicants he excluded).
50 The numbers in this paragraph are based on Prof. Arcidiacono’s flawed admissions model and should not be interpreted as an

accurate or reliable characterization of UNC’s actual admissions process.



                                         Confidential – Subject to Protective Order                                            25


     Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 29 of 103
7, 8, and 9 account for only 33 percent of UNC’s out-of-state admits and only 11 percent of
UNC’s total admits. Thus, differences in admit rates in these deciles are not representative of the
out-of-state process and not at all representative of the overall UNC process.
68.       Yet, to make his Table 4.2 (based on out-of-state students), Prof. Arcidiacono selects
transformation examples that are drawn from out-of-state deciles 7, 8, and 9: most (63 percent)
are from decile 8. Thus, Prof. Arcidiacono has decided to focus on specific, and highly non-
representative applicants for whom race/ethnicity is most likely to play a role. By selecting this
subset of students for his transformation examples, Prof. Arcidiacono makes it appear that
race/ethnicity plays a much more important role in admissions than it actually does.
69.       Moreover, as I discussed above with respect to Exhibit 2: Figure 3a, even for the students
in deciles 7, 8, and 9, Prof. Arcidiacono has not shown that race/ethnicity dominates other
characteristics in determining their admissions outcomes – these students’ applications are still
reviewed holistically by UNC. There are many characteristics other than race that could be
determinative of their admissions decisions. In each decile, there are some URM students and
non-URM students who are admitted, while in the same decile, there are some other URM
students and non-URM students who are not admitted.
70.       Overall, when assessing the role of race/ethnicity in UNC’s admissions process, it is
critical to examine the entire picture of the admissions process as I do in Exhibit 2: Figures 3a
and 3b. 51 Not only is it important to avoid focusing on examples that are non-representative of
the process overall, it is also important to remember that out-of-state students account for a small
share of UNC’s actual student body. 52 And even for the out-of-state students in the narrow non-
representative group on which Prof. Arcidiacono focuses, Prof. Arcidiacono has not shown that
race/ethnicity was a dominant factor or that it outweighed any of the other factors in UNC’s
holistic review.




51 Of course, it is also important to characterize the admissions process accurately, which Prof. Arcidiacono’s model does not do.

I am using his flawed admissions model throughout this section purely in order to demonstrate the effects of his own procedures.
The numbers presented in Exhibit 1 Figures 3a and 3b should not be taken as an accurate characterization of UNC’s true
admissions process.
52 For consistency with Prof. Arcidiacono and Mr. Kahlenberg, in this report, I analyze the set of admitted students rather than

matriculating students. However, as I stated in my opening report, it is the matriculating class that ultimately affects the
University’s ability to fulfil its educational mission. I note that in-state students account for an even larger share of UNC’s
matriculating class than they do of UNC admits.




                                         Confidential – Subject to Protective Order                                             26


    Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 30 of 103
71.       Prof. Arcidiacono does attempt to extend his analysis to “show how the average
probability of admission would change for Asian Americans and whites if they were treated as
African Americans and Hispanics.” 53 In Table 4.3 he shows that, for example, the average
change in admission probability for Asians in-state if transformed to African American is
between 14.4 percent and 14.9 percent depending on the model used. This average change is
considerably lower than the selectively-picked examples discussed above, however it is still
misleading.

               First, because the cases that Prof. Arcidiacono shows in Tables 4.1 and 4.2 of students
               who are not representative UNC’s admitted class as a whole have large changes in
               probability, they pull up the average, masking the large percentage of cases (deciles 7
               through 10 in-state and decile 10 out-of-state) where “transformation” would have a
               small effect. 54

               Second, the average probability changes that Prof. Arcidiacono shows in his Table
               4.3 are not corrected for the “capacity constraints” that he acknowledges that UNC
               faces. 55 Although Prof. Arcidiacono does provide some analysis of the class that
               would result in the presence of capacity constraints (Table 4.4), he does not
               incorporate these constraints in the changes in admissions probabilities that he
               presents in Table 4.3.

72.       The reason why the capacity constraints matter is because there are a fixed, and limited,
number of spots for admission. For example, framing the counterfactual as a switch from Asian
(and other race/ethnicities) to African American for all applicants overstates the alleged
magnitude of racial preferences. 56 If one does not adjust the admission probabilities to account
for the fact that Prof. Arcidiacono is increasing the admission probabilities for all non-African
American applicants, the resulting admission probabilities would result in a class larger than the



53 Arcidiacono Report, p. 50.
54 Technically, the distribution of changes in probability due to Prof. Arcidiacono’s transformations is highly skewed, meaning
that the mean (average) is far from the median and mode of the distribution (other measures of central tendency that capture the
“middle” student and the student with the “typical” change in probability, respectively).
55 Arcidiacono Report, p. 52.
56 The counterfactual is one where admissions are race-blind, thus all applicants (Asian, white, Hispanic, etc.) are treated as if

they were African American.




                                          Confidential – Subject to Protective Order                                             27


     Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 31 of 103
number of seats available for admits. Exhibit 2: Figures 3a and 3b shows the results of imposing
race-blindness under Prof. Arcidiacono’s model while using Prof. Arcidiacono’s method to
ensure that the admitted class remains the same size. 57 However, in his Tables 4.1, 4.2, and 4.3,
Prof. Arcidiacono does not account for the need to keep a fixed number of admitted students
consistent with UNC’s current admitted class size.
73.       Under Prof Arcidiacono’s model, the unscaled change shown in his Table 4.3 for
transforming Asians to African Americans would be 14.4 percentage points (in-state, no high
school fixed effects). However, the average effect of a change from transforming Asians to
African Americans (were one to treat all applicants as African American) and then scaled using
Prof. Arcidiacono’s method to fit a class of a fixed size would be an increase in the average
probability of admission for Asians of only 1.7 percentage points. 58 See Exhibit 2: Figure 4a.
The results for out-of-state are similar. See Exhibit 2: Figure 4b, which shows a change from
the 45.6 percentage points reported by Prof. Arcidiacono, to the scaled result of 3.1 percentage
points. The results for white applicants are similar.


IV.       Prof. Arcidiacono’s Models of the Admissions Process Use Improper Assumptions
          and Contain Errors and are Therefore Not a Reliable Basis for Analysis of Any
          Alternative Admissions Plan


74.       As I mentioned earlier, Prof. Arcidiacono builds admissions models to both “explain” the
UNC admissions process, including the role of race/ethnicity within the process, and in order to
consider counterfactual admissions scenarios or “what if” scenarios that might occur if UNC
were to adopt a different admissions practice. These counterfactual admissions scenarios appear
in the Kahlenberg Report, but they are based on the models estimated by Prof. Arcidiacono. In
this way, Mr. Kahlenberg and Prof. Arcidiacono are using the Arcidiacono admissions models in
an attempt to predict what would happen under alternative scenarios.




57 In this figure, I have adopted Prof. Arcidiacono’s proposed method of adjusting the admitted class to account for “capacity
constraints.” (Arcidiacono Report, p. 52) I note, however, that the econometrically preferable way to account for a capacity
constraint would be to impose that constraint during the estimation of the model, which Prof. Arcidiacono has not done.
58 Note that the effect from treating all applicants as Hispanic is the same as from treating all applicants as African American.

This is because in both cases all students are treated the same way, therefore after scaling to fit a class of a set size the net effect
is the same regardless of the size of the initial adjustment.



                                            Confidential – Subject to Protective Order                                                 28


     Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 32 of 103
75.       So far, my analysis in this rebuttal report has taken Prof. Arcidiacono’s models of the
admissions process as given. However, a further reason to disregard Prof. Arcidiacono’s claims
relating to UNC’s admissions process is that his models of that process are unreliable and
misleading because they use improper assumptions and contain errors.
76.          If a model is to be used for reliable counterfactual analysis (i.e. reliable prediction
under alternative scenarios), then it must fulfil at least four criteria:

               It must not rely on a sample that is not representative of the population over which the
               prediction will be made. 59

               It must not rely on factors or variables that are unavailable for the population over
               which the prediction will be made.

               It must not be overfit. A model is overfit if it does not generate reliable predictions
               outside of the original sample on which it was fitted. 60

               It must not contain inappropriate variables or errors that make it unreliable.

77.       Prof. Arcidiacono’s models fail on all four of these criteria. Specifically:

               Prof. Arcidiacono estimates his models using only UNC’s actual applicants even
               though, under each alternative scenario, other students who differ from the current
               group of applicants would have a strong incentive to apply. In other words, if UNC
               announced a change in their admissions practice, it is nearly certain that its applicant
               pool would change. Indeed, states that have changed their flagship university’s
               admissions plan have experienced significant changes in their applicant pool. 61

               Prof. Arcidiacono’s models rely on factors that have not been generated for any
               student who has not applied to UNC in the past. Therefore, his models are


59 See, e.g., Stock J., and M. Watson, Introduction to Econometrics, New York: Pearson Education, 2003, p. 250: “Sample

selection bias occurs when the availability of the data is influenced by a selection process that is related to the value of the
dependent variable.” We observe applicants who choose to apply under the current admissions plan, but not the set of applicants
that would apply under a different admissions plan. The applicants that UNC currently receives are not representative of the
applicants it would receive under alternative admissions plans.
60 See, for instance, Varian, H., “Big Data: New Tricks for Econometrics,” Journal of Economic Perspectives 28, no. 2 (2014): 3–

28. “Our goal with prediction is typically to get good out-of-sample predictions. Most of us know from experience that it is all
too easy to construct a predictor that works well in-sample but fails miserably out-of-sample. To take a trivial example, n linearly
independent regressors will fit n observations perfectly but will usually have poor out-of-sample performance. Machine learning
specialists refer to this phenomenon as the “overfitting problem” and have come up with several ways to deal with it.”
61 See Expert Report of Bridget Long, January 12, 2018 (“Long Report”), Section VI.C.




                                          Confidential – Subject to Protective Order                                             29


    Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 33 of 103
                 necessarily unusable for predicting how admissions would work for students who
                 have not applied and/or all future students.

                 Statistical testing shows that Prof. Arcidiacono’s models are overfit and therefore do
                 not generate reliable predictions. Thus, his models cannot be used to predict what
                 would happen to students who applied under alternative admissions plans but had not
                 applied to UNC under the current admissions plan.

                 Prof. Arcidiacono’s models contain variables that generate biased estimates. Also,
                 the models contain errors and problems that make them unreliable for assessing
                 admissions plans.

78.         I discuss each of these problems with Prof. Arcidiacono’s models in the remainder of this
Section. However, before turning to each of these problems, I also note that Prof. Arcidiacono
falsely claims that his analysis likely understates the magnitude of racial/ethnic preferences due
to differences in the unobservable characteristics of URM and non-URM applicants. 62 These
claims are unsupported and there are reasons to believe that these unobservable characteristics
actually bias his estimates in the direction of overstating the magnitude of racial/ethnic
preferences, not understating it.

            A.       Prof. Arcidiacono Falsely Claims that his Analysis Likely Underestimates
                     Race Preferences Based on Unsubstantiated Assumptions about the
                     Unobservable Characteristics of the Applicant Class

79.         Prof. Arcidiacono claims that, if one were to account for the unobservable characteristics
of applicants (those characteristics not captured in the data Prof. Arcidiacono used in his model),
it would tend to increase the magnitude of racial/ethnic preferences. 63 This is speculation. The
fact that these characteristics are unobserved means that Prof. Arcidiacono does not know which
direction they bias his results. His Table 5.1, which shows differences in the “admissions index”
across racial/ethnic groups, does not account for unobserved characteristics (such as leadership
potential) and sheds no light on unobserved characteristics. In addition, Prof. Arcidiacono
claims to be able to test for bias or “preference” in subjective measures that are captured during


62   Arcidiacono Report, pp. 56–61.
63   Arcidiacono Report, pp. 60–61.




                                      Confidential – Subject to Protective Order                      30


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 34 of 103
UNC’s holistic review in ratings such as “Personal Qualities.” 64 This is false. Prof.
Arcidiacono’s “test” is nothing more than an assumption that differences in unobservable
characteristics across racial/ethnic groups “run in the same direction as observables.” 65
80.       Prof. Arcidiacono further claims that “Given the substantial differences in the observed
characteristics between under-represented minorities and their Asian American and white
counterparts in ways that favor the latter group, there is no reason to assume that the
unobservable characteristics to go in the opposite direction.” 66 This is not true. In fact, if the
unobservable characteristics were relevant for admissions decisions, one would expect applicants
to UNC and admitted students at UNC to “select” on unobservable characteristics. That is,
students with relatively low levels of observable characteristics, such as test scores and grades,
would be more likely to apply to, and be admitted by, UNC when they have relatively high levels
of unobservables (e.g., they have overcome particularly difficult circumstances). 67 Therefore,
contrary to Prof. Arcidiacono’s assertion, there is reason to believe that unobservable
characteristics do “go in the opposite direction” from observable characteristics, making Prof.
Arcidiacono’s assertions about unobservables unfounded.
81.       In Section 5.2 of his report, Prof. Arcidiacono purports to be using a series of ordered
Logit regressions to test how race/ethnicity affects UNC ratings received by applicants. Prof.
Arcidiacono concludes that it is “striking” that the coefficient on African American is positive
and significant when including various controls. 68 He interprets this finding to mean that African
Americans are receiving an additional racial preference that increases their “Personal Quality”
rating. 69 He claims that, by controlling for this rating, he is understating the role of race/ethnicity
in admissions decisions. 70




64 Arcidiacono Report, Section 5.2.
65 Arcidiacono Report, p. 63.
66 Arcidiacono Report, p. 60.
67 To see this, consider the following example. Suppose that to qualify for an Olympic team in cycling, there is a qualifying race

in which the top 10 finishers make the team. Suppose that a racer’s finishing place depends on two things: the quality of the
racer’s bicycle and the racer’s skill. Imagine we look at the 10 racers who make the team and that we can observe the quality of
everyone’s bicycle, but not their skill. Among those who make the team, the (observed) bicycle quality will be negatively
correlated with the (unobserved) skill. This is because if you make the team with a low-quality bicycle, you are more likely to be
very highly skilled.
68 Arcidiacono Report, p. 63.
69 Arcidiacono Report, p. 63.
70 Arcidiacono Report, p. 64.




                                         Confidential – Subject to Protective Order                                            31


     Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 35 of 103
82.       This conclusion is not warranted. Prof. Arcidiacono’s approach relies crucially – as he
states – on the assumption that “unobservables run in the same direction as observables,” 71 an
assumption that has no basis. Prof. Arcidiacono ignores the possibility that African American
students actually earned high Personal Quality ratings relative to their observable characteristics
like test scores and grades. Without his (unsupported) assumption—in other words without
considering the possibility that unobservable factors (e.g. having a particularly compelling essay)
might run in the opposition direction of observable factors (e.g., SAT score)—Prof. Arcidiacono
can say nothing about racial “preference” in assigning UNC ratings, such as the Personal Quality
rating.

          B.        Prof. Arcidiacono’s Models Are Based Only on UNC’s Actual Applicants
                    Even Though They are Not Representative of the Students Who Would
                    Apply under Alternative Admissions Plans

83.       Prof. Arcidiacono presents seven different models for UNC admissions. 72 All of these
models are fitted only using data on past applicants to UNC—despite the fact that these models
are used (in the Kahlenberg Report) to make predictions about the admissions outcomes of
hypothetical applicants under alternative admissions plans. Prof. Arcidiacono does not
acknowledge this problem or make any attempt to remedy it. 73
84.       Using a sample to fit a model that is not representative of the population over which
prediction must be made is a very well-known problem in statistics.74 This problem can result in
highly biased predictions for evaluations of admissions plans.
85.       A well-publicized example is a Top 10 Percent or similar admissions plan, such as Texas
employs. Before such a plan is put in place, students tend not to apply if they rank in the top ten
percent of their high school class but have low test scores or otherwise have poor qualifications.



71 Arcidiacono Report, p. 63.
72 Arcidiacono Report, Figure 4.1.
73 Note that this is in contrast to my opening report where all alternative admissions plans are based on data from North Carolina

students who are non-applicants as well as past applicants
74 “When observations in social research are selected so that they are not independent of the outcome variables in a study, sample

selection leads to biased inferences about social processes. Nonrandom selection is both a source of bias in empirical research
and a fundamental aspect of many social processes.” See Winship, C. and R. Mare, “Models for Sample Selection Bias,” Annual
Review of Sociology 18, (1992): 327–350. “Econometric studies of nonrandom sampling have analyzed the deleterious effects of
sample selection on the properties of conventional estimators such as least squares; have produced a variety of alternative
estimation techniques; and, in the process have yielded a rich crop of empirical models. In some cases the analysis has led to a
reinterpretation of earlier results.” See Greene, W., Econometric Analysis, New Jersey: Pearson Prentice Hall, 2008, p. 883.




                                         Confidential – Subject to Protective Order                                            32


     Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 36 of 103
They do not apply because they are unlikely to be admitted. After a Top 10 Percent plan is put
in place, such students tend to apply because they are guaranteed admission if they do so. This
has been the actual experience of Texas. There, the implementation of a Top 10 Percent plan
caused substantial changes in the pool of applicants. 75 If a researcher had attempted to predict
the effects of Texas’ Top 10 Percent plan using a model based only on applicants from the pre-
Top 10 Percent era, that researcher would have produced biased and inaccurate predictions.
86.           The same effect can be expected with other alternative admissions plans. Another
example is a plan based on socioeconomic variables such as the admissions plan proposed by
Mr. Kahlenberg in the Kahlenberg Report. Absent such a plan, students tend not to apply if they
have low test scores, grades, extracurricular qualifications, and other qualifications. If the
admissions plan were changed (as Mr. Kahlenberg proposes) so that being from a disadvantaged
background would fully offset having test scores that are at the bottom of the SAT score
distribution rather than the top, then disadvantaged students with those lower test scores would
have an incentive to apply because their probability of admission would be much greater.
Similarly, if the admissions plan is changed (as Mr. Kahlenberg proposes) so that being from a
disadvantaged background would fully offset having grades that are at the bottom of the grade
distribution, then disadvantaged students with lower grades would have an incentive to apply.
When Prof. Arcidiacono’s model (which is based on a sample that excludes these individuals,
who would apply under the new plan but not the old) is used, it will produce biased and
unreliable predictions of what will occur under alternative admissions plans. More generally,
admissions models based solely on past applicants will produce biased and unreliable predictions
for any alternative plan that induces new and different students to apply.
87.         Fitting a model on a sample that is not representative of the population over which
predictions are made is a well-known statistical problem such that a failure to address it is not a
reasonable oversight. The problem is explained and addressed routinely in research on
education, medicine, science, economics, psychology, and all other areas in which human
behavior matters. 76 For instance, no careful medical researcher would (i) fit a model of the
effects of a heart medication to a sample of people all of whom had entered hospital emergency


75   Long Report, pp. 18–21.
76   See, e.g., Winship, C. and R. Mare (1992).



                                           Confidential – Subject to Protective Order               33


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 37 of 103
rooms with symptoms of heart attack and then (ii) use that model to predict how the medication
would affect people who do not satisfy the criterion that they entered a hospital with symptoms
of heart attack. In other words, the researcher would want to study people who were
representative of all the people to whom the medication would be given, not a non-representative
subset.

            C.        Prof. Arcidiacono’s Models Rely on Ratings that Have Not Been Generated
                      for Any Student Who Has Not Applied to UNC in the Past. Therefore, His
                      Models Cannot Predict How Admissions Would Work for Students Who
                      Have Not Applied, Including All Future Students

88.         In his models 3–7, Prof. Arcidiacono includes the five subjective ratings that UNC
admissions staff generate in their process of holistically assessing applicants. 77 Obviously, these
subjective ratings do not exist for any student who has not applied to UNC in the past.
Therefore, these ratings should not be included in any model that is intended to predict the
effects of an alternative admissions plan. By including these ratings, Prof. Arcidiacono
guarantees that his model cannot be used over the student population that could apply under an
alternative plan. This is particularly egregious given that North Carolina maintains rich data that
allows one to consider this broader likely applicant pool.
89.         If we consider a Top 10 Percent plan, it is easy to see the problems created by including
these ratings in a model intended for predicting the effects of an alternative admissions plan. If
one wishes to predict the effects of a Top 10 Percent plan, one needs to consider all of a state’s
students who would be qualified for admission in the university because they are ranked in the
top ten percent of their high school class. It would be incomplete to consider only those students
who both (i) had already applied under a previous admissions plan and (ii) were in the top ten
percent of their class. It would be incomplete because such students would have met double
criteria: they would have been in the top ten percent of their class and well-qualified enough to
have found it worthwhile to apply when admissions was not based on class rank alone. Thus, the
predictions would be based on students who were both highly ranked and likely to be well
qualified on holistic grounds. These students would only be a subset—a small subset—of the
students who would be eligible for admission under a Top 10 Percent plan. Indeed, in North


77   Arcidiacono Report, Figure 4.1.



                                       Confidential – Subject to Protective Order                       34


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 38 of 103
Carolina, only 37.2 percent of the public school students eligible for admission under a Top 10
Percent plan would meet the double criteria (being applicants under the holistic admissions plan
and being ranked in the top ten percent). In other words, any predictions for what would happen
if UNC were to adopt a Top 10 Percent plan would be based on a small subset of students who
were unrepresentative.
90.       The same reasoning also explains why including the subjective ratings in a model is
problematic if the model is intended for predicting the effects of an alternative plan based on
socioeconomic factors. If one wishes to predict the effects of a socioeconomic plan such as
those proposed by Mr. Kahlenberg (which rely on Prof. Arcidiacono’s models), one needs to
consider all of a state’s students who meet the socioeconomic criteria to which preference is
given in admission. It would be incomplete to consider only those students who both (i) had
already applied under a previous admissions plan and (ii) met the socioeconomic criteria. Once
more, such students would have met double criteria: they would have been highly disadvantaged
socioeconomically and well-qualified enough to have found it worthwhile to apply when
socioeconomic disadvantage is not associated with the extremely large benefit in admissions
assumed by Mr. Kahlenberg. Thus, the predictions would be based on students who were both
highly disadvantaged and likely to be well qualified on holistic grounds. These students would
only be a subset—a small subset—of the students who would be given preference in admission
on socioeconomic grounds. For instance, if I use Mr. Kahlenberg’s indicators of socioeconomic
disadvantage, only 4.9 percent of the students in North Carolina who would be given preference
in admissions based on socioeconomics are also applicants under the current admissions plan. 78
In other words, the predictions would be based on a subset of students who were not
representative of those affected by socioeconomic preferences.
91.       More generally, admissions models that rely on variables that are available only for past
applicants will produce biased and unreliable predictions for any alternative plan that induces
new and different students to apply. This is a well-known statistical point. 79 For instance,


78 Only about 5 percent of public school students with any one of the three socioeconomic preferences Mr. Kahlenberg proposes
applied to UNC in the 2014-15 admissions year. Only around 2 percent of students who would receive all three of these proposed
preferences did.
79 The censored or truncated variables issue is well known in the economics literature. In the labor supply context, for instance,

the classic truncation problem is that wages are unavailable for those who do not work (akin to the lack of ratings for those who
do apply). Therefore truncation prevents prediction of how the non-participants’ labor supply would change if we were to—



                                         Confidential – Subject to Protective Order                                            35


     Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 39 of 103
statisticians would expect to produce biased predictions if they estimated a model of health care
usage among people with health insurance and then employed their estimates to predict the effect
of giving government-provided health insurance to the uninsured. Because North Carolina has
rich data available on all public school students, it is unnecessary to base a model only on past
UNC applicants and thereby generate biased predictions.

          D.        Prof. Arcidiacono’s Models Are Unreliable for Assessing Racial Preferences
                    or Alternative Admissions Plans because They Are Overfit

92.       A model is overfit if it corresponds too closely to a particular set of data, with the effect
of not predicting future data reliably. 80 In my opening report, I provided the following
illustration, “For example, there might only be one Native American applicant for the 2015 class
who has a combined SAT score of 1160, has a GPA of 3.5, has a class rank at the 10th
percentile, is male, and is a North Carolina resident. Suppose that he were admitted by UNC.
An overfit model would produce estimates that said that all Native Americans with his SAT
score, GPA, class rank, sex, and residency would be admitted—with a probability of 100
percent. This is because the overfit model would simply have identified this particular
combination of characteristics with a particular admissions outcome (“admit”) based on an
individual student. The model would appear to have fit the data but would really just be singling
him out. Crucially, if the same model were used on applicant data for the next application cycle,
it would do a poor job of predicting outcomes because it is based on a sample size of one.” 81
93.       An overfit model cannot be reliably used to assess alternatives to the status quo. This is
because, by the definition of overfitting, an overfit model does not predict well outside of the
data sample on which it was fitted. Put another way, an overfit model does not predict well what
would happen in counterfactual exercises where the data were different because the admissions
process changed, where the applicant pool changed, or where both the process and applicant pool
changed. Yet, analyses of racial preferences or alternative admissions plans are exactly such



say—change the tax rate on wage income. See, e.g., Heckman, J., “The Common Structure of Statistical Models of Truncation,
Sample Selection and Limited Dependent Variables and a Simple Estimator for Such Models,” in Annals of Economic and Social
Measurement in NBER 5, no. 4, (1976): 475–492.
80 As cited at fn. 57 of the Hoxby Report, overfitting is “the production of an analysis which corresponds too closely or exactly to

a particular set of data, and may therefore fail to. . .predict future observations reliably.” See “Overfitting,” Oxford English
Dictionaries, https://en.oxforddictionaries.com/definition/us/overfitting.
81 Hoxby Report, fn. 57.




                                          Confidential – Subject to Protective Order                                             36


    Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 40 of 103
counterfactual exercises. Thus, if Prof. Arcidiacono’s models are overfit, they are not reliable
for the purposes to which he (or ultimately perhaps Mr. Kahlenberg) puts them.
94.       A model that is overfit gives readers a false sense of its reliability. It appears that it is
able to explain a lot of a process when, in fact, it cannot reliably predict the effects of alternative
plans. The Arcidiacono Report does not acknowledge this weakness in his models. For
example, in Tables 4.1 and 4.2, Prof. Arcidiacono presents admissions probabilities under
hypothetical “transformation” of non-URMs into URMs as if these numbers were known with
certainty. 82 In fact, Prof. Arcidiacono’s models are not well-suited to predict what would happen
under an alternative admissions plan. Prof. Arcidiacono also makes other suggestions that the
models are far more reliable than they are. 83
95.       There are several tests for overfitting that are commonly used and accepted among
statisticians. 84 I apply these tests to Prof. Arcidiacono’s models and find that the models he uses
for counterfactual exercises (both the transformation examples and Mr. Kahlenberg’s
simulations) are overfit. In particular:

               Model 4, which is used for Prof. Arcidiacono’s transformation examples is overfit.
               This model also forms the basis of the Kahlenberg simulations. In addition, Model 4
               has several other problems discussed below.

               Model 5 is akin to Model 4 except that Prof. Arcidiacono excludes some students.

               Model 6 (the “high school model”) is even more overfit than Model 4.

               Model 7 (the “Census Tract model”) is also more overfit than Model 4. It is also
               unreliable because Prof. Arcidiacono does not define Census Tracts correctly.



82 See, e.g., Arcidiacono Report, p. 43.
83 For example, Prof. Arcidiacono describes models 6 and 7 as “account[ing] for unobserved differences in high school quality
and other unobserved variables that are correlated with location” (Arcidiacono Report, p. 44). But he provides no evidence that
the fixed effects in these models are in fact measuring any time-invariant “high school quality” or “unobserved variables that are
correlated with location.” Rather, these fixed effects simply measure what percentage of UNC applicants from a particular high
school or from a particular Census tract were admitted in his estimation sample – there is no guarantee that applicants in other
years or under other admissions plans would fare similarly.
84 See, e.g., Copas, J.,"Regression, prediction and shrinkage," Journal of the Royal Statistical Society, Series B (Methodological)

45, no. 3 (1983): 311–354; Copas, J., "Cross-validation shrinkage of regression predictors," Journal of the Royal Statistical
Society, Series B (Methodological) 49, no. 2 (1987): 175–183; and Harrell Jr., F., Regression Modeling Strategies: With
Applications to Linear Models, Logistic Regressions, and Survival Analysis, 1st ed., New York: Springer, 2001 pp. 61–62. See
also Bilger M. and W. Manning, “Measuring overfitting in nonlinear models: A new method and an application to health
expenditures. Health Economics 24, no. 1 (2015): 75–85. Bilger and Manning (2015) extends the shrinkage measures from
Copas (1987) to nonlinear models.



                                          Confidential – Subject to Protective Order                                             37


     Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 41 of 103
96.      The consequence of these models being overfit is that although they may appear to
perform well (in terms of model fit) if one uses just the sample of data on which they are
estimated, they do not generate accurate predictions more generally. There are a number of
reasons for this.

                   1.        Prof. Arcidiacono Includes a Multitude of Race-Specific Indicator
                             Variables


97.      One reason why the Arcidiacono models are overfit is Prof. Arcidiacono has chosen to
include a large number of race-specific variables in constructing his models. For example, an
“academic” variable used in the admissions process (and therefore) in the Arcidiacono models is
class rank. To estimate models of the UNC admissions process, both Prof. Arcidiacono and I use
UNC’s admissions data. These are data for all applicants over a number of years. The data are
contained in spreadsheets that have thousands of rows (one for each applicant) and hundreds of
columns (the data fields for each applicant). For some applicants, however, a specific field of
data, such as class rank, is missing (empty) or recorded irregularly. 85 For instance, class rank
might be irregular if it is a number that is outside the bounds of what is possible given the
student’s class size. Prof. Arcidiacono creates a variable (not in the original data) that indicates
that class rank is missing or irregular. (He creates parallel indicators for other missing data
fields.) However, rather than treat this missing/irregular indicator variable in the same way
across all applicants, Prof. Arcidiacono allows this indicator variable to interact differently with
the race variables used in his model. In other words, Prof. Arcidiacono’s model does not just
allow missing class rank to have an effect on an applicant’s probability of admission generally; it
allows Asians to have one sort of effect of missing class rank, African Americans to have
another sort of effect of missing class rank, and so on for whites, Hispanics, etc. By making this
choice, Prof. Arcidiacono makes each applicant in the sample more unique. Although this may
allow him to achieve greater predictive power within the sample, it limits his model’s ability to
reliably predict outcomes on data that is not within the sample used to generate the model.



85 To be clear, the fact that an applicant’s data was retrieved from UNC’s system and produced to me and Prof. Arcidiacono

without a GPA or an SAT score is not to suggest that UNC is necessarily admitting some applicants without requiring that they
submit grades or standardized test results.




                                        Confidential – Subject to Protective Order                                          38


   Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 42 of 103
98.       Prof. Arcidiacono’s modeling choice does not affect just a single academic variable like
class rank. 86 Rather, Prof. Arcidiacono allows for this interaction between academic variables
and race/ethnicity for other academic variables beyond class rank, including GPA, which may be
missing from an individual applicant’s data for whatever reason. This has the effect of
introducing more race and ethnicity variables (not only the basic race and ethnicity indicators but
also the misleadingly labeled “academic variables”) into his model. Thus, it is not surprising that
individuals are nearly singled-out. Recall that, logically, a model is overfit when it purports to
explain a process truly but in fact only singles out individuals’ outcomes because they happen to
have some fairly unusual array of factors. In addition, the inclusion of these large numbers of
predictor variables has the effect of underestimating the holistic nature of UNC’s admissions
process, since they overestimate the portion of the admissions decision that can be explained by a
formula.
99.       Thus, if there are only a few African American students whose GPA is missing and
whose class rank is recorded irregularly, the model will appear to be a good fit for them but, in
fact, it is merely picking them out as a small group of individuals. If next year’s African
American students with missing GPAs and irregular class rank are different, then the model will
do a poor job of predicting their outcomes because it never incorporated the true role (if any) of
such factors. It just picked out a few people.

                    2.        Prof. Arcidiacono Includes a Multitude of High School Indicator
                              Variables


100.      In his high school model (Model 6), Prof. Arcidiacono includes an indicator or “fixed
effect” for each high school attended by UNC applicants. This indicator allows every student’s
probability of admission to shift arbitrarily based upon his or her high school. Thus, it allows the
model to appear to be a good fit when, in fact, it is merely picking out small groups of
individuals. For instance, if nearly all applicants from a certain high school are poorly qualified
in some admissions cycle, the model will over-attribute their rejections to the high school
indicator or fixed effect. Yet, in reality, the rejections were probably due to factors in their


86Prof. Arcidiacono calls the aforementioned race and ethnicity interaction variables “academic variables,” but this phrase is
misleading because they are, in fact, racial and ethnic variables. Thus, any model that includes these “academic variables” is not
race-blind.



                                         Confidential – Subject to Protective Order                                             39


     Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 43 of 103
applications, not mainly the identity of their high school (a “nearly automatic reject” school).
Thus, it should not be surprising that the model does not predict well outside of the sample on
which it was fitted. Next year’s applicant pool might contain highly admissible students from
“nearly automatic reject” schools who are, in fact, admitted. Yet, the model would have
predicted that they would be likely to be rejected, simply because they came from schools that
the model fitted as “nearly automatic reject” schools.

               3.      Prof. Arcidiacono Includes a Multitude of Location Indicator
                       Variables


101.   Prof. Arcidiacono uses the same approach—leading to the same error—with respect to
his Census Tract model as he does in his high school model. In the “Census Tract” model
(Model 7), Prof. Arcidiacono includes an indicator or “fixed effect” for the first nine digits of a
tract’s Federal Information Processing System (FIPS) code. These nine digits do not, in fact,
correctly define Census Tracts, but that is an issue I consider below in Section IV.E.4. For now,
what is important is this model allows every student’s probability of admission to shift arbitrarily
with the identity of his or her so-called tract. For instance, if nearly all applicants from a certain
Tract are highly qualified in some admissions cycle, the model will over-attribute their
acceptances to the Tract indicator or fixed effect. Yet, in reality, their acceptances were probably
due to factors in their applications, not mainly the identity of their tract (a “nearly automatic
accept” tract). Thus, it should not be surprising that the model does not predict well outside of
the sample on which it was fitted. Next year’s applicant pool might contain poorly qualified
students from “nearly automatic accept” tracts who are, in fact, rejected. Yet, the model would
have predicted that they would be likely to be accepted, simply because they came from tracts
that the model fitted as “nearly automatic accept” tracts.

               4.      Tests of Overfitting


102.   I conducted two tests to assess the extent to which Prof. Arcidiacono’s models are
overfit: (1) I examined how the “Mean Squared Error” (“MSE”) of his models increases outside




                                 Confidential – Subject to Protective Order                           40


   Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 44 of 103
of the estimation sample relative to inside the estimation sample, and (2) I calculated “shrinkage”
statistics for Prof. Arcidiacono’s models, which are a formal way of testing for overfitting. 87
103.      Exhibit 3 shows how the MSE of Prof. Arcidiacono’s models increases substantially
when his models are applied to data outside of the sample used to estimate the models. 88 A
higher value of MSE means that the model fits worse (i.e., the average amount by which the
model predictions differ from the actual values is larger). For example, for Prof. Arcidiacono’s
Model 4 using in-state applicants, the MSE is on average 34 percent larger outside of the
estimation sample than it is in the estimation sample. For his Model 6, the MSE is 156 percent
larger, suggesting substantial overfitting. 89 As a comparison, the model in my opening report is
less overfit, with an increase in MSE of only 5 percent when comparing out-of-sample
predictions to in-sample predictions. 90
104.      Exhibit 4 shows “shrinkage” statistics for Prof. Arcidiacono’s models and the models
presented in my opening report. Again, a higher number implies that the model is more overfit.
As with the MSE values shown in Exhibit 3, one can see that the Arcidiacono models are more
overfit than the models in my opening report and the higher-numbered Arcidiacono Models
(particularly 6 and 7) are severely overfit.
105.      The results in Exhibits 3 and 4 imply that if one were to use measures of model fit within
the estimation sample to infer how Prof. Arcidiacono’s models would perform outside of the
estimation sample (e.g., on future applicants, or under an alternative admissions plan), the results
would not be reliable. This is just one illustration of why it is problematic to use Prof.
Arcidiacono’s models to draw inferences about what would occur under hypothetical alternative
admissions plans.




87 Shrinkage statistics are calculated using the overfit command in the statistical software Stata. These statistics are described in
Bilger and Manning (2015).
88 I calculate the MSE as the average of the square of the prediction error (the difference between the admission probability the

model predicted for an individual application and what the outcome actually was) over all the applicants in the pool. I do this first
for the sample year on which I estimate the model. I then take those model estimates, and use them to predict admission
probabilities for the other years I did not use to estimate the model. For each year, I calculate the MSE of the model. I then
compare the average MSE across the years not used to estimate the model to the MSE in the year used to estimate the model to
measure the relative increase in model error out-of-sample.
89 For Prof. Arcidiacono’s models for out-of-state students, the analogous numbers are: 42% increase for Model 4 and 188%

increase for Model 6.
90 See, Hoxby Report, Exhibit 1 Table 1 row (9).




                                          Confidential – Subject to Protective Order                                              41


     Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 45 of 103
          E.        Prof. Arcidiacono’s Models Contain Variables that Generate Biased
                    Estimates. Also, the Models Contain Errors and Neglect Relevant Student
                    Data Rendering Them Unreliable for Assessing Admissions

106.      There are some important features of Prof. Arcidiacono’s models that generate biased
estimates and lead him to overestimate the extent to which he is able to explain the UNC holistic
admissions process through a formula. In addition, there are a number of further errors in the
analysis which Prof. Arcidiacono has performed, beyond these larger conceptual mistakes. I
touch on some of these below. In each case, these features of Prof. Arcidiacono’s models make
them unreliable for drawing conclusions about the role of race/ethnicity in UNC admissions and
for using these models in assessing whether there is a workable race-blind alternative admissions
plan that would allow UNC to maintain its academic standards.

                    1.        Prof. Arcidiacono Wrongly Includes Subjective Ratings Variables in
                              His Admissions Model Regressions and Wrongly Excludes Students in
                              Specific Categories


107.      In his Models 3 through 7, Prof. Arcidiacono includes the subjective ratings that UNC’s
admissions staff generate as part of their holistic review process. I have already explained why it
is inappropriate to include these variables if the intended use of the model is predicting the
effects of alternative admissions plans, which will attract different applicants to UNC. In
addition, these variables should not be included in Prof. Arcidiacono’s models because they are
“endogenous.” A variable is “endogenous” if its creation involves one or more of the other
variables in the regression. For instance, in a regression that predicts admissions, the creation of
the “Personal Quality” variable could involve race since an applicant might have had experiences
(such as having been adopted by parents of another race) whose interpretation depends on race. 91
In economics, it is well understood that the effect of including endogenous variables in this sort
of regression is to change the estimated effects of race so that those estimates could not be
“switched,” “swapped,” or “zeroed out” and then interpreted as though the student’s race had
truly changed.



91 Hoxby Report, ¶ 39. In my opening report, I noted that it is inappropriate to include these ratings variables when attempting to

assess whether UNC admissions can be explained by a formula because they are not “verifiable” in the sense that any two
readers, with an application in front of them, would not necessarily report them in the same way.



                                          Confidential – Subject to Protective Order                                            42


    Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 46 of 103
108.   To see the problems that can arise when including an endogenous variable, it is helpful to
consider a medical example. Suppose that a clinic is trying to predict whether people will
develop skin cancer (melanoma). Its staff use data from past patients who saw a dermatologist
(skin doctor) about some skin-related issue. As part of the normal patient screening process,
these past patients were all assessed by their dermatologist for skin cancer risk. Such
assessments require professional judgement, a discussion with patients about their history (sun
exposure, etc.), and a visual inspection of skin, moles, etc. The clinic staff estimate a regression
in which the outcome is the patient having later developed skin cancer. (It is known from other
studies that people who have paler skin are more likely to develop skin cancer as they age.) The
explanatory variables in the regression are age, race, and the score that the dermatologist gave
the patient on the assessment of skin cancer risk. The staff estimate the effects of these variables
and find that people who are older and have higher risk scores are more likely to develop skin
cancer. However, they also estimate that, conditional on age and risk score, a person’s race has
only a negligible effect. The staff take their estimated race effects and use them for
counterfactual predictions such as predicting skin cancer in a wider population of people for
whom they do not have a dermatologist’s assessment. Their predictions would be biased. Why?
The effect that they estimated for each race was conditional on a certain score on the
dermatologist’s assessment. For instance, if that assessment incorporated all of the cancer-
relevant features of being white, then their estimated “white effect” would be negligible. If they
used this negligible “white effect” estimate to predict skin cancer in the general population, their
predictions would greatly understate the share of whites who would develop skin cancer because
they would be applying their model to data in which no dermatologist’s assessment was
available.
109.   Another way to see this is to think about a race “switch.” Suppose the researchers
“switched” a white person with a high risk score to “being African American” by swapping out
his estimated “white effect” and swapping in the estimated “African American effect” while
keeping his high risk score the same. This would clearly not be sensible because, if the white
person were truly switched to being African American, his high risk score would not be the same
(but almost certainly lower). Thus, the estimates might predict that the switched-to-African
American person would develop skin cancer (because the estimate would be based on that



                                Confidential – Subject to Protective Order                         43


   Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 47 of 103
assumption that he has a high risk score) even though he would not develop cancer were he truly
transformed into an African American.
110.       We can translate this example back to admissions. The outcome in the example is
developing skin cancer whereas in the case of admissions, it is being admitted to UNC. The past
patients are like UNC’s past applicants. The endogenous variable in the example is the patient’s
score on the dermatologist’s assessment of skin cancer risk whereas the endogenous variable in
the case of admissions is the applicant’s result on one or more of the UNC ratings variables
created in its admissions process. The bias in the prediction for the general population comes
from the race variables having estimated effects that are not useful given that the staff want to
use the estimates to predict skin cancer in a general population for whom no dermatologist’s
assessment score is available. Similarly, the bias in the prediction for UNC potential applicants
comes from the race variables having estimated effects that are not useful given that the results
are meant to be used to create predictions of what would happen under a race-blind alternative
plan (i.e., for future applicants for whom no UNC ratings variables are available).
111.      The bottom line is that Arcidiacono’s inclusion of the UNC ratings variables in his
models is not only problematic because they are not verifiable (see the discussion in my opening
report, Section III.B) but also because they generate biased coefficients if the models are to be
used for predictions over a more general population of potential applicants.
112.      In addition, in every model Prof. Arcidiacono presents, he chooses to exclude from his
analysis any student who is identified by UNC—during the process of holistic review—as
belonging to what he calls “special recruiting categories.” 92 That is, students are excluded from
his admissions modeling who, during the process of holistic review, were classified by
admissions staff as falling into any one of several categories. 93 These categories include being
candidates for certain scholarships or having certain special talents. 94 This exclusion is
inappropriate; these students’ admissions are also part of the UNC holistic admissions process.
113.      Exhibit 5 presents the regression results and R-squared of Arcidiacono Models 2 and 3,
where I demonstrate the effect of including the so-called “special recruiting category” students


92 Arcidiacono Report, pp. 8–9, 65–66.
93 The “special categories” or “special recruiting categories” are listed in Arcidiacono Report, fn. 48.
94 4,768 in-state and 4,621 out-of-state students are excluded from Prof. Arcidiacono’s sample based on 37 “special recruiting

categories” across all years of analysis.




                                         Confidential – Subject to Protective Order                                              44


     Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 48 of 103
and excluding the endogenous ratings variable – that is, I re-run the Arcidiacono models,
including these students, and dropping the ratings variables. 95 I find that, when adjusting for the
inappropriate modeling choices, Prof. Arcidiacono’s admissions model does not reliably fit
actual UNC admissions decisions—44.4 percent of the variation associated with the in-state
admissions decision is not explained by a formula; and for out-of-state admissions, that number
is even higher, at 64.8 percent. 96 The cumulative effect of his modeling choices is to de-
emphasize the process of holistic review. In addition, the estimated effects of race are also
sensitive to these choices; correcting them leads to a lower estimated effect of URM status on
admissions probability. 97
114.      The fact that Prof. Arcidiacono’s models include endogenous variables, and do not
include a significant portion of actual UNC admissions decisions makes these models unreliable
and misleading for both (1) determining whether race is a “dominant” factor in admissions and
(2) evaluating hypothetical alternative admissions plans.

                    2.        Prof. Arcidiacono’s Admissions Models Contain Race Variables that
                              Do Not Get “Turned Off” in the Kahlenberg Simulations


115.      As I mentioned earlier, the Kahlenberg Report includes simulations that Mr. Kahlenberg
purportedly directed Prof. Arcidiacono to run using Prof. Arcidiacono’s admissions model. Mr.
Kahlenberg states that he instructed Prof. Arcidiacono to “turn off” the race variables. 98 That is,
Mr. Kahlenberg directed that any variable in the data that might indicate race should not be
considered. But in fact, because Prof. Arcidiacono allows for missing academic variables to be
broken out by the race of the applicant (e.g. Asian applicant with missing class rank), Prof.
Arcidiacono’s admissions models have varying admissions probabilities that depend on their
race. These variables are not “turned off” when Prof. Arcidiacono’s model is used by Mr.
Kahlenberg. Thus, the models used by Mr. Kahlenberg in his simulations predict admissions



95 In my opening report, I did not exclude these students from my analysis.
96 This corresponds to the R-squared of his Model 2, where one includes the “special recruiting category” students. Note that
these numbers are based on Arcidiacono’s models, which I do not consider to be reliable even when one includes “special
recruiting category” students.
97 In particular, the coefficients on the African American and Hispanic Race indicators are also sensitive to these choices; for in-

state students the estimated coefficient on African American falls from 2.85 to 1.72.
98 Kahlenberg Report, p. 67.




                                          Confidential – Subject to Protective Order                                              45


     Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 49 of 103
using the race/ethnicity of students—even though Mr. Kahlenberg calls these simulations “race-
neutral.”

                   3.        Prof. Arcidiacono Mistakenly Treats the New SAT Scores Introduced
                             in 2016 as Directly Comparable to the Old SAT Scores in the Earlier
                             Years


116.     Prof. Arcidiacono mistakenly treats the new SAT scores introduced in 2016 as similar to
the old SAT scores applicable in earlier years, without using the concordance table provided by
College Board. 99 As a result, the average SAT scores from applicants in the 2016-17 admissions
cycle are calculated based on non-comparable old and new scores.
117.     Also, Prof. Arcidiacono fails to use the concordance table provided by the College Board
for converting ACT scores into SAT scores. This concordance table is based on extensive
research and a very large number of students who take both tests (more than 300,000 students in
a recent study). 100 The College Board’s concordance table is widely used for converting scores
by colleges, universities, scholarship programs, and researchers. 101 Instead, Prof. Arcidiacono
bases his model on a non-standard crosswalk that he himself creates using the small and non-
representative group of students in the UNC applicant pool who take both tests. In a typical
cohort of UNC applicants, only 8,367 students (or 28.4 percent of applicants) take both tests. 102




99 The crosswalk is based on extensive research by the College Board and is widely used by colleges and universities to convert
pre-2016 SAT scores into 2016-and-after SAT scores.
100 See, “ACT and SAT® Concordance Tables,” College Board, Office of Research and Development, Research Note RN-40,

October 2009, available at https://files.eric.ed.gov/fulltext/ED562594.pdf.
101 See, for example, Advisory Committee on Undergraduate Admissions, “Census

Annual Report,” University of North Carolina, April 25, 2014, available at
https://carolinacommitment.unc.edu/files/2014/04/April-25-Annual-Report-Advisory-Committee-on-Undergraduate-
Admissions.pdf. “Test score. Highest official score earned by each student on either the SAT (Critical Reading and Math
combined) or the ACT Composite, with the ACT Composite converted to the SAT Critical Reading and Math scale using the
standard concordance table approved by the College Board and ACT. This method of summarizing test scores best represents the
way that scores are used by the University. Under guidelines for standardized testing approved by the Advisory Committee on
Undergraduate Admissions, when any candidate for admission submits results from both the SAT and the ACT, the University
considers the test with the stronger results.” (See, “ACT and SAT® Concordance Tables,” College Board, Office of Research and
Development, Research Note RN-40, October 2009, available at https://files.eric.ed.gov/fulltext/ED562594.pdf.)
102 This is based on Connect Carolina data from 2009-10 to 2015-16 admissions cycles.




                                        Confidential – Subject to Protective Order                                           46


     Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 50 of 103
                   4.        Prof. Arcidiacono’s Admissions Models that Purport to Include Fixed
                             Effects for Census Tracts Do Not Correctly Identify Census Tracts


118.     Prof. Arcidiacono’s admissions models that purport to use geographic fixed effects for
Census Tracts wrongly use a 9-digit FIPS code, rather than an 11-digit Census Tract. The effect
of this is that this admissions model uses geographic units that (i) do not have the intended
geographic integrity (ii) were often split long ago in recognition of changes in boundaries,
features, or other facts, and (iii) may vary unduly widely in population size. 103


V.       Mr. Kahlenberg Has Failed to Provide Evidence of the Existence of a Workable
         Race-Blind Alternative


119.     Next, I consider the putative race-blind alternative admissions plans presented in the
Kahlenberg Report. I am not certain to whom to credit these simulations because I understand
them to have been prepared by Prof. Arcidiacono at Mr. Kahlenberg’s behest. 104 There is no
discussion of the methodology behind these simulations in the Arcidiacono Report, and the
Kahlenberg Report does not contain detailed methodology either. In numerous instances, I have
found it impossible to identify who (Prof. Arcidiacono or Mr. Kahlenberg) is responsible for a
choice regarding the procedures underlying a simulation. Thus, I hereafter describe the
simulations as the Kahlenberg/Arcidiacono or “KA” simulations.
120.     I disagree with the claim that the “KA simulations” provide evidence of the existence of a
workable race-blind alternative that would allow UNC to maintain its racial diversity while also
maintaining its high academic standards. I have four main criticisms of the KA simulations:

              First, any simulation of an alternative admissions plan should be applied to data on
              the students who would be affected by it, not just students who decided in the past to
              apply to UNC under the university’s current admissions process. This is particularly
              true for UNC because, as I have discussed above, North Carolina has rich data on

103 “Geographic Terms and Concepts – Census Tract,” United States Census Bureau, available at

https://www.census.gov/geo/reference/gtc/gtc_ct.html. “When new census tracts (splits) occur within an established set of census
tracts, the Census Bureau recommends retaining the original four-digit census tract number and adding a two-digit decimal
suffix. As a result, Census Tract 101 may be split into Census Tracts 101.01, 101.02,” (See “Geographic Areas Reference
Manual,” US Census Bureau, November 2014, at p. 10-7, available at
https://www2.census.gov/geo/pdfs/reference/GARM/Ch10GARM.pdf.)
104 Kahlenberg Report, p. 65.




                                         Confidential – Subject to Protective Order                                          47


     Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 51 of 103
                 nearly all of its public high school students, and UNC’s entering class is composed of
                 approximately 82 percent in-state students. 105 Since the KA simulations are based
                 entirely on past UNC applicants, the simulations do not even attempt to include most
                 of the students whose admissions would be most affected by the introduction of an
                 alternative plan. The resulting deficiencies in the KA simulation procedures are so
                 great that it is my opinion that their predictions are unreliable in assessing what a
                 hypothetical alternative admissions process would achieve. For example, if the
                 admissions model used for the KA socioeconomic simulations is applied to
                 prospective North Carolina applicants (not just past applicants), it generates
                 predictions that are extremely different than those presented in the Kahlenberg
                 Report. Specifically, if I apply the KA simulation procedures to prospective
                 applicants from North Carolina, I find that UNC would admit a class that is
                 dramatically less academically qualified in terms of test scores.

                 Second, Mr. Kahlenberg proposes extremely large “bumps” or increases in the index
                 value determining students’ admissions probability for students whom he tags as
                 socioeconomically disadvantaged. The “Kahlenberg Bumps” are so large that, if
                 UNC used them as proposed by Mr. Kahlenberg, UNC would necessarily move away
                 from holistic admissions and toward formula-based admissions.

                 Third, numerous suggestions made by Mr. Kahlenberg regarding alternative
                 admissions plans are unfounded, unworkable, or both. In particular, Mr. Kahlenberg
                 proposes a highly idiosyncratic version of a Top X Percent plan (which he refers to as
                 a “percentage plan” 106) that does not correspond to Top X Percent plans that have
                 been actually implemented by other institutions or discussed in academic research
                 and literature. As I discuss in greater detail below, there are serious issues with how
                 the Kahlenberg Top 4.5 Percent plan would have to be implemented in order to make
                 it successful that render it unrealistic and unworkable in my opinion. Other
                 suggestions made by Mr. Kahlenberg are similarly not well-considered. For instance,
                 Mr. Kahlenberg suggests that socioeconomic status should take wealth, not just

105   Approximately 78 percent of in-state students are from public schools.
106   Kahlenberg Report, p. 76.



                                            Confidential – Subject to Protective Order                   48


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 52 of 103
              income, into account. But detailed and accurate wealth data that Mr. Kahlenberg
              suggests UNC might be able to access are not available, as I explain below. Owing to
              the absence of wealth data to which he alludes (but has not described how it would be
              obtained or whether it would be accurate), his suggestions regarding the use of wealth
              data in admissions are without basis and would, in any case, be unworkable in the
              foreseeable future.

              Fourth, Mr. Kahlenberg does not attempt to evaluate alternative admissions plans on
              the basis of whether they would allow UNC to maintain racial diversity. Instead, in
              each instance, his evaluation of a plan is based partly on whether it increases UNC’s
              socioeconomic diversity. This is not my understanding of what UNC must assess in
              considering whether a workable race-neutral alternative exists. Rather, it appears to
              be the artifact of Mr. Kahlenberg’s clear preference for increasing socioeconomic
              diversity. Moreover, as I discussed in my opening report, the correlation between
              socioeconomic variables and race is far from perfect and certainly not as strong as
              Mr. Kahlenberg suggests.

         A.      The Alternative Admissions Plans in the KA Simulations, When Applied to
                 Most Prospective North Carolina Students Who Would Be Affected, Generate
                 a Class Far Too Large and Imply that UNC Would Become Dramatically Less
                 Selective

121.     The first race-blind alternative admissions plans presented in the KA simulations are
socioeconomic status-based plans (KA simulations 2 through 4). As Mr. Kahlenberg describes,
the first step in his alternative socioeconomic model is to provide a “preference to students that
come from families that are socioeconomically disadvantaged.” 107 I do not disagree with the
broad idea of including socioeconomic factors in a holistic admissions plan (see Section V of my
opening report). 108 However, as I discuss in this section, Mr. Kahlenberg’s choice to apply his
socioeconomic status-based preference only to UNC’s past applicant pool renders his analysis
unreliable (in later sections, I discuss additional reasons why his analysis is unreliable). When


107Kahlenberg Report, p. 68.
108However, I would not suggest using socioeconomic variables in such a “blunt-force” manner where each socioeconomic
variable is associated with a formulaic addition of index points determining students’ admissions probability. Nor would I
suggest using socioeconomics in a model that is untethered from an analysis of the college-going challenges associated with
socioeconomic disadvantage, as Mr. Kahlenberg’s proposal is untethered.



                                         Confidential – Subject to Protective Order                                           49


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 53 of 103
one instead applies the KA simulations to the pool of prospective applicants who would be likely
to apply should UNC change its admissions plan, the results are very different from those in the
Kahlenberg Report.
122.      To generate the KA simulations of alternative admissions plans based on socioeconomic
status, Mr. Kahlenberg uses the following procedure:

               Prof. Arcidiacono estimates models of admissions based on past UNC applicants, and
               the KA simulations use his “Model 4.” 109

               The KA simulations then attempt to make the estimated admissions model race-blind.
               To do this, the estimated coefficients on some of the race variables (and certain other
               variables) are changed to “white.” This step is apparently intended to make the
               remaining part of the estimated model race-blind. However, the KA simulations do
               not change the coefficients on the race interaction variables (which I discussed above
               and which are misleadingly labeled “academic variables”) to “white” so the
               remaining part of the estimated model is not actually race-blind. 110 , 111

               As a substitute for the “zeroed-out” race variables, Mr. Kahlenberg introduces a
               preference or “bump” (hereafter, the “Kahlenberg Bump”) in the index value
               determining students’ admissions probability if the applicant meets certain criteria.
               This is how Mr. Kahlenberg purports to replace UNC’s alleged “preference” for race
               with a socioeconomic preference. These bumps are just Mr. Kahlenberg adding to
               each applicant’s estimated index value as follows:




109 In Arcidiacono Model 4, as used in the Arcidiacono Report, UNC applicants who are flagged as athletes in the data are
removed from the estimation sample. See Arcidiacono Report, pp. 65–66. However, when running the KA simulations, Mr.
Kahlenberg says that “[a]thletes were put back into the dataset” (Kahlenberg Report, fn. 260) and “Arcidiacono turned UNC’s
existing preferences for recruited athletes back ‘on.’” (Kahlenberg Report, p. 67). I discussed earlier why I believe Model 4 is
unreliable for the purposes of these simulations.
110 These race interaction variables (for example, allowing Asian applicants who are missing class rank to have a different

admissions probability than a Hispanic applicant missing class rank) are some of the ones I discussed above in Section IV.D
when explaining why the Arcidiacono models are overfit.
111 Mr. Kahlenberg also instructed Prof. Arcidiacono to “turn off” “preferences for recruited athletes, race, legacy, early decision,

first generation status, fee waiver applicants, and female applicants” when generating admissions probabilities. Kahlenberg
Report, p. 67.




                                          Confidential – Subject to Protective Order                                              50


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 54 of 103
                 a.       Bump A: an increase of 5 “index points” 112 that determine the estimated
                          probability of admissions if the applicant uses an admissions fee waiver, is
                          eligible for the free or reduced-price lunch program, or has no parent who
                          holds a baccalaureate degree.
                 b.       Bump B: an increase of 5 additional index points if the applicant comes
                          from a zip code where families’ median income is in the lowest third
                          nationally.
                 c.       Bump C: an increase of 5 additional index points if the applicant attends a
                          high school that is in the top third of North Carolina public high schools in
                          that year, when schools are ranked from highest to lowest percentage of
                          students eligible for free or reduced-price lunch.

123.      To be clear, a student can get one of the Kahlenberg Bumps, two of them, or all three of
them. 113 Thus, a student who, prior to the addition of the Kahlenberg Bumps, would have had an
estimated admissions probability of 21.2 percent based on Model 4 in the 2014–15 admissions
cycle (the median admission probability for an in-state applicant in Kahlenberg’s Simulation 1
prior to the addition of the Kahlenberg Bumps) would have that probability rise to 97.6 percent if
she got only one bump, rise to 99.98 percent if she got two bumps, and rise to 99.999 percent if
she got all three bumps. In other words, the median applicant could have as much as
approximately 76 percentage points added to her estimated admissions probability due to just
one bump. 114




112 The KA simulations generate admissions probabilities for each applicant by applying a Logit transformation to an index that
depends on the applicant’s characteristics. It is this index that the Kahlenberg Bumps directly adjust – the size of the impact on
the resulting admission probability depends on the applicant’s value of the index prior to receiving the bump.
113 In KA Simulation 2, Mr. Kahlenberg incorporates Bump A, in KA Simulation 3, he incorporates Bumps A and B, and in KA

Simulation 4 he incorporates Bumps A, B, and C.
114 For the set of students used in Prof. Arcidiacono’s estimation of his Model 4, the median increase among the 2,519 applicants

eligible for one bump would be 6.3 percentage points, among the 1,113 applicants eligible for two bumps would be 34.5
percentage points, and among the 257 applicants eligible for all three bumps, 55.36 percentage points.




                                         Confidential – Subject to Protective Order                                             51


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 55 of 103
                 1.      The KA Simulations Apply Prof. Arcidiacono’s Estimated Admissions
                         Models Solely to Past UNC Applicants, Not Students Who Are
                         Representative of the Students Who Would be Affected by UNC’s
                         Adoption of a Particular Race-Blind Alternative Admissions Plan


124.      Mr. Kahlenberg applies this procedure only to past UNC applicants, essentially
multiplying each past applicant by her or his estimated admissions probability once race is
ostensibly removed from the process and after the Kahlenberg Bumps are added. This
multiplication produces a predicted UNC class that is too large, so the KA simulations rescale all
the multipliers until they get a class that corresponds to the approximate size of the class UNC
typically admits. 115 These rescaled results are shown in the Kahlenberg Report. 116
125.      Mr. Kahlenberg presents the KA simulations as reliable predictions of what would occur
if his proposed socioeconomic admissions plans were implemented. But Mr. Kahlenberg glosses
over his decision to model this hypothetical admissions plan on only the pool of actual UNC
applicants rather than the larger pool of students who might apply if UNC were to change its
admissions plan, for example those North Carolina public school students who are reflected in
the available NCERDC data. Indeed, he only discusses the decision to apply the procedure to
past applicants in footnote 292, and in that footnote he speculates (without any accompanying
analysis) that the predictions will be reliable.

                 2.      To Assess the Validity and Reliability of the KA Simulations, I Apply the
                         KA Simulation Procedure to North Carolina Public School Students Who
                         Would Be Affected by Any Alternative Admissions Plan


126.      I have already discussed the underlying reasons why applying the Arcidiacono Models
and KA simulation procedure only to past applicants will produce unreliable results, but this
unreliability can also be seen by applying the available data. In particular, it is instructive to
apply the KA simulation procedure to most prospective UNC applicants (i.e. North Carolina
public school students) and not just past applicants.




115 After applying Kahlenberg Bumps, zeroing out other variables, and “transforming” all applicants to be white, the estimated
intercept is adjusted until the mean probability of admission is within 0.01 percent of the mean probability of admission for all
students before the bumps and transformation were applied.
116 Kahlenberg Report, p. 70.




                                          Confidential – Subject to Protective Order                                                52


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 56 of 103
127.      To assess the validity and reliability of the KA simulations, I apply the KA simulation
procedure to North Carolina public school students as represented in the NCERDC data. Not
only would these students make up the bulk (approximately 80 percent of in-state applicants) of
the students who would be affected by any alternative admissions plan at UNC, many alternative
admissions plans could not plausibly be implemented with out-of-state students, private school
students, and home-schooled students. 117
128.      Specifically, I apply the KA simulation procedure as follows:

               I use Prof. Arcidiacono’s Model 2 based on past in-state UNC applicants because this
               model presents the fewest of the problems I identified in Prof. Arcidiacono’s models
               above. 118

               I follow the KA simulation in making the Arcidiacono Model race-blind by setting
               the estimated coefficients on all of the race variables to “white.” 119

               I apply Kahlenberg Bumps (Bump A and/or Bump B) exactly as done in KA
               Simulation 3 and as described above. 120, 121

               I apply this procedure to the NCERDC data. Then, like in the KA simulations, I can
               rescale the estimates to get a class of about the right size. I show the estimates before
               and after rescaling. 122



117 See Hoxby Report, ¶¶ 258–268.
118 In order to be able to apply Prof. Arcidiacono’s Model 2 to students in the NCERDC data, I needed to remove the variables in
the model for which there is no analogue in the NCERDC data: alum, decision round (Early vs. Regular decision), class rank
type, and athlete. I also adjust the race/ethnicity categories to the categories used in the NCERDC data. I re-estimated Prof.
Arcidiacono’s Model 2 without these variables and the resulting coefficients and provided in the backup materials to this report.
The R-squared of the model changed from 0.565 to 0.524 due to the removal of these variables.
119 As I explain in Section V.A.1 above, the KA simulations are not truly race-blind, because Mr. Kahlenberg and Prof.

Arcidiacono do not set coefficients on all race interaction variables equal to “white.” In my analysis I correct for this to make the
simulations actually race-blind by setting the coefficients on all race interaction variables equal to “white” or the same race.
120 Simulation 3 is the simulation reported by Mr. Kahlenberg in the text of his report. Kahlenberg Report, Section IV.A.
121 The NCERDC data do not contain information on whether a student would be a “first generation college” (FGC) student or

whether the student would be eligible for a fee waiver if he or she were to apply to UNC. Therefore, I estimate the probability
that each student would be FGC or eligible for a fee waiver based on the following characteristics: student-to-teacher ratio,
percent of free lunch receivers, percent of reduced-price lunch receivers, household median income, household mean income,
family median income, family mean income, percent of 25+ year old population in each education attainment group, mean
education attainment for 25+ year olds, size of 12th grade class, percent of families headed by single parents, mean number of
dependents in each household, indicators for each geographical location category (based on urban/rural characteristics). If a
student has a probability of at least 50 percent of being FGC or of being eligible for a fee waiver, or is categorized as
economically disadvantaged, I give that student the Kahlenberg Bump A.
122 In Exhibit 6, I focus on one admissions cycle (2014-15). In other admissions cycles, the overall conclusions are the same. I

provide these results in my backup materials.




                                          Confidential – Subject to Protective Order                                              53


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 57 of 103
129.         I show the results of this assessment in Exhibit 6 which can be compared to the KA
simulation (Simulation 3) shown in Table C.1a in the Kahlenberg Report. 123 Exhibit 6 has three
columns. The left-most columns show statistics on UNC’s current in-state admits (what Mr.
Kahlenberg calls the “status quo,” narrowed down to public school students). The middle
columns show the class that UNC would likely admit based on applying the KA simulation
procedure to North Carolina public school students. In this middle set of columns, UNC’s
admitted class is too large—an artifact of the KA simulation procedure applied to all North
Carolina public school students. The right-most columns scale the admitted class to about the
right size using the method proposed by Prof. Arcidiacono to account for “capacity
constraints.” 124
                                                  Exhibit 6 125
                              KA Simulation 3 (Socioeconomic Status-Based Plan)
                                 Using Arcidiacono Model 2 and NCERDC Data
                                           2014-15 Admissions Cycle
                                      Status Quo                          Kahlenberg/Arcidiacono Simulation 3           Kahlenberg/Arcidiacono Simulation 3
                     (Actual UNC Resident Public School Admits) [3]             Applied to NCERDC [4]                    Applied to NCERDC and Scaled [5]
                                       Avg. SAT                                        Avg. SAT                                      Avg. SAT
Race/Ethnicity [6]   Total Admits      Score [7]      Avg. GPA [8]    Total Admits     Score [7]     Avg. GPA [8]   Total Admits     Score [7]     Avg. GPA [8]
African American            293             1196           4.57              8,322          878           4.09             665           1028           4.56
Asian                       401             1349           4.78              1,276         1158           4.68             164           1215           4.87
Hispanic                    204             1235           4.62              3,233          957           4.18             324           1090           4.62
Native American              65             1256           4.62                899          862           4.19             102           1020           4.60
Pacific Islander              4             1266           4.91                 41         1060           4.28               5           1186           4.54
White                     2,360             1316           4.75             17,707         1092           4.46           2,081           1166           4.69
Missing                     124             1350           4.77                 17          870           2.82               1            928           2.82
Multi-racial                  -                -              -              1,035         1025           4.33             100           1128           4.64
Total                     3,451             1305           4.73             32,529         1025           4.40           3,442           1136           4.69



130.         The table shows that UNC’s admitted class would have substantially lower SAT scores
and grades under Mr. Kahlenberg’s socioeconomic admissions plan. Comparing the middle
columns to the left columns, the average SAT scores of most racial/ethnic groups would fall by
about 200 points or more. For instance, the average SAT scores of African American admits
would fall from 1196 to 878. The average SAT scores of Hispanic admits would fall from 1235
to 957. White admits’ average SAT scores would fall from 1316 to 1092. These declines in


123 KA Simulation 3 uses Arcidiacono Model 4 to generate its predictions. However, because Arcidiacono Model 4 relies on the
endogenous ratings variables that are not available for the full set of prospective UNC applicants, I instead use Arcidiacono
Model 2 for this comparison. I conduct these simulations using Prof. Arcidiacono’s Model 2 in order to parallel the KA
simulations and to address the conclusions that Mr. Kahlenberg draws based on them; however, for the reasons given throughout
this report, I do not consider the Arcidiacono Models reliable.
124 In Exhibit 6, I have adopted Prof. Arcidiacono’s proposed method of adjusting the admitted class to account for “capacity

constraints.” (Arcidiacono Report, p. 52) I note, however, that the econometrically preferable way to account for a capacity
constraint would be to impose that constraint during the estimation of the model, which Prof. Arcidiacono has not done.
125 See Exhibit 6 for sources and notes.




                                                       Confidential – Subject to Protective Order                                                              54


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 58 of 103
academic preparation would be so large as to imperil UNC’s ability to fulfil its educational
mission.126
131.     Exhibit 6 shows that when KA Simulation 3 is applied to North Carolina public school
students, the average GPA would fall (relative to the results reported by Mr. Kahlenberg) by
approximately 0.1 to 0.5 GPA points, depending on the racial/ethnic group, in the middle
columns compared to the left columns. Therefore, even on the dimension of GPA, which is not
as objective of a measure as SAT scores, the results of KA Simulation 3 would differ from those
reported in the Kahlenberg Report when the simulation is applied to the set of students from
which most UNC applicants are drawn.
132.     Although Exhibit 6 shows both the class that UNC would likely admit based on applying
the KA simulation procedure to North Carolina public school students (the middle columns) and
the admitted class scaled to about the right size using the method proposed by Prof. Arcidiacono
(the right columns), it is appropriate to focus on the unscaled results (the middle columns) when
analyzing the KA simulation. The reason is that Prof. Arcidiacono’s method of rescaling is ad
hoc and does not apply capacity constraints in a manner that is accepted in the literature on
discrete choice modeling. If Prof. Arcidiacono had accounted for “capacity constraints” in the
estimation of his model, his predictions would not need this problematic ex post rescaling. The
fact that his rescaling methodology has strong effects on the predictions indicates that his
methodology is not well-suited for counterfactual exercises.
133.     By not accounting for how the applicant pool would change under his socioeconomic
status-based admissions plans, Mr. Kahlenberg has misrepresented the admitted class that would
result from adopting his approach to admissions. If one applies his socioeconomic status-based
plan to the majority of prospective applicants to UNC, namely North Carolina public high school
students, the resulting admitted class would have much lower test scores, meaning that Mr.
Kahlenberg has not shown that this plan is a workable race-blind alternative that would allow
UNC to maintain its academic standards.



126 As I discussed in Section IV.C of my opening report, it is reasonable to assess the magnitude of losses to the university’s

mission by considering how the average statistics, such as the average test scores, of UNC’s student body change under each
alternative admissions plan. While UNC, which practices holistic admissions, admits individual students who thrive despite
having lower test scores, a university whose student body had lower average test scores would usually be unable to maintain a
world-class educational environment. This is because the characteristics of an individual have a different meaning than average
statistics computed over a large number of individuals. See Hoxby Report, ¶¶ 117–122 for further discussion.



                                         Confidential – Subject to Protective Order                                           55


   Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 59 of 103
                   3.     In Summary, There Are Three Main Reasons Why the KA Simulations
                          Generate Predictions that are Invalid and Unreliable


134.        Mr. Kahlenberg’s opinions are based on the KA socioeconomic status-based simulations
being applied to the wrong set of students (UNC past applicants rather than prospective
applicants). There are at least three reasons why this application generates invalid and unreliable
predictions:

                 The Kahlenberg Bumps for socioeconomic criteria are very large relative to the
                 improvements in admissions probabilities associated with other criteria such as test
                 scores, grades, and higher class rank. The bumps are also broad, meaning they apply
                 to a large number of students. (These facts are made even clearer by the evidence I
                 present in the next section.) Because the bumps are very large and apply to many
                 students, even a modest response to the bumps would change UNC’s admissions pool
                 enough to greatly alter the predictions of the KA simulation procedure.

                 It is illogical to assume that if a student’s probability of admission were greatly raised
                 by his receiving one to three big “bumps,” his probability of applying would be
                 unchanged. Keep in mind that the Kahlenberg Bumps would be known to families
                 long before it was time for their child to apply. (For instance, a family knows
                 whether its child is eligible for the free or reduced-price lunch program. A family
                 could easily determine whether its high school or zip code met the socioeconomic
                 criteria.)

                 It is contrary to the evidence to assume that if a student’s probability of admission is
                 greatly raised, he or she will be no more likely to apply. Evidence from Texas,
                 Florida, California, and other states that adopted revised admissions plans indicates
                 that students who were favored (in terms of admissions probabilities) by the new
                 plans were more likely to apply. Students who were disfavored by the new plans
                 were less likely to apply. 127




127   See Long Report, Section VI.C.



                                       Confidential – Subject to Protective Order                        56


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 60 of 103
135.     Given these points, it is likely that the set of students who apply to UNC would change if
UNC were to implement the socioeconomic status-based plans Mr. Kahlenberg described. If it
were to do so, the resulting admitted class would have different characteristics (including lower
test scores) than those shown in the Kahlenberg Report.

         B.      The “Kahlenberg Bumps” Are So Large and Apply to So Many Prospective
                 Applicants that They Would Generate a Student Body that Is Academically
                 Less Qualified

136.     As I discussed above, I do not disagree that a way to model a socioeconomic status-based
admissions plan is to give greater weight to socioeconomic factors. Where I disagree with the
KA simulations in this respect is how much weight they give to socioeconomic factors. Above, I
explain that based on the Kahlenberg Bumps, an applicant may receive an additional 5 to 15
index points that would increase the median applicant’s admissions probability by as much as 79
percentage points. But what does a 5 to 15 point increase in a student’s estimated admissions
index really mean? 128 To aid in understanding the impact of the Kahlenberg Bumps on the UNC
admissions process and how substantial they really are, I translate the preference that Mr.
Kahlenberg gives to these socioeconomic indicators. As I show below, the preference is
tremendous.
137.     A first indication that the bumps are very large is the degree to which they would change
UNC’s class, were they used in the alternative admissions process proposed by Mr. Kahlenberg.
In the previous section, I showed that the bumps would result in large changes in the
composition of UNC’s admitted class if one were to apply the KA simulation to the pool of
prospective North Carolina public school applicants.
138.     In this section, I show a second way to understand the size of the bumps: (1) I translate
them into points on the SAT, GPA points, or class rank percentile (all within Prof. Arcidiacono’s
models) and (2) I show that they would apply to a large number of North Carolina students. It is
the combination of the outsized magnitude of the Kahlenberg Bumps and the large number of
students eligible for them that makes the KA simulations artificial and extremely unreliable.


128 Interpreting the magnitude of the Kahlenberg Bumps is complicated by the fact that these are not 5 to 15 point increases in

some index that would determine a student’s actual probability of admission. Rather, they are only increases in the estimated
admission index generated by Prof. Arcidiacono’s admissions models, and his models capture the UNC admissions process only
very partially.



                                         Confidential – Subject to Protective Order                                          57


   Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 61 of 103
Even small changes in the applicant pool would invalidate all of the predictions from the KA
simulations.

                   1.        The Kahlenberg Bumps Are Equivalent to Extremely Large Changes
                             in SAT, GPA, or Class Rank


139.     I show just how large the Kahlenberg Bumps are in the context of Prof. Arcidiacono’s
models by comparing them to the Arcidiacono-estimated impact of other characteristics of a
student – namely, SAT, GPA, and class rank. If a student has one Kahlenberg Bump, it increases
his estimated probability of admission by increasing the Arcidiacono-estimated index by 5
points. How much would the student’s SAT scores have to rise to give him the same increase in
his estimated probability of admission, in the Arcidiacono model? What if a student has two or
three Kahlenberg Bumps? Exhibit 7 shows the translation of Kahlenberg Bumps into
improvements in SAT scores. In each row, the bump and the improvement in SAT scores
generate the same increase in a student’s admissions probability. Note that I am using Prof.
Arcidiacono’s own model throughout. 129
                                            Exhibit 7 130
                        SAT Score Increase Equivalent to Kahlenberg Bumps
                                     2014-15 Admissions Cycle
                                                                             Equivalent Increase in SAT Score
            Number of Kahlenberg Bumps [3]                                    (Combined Math and Verbal) [4]

1 bump (A, B, or C)                                                                            278
2 bumps (A + B, A + C, or B + C)                                                               556
3 (all) bumps (A + B + C)                                                                      834



140.     Even a single Kahlenberg Bump is worth a great many SAT points: 278. For instance,
this would change a student with a score of 1000, who would ordinarily not have much chance of
admission, into a student with a score of 1278, well into UNC’s normal admit range. A student


129 In Arcidiacono Model 4 for in-state applicants in the 2014-15 admissions cycle, the coefficient on standardized SAT math is
1.42 (rounded) and the coefficient on standardized SAT verbal is 1.53 (rounded). Therefore, an increase of 5 index points (one
bump), if it were to be achieved half through the SAT math score and half through the SAT verbal score, could be achieved by
increasing the standardized SAT math by 1.76 (rounded) and the standardized SAT verbal by 1.63 (rounded). Because the
standard deviation of Prof. Arcidiacono’s SAT math variable is 85.3 points and the standard deviation of Prof. Arcidiacono’s
SAT verbal variable is 78 points, the bump-equivalent increases in the standardized scores correspond to increases in raw SAT
scores of 150 SAT math points and 128 SAT verbal points. Combining these gives 278 total SAT points corresponding to one
bump. The SAT score equivalents of two or three bumps are calculated analogously.
130 See, Exhibit 7 for sources and notes.




                                         Confidential – Subject to Protective Order                                           58


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 62 of 103
who received three Kahlenberg Bumps could have a score of 600 (just the 2nd percentile—almost
the bottom—of the SAT distribution and well below the score of any UNC admit observed in the
data) and be treated in admission like a student with a score of 1434 (quite high up in UNC’s
normal admit range). The Kahlenberg Bumps are, simply put, extremely large in magnitude.
141.     Translating the Kahlenberg Bump into GPA points (where A=4, B=3, etc.) shows even
more dramatic results. In fact, the Kahlenberg Bumps are so large that they are equivalent to
impossibly large increases in GPA. For example, just one Kahlenberg Bump is equivalent to
4.41 GPA points, which is essentially impossible to achieve (GPA points usually range from 1 to
5).
142.     Similarly, the Kahlenberg Bump is equivalent to an improbably large increase in class
rank on a percentile scale (where the highest-ranked student is at the 99th percentile and the
lowest-ranked student is at the 1st percentile). Just one Kahlenberg Bump results in a larger
increase in the probability of admission than a change in class rank percentile from the 20th
percentile to the 91st percentile.
143.     If UNC were to follow Mr. Kahlenberg’s proposal and admit students using the
Kahlenberg Bumps or other bumps giving similar weight to socioeconomic status, UNC’s
admissions would fundamentally change. In particular, the outsized weight given to
socioeconomic bumps would effectively convert much of the university’s admissions process
from a holistic process into a formula based on Kahlenberg Bumps (or similar bumps), for many
applicants. That formula would effectively preclude UNC from considering many of the factors
that it currently considers on a holistic basis as part of determining which applicants would be a
good fit for UNC. That is, the Kahlenberg Bumps would essentially imply that UNC would need
to admit students who are not well-qualified on other dimensions.

                2.      The Kahlenberg Bumps Would Apply to a Large Number of North
                        Carolina High School Students


144.     The Kahlenberg Bumps are not only extremely large (for each student who receives one
or more of them), they also apply to numerous students. Exhibit 8 shows how many students in
the NCERDC data would be eligible for Kahlenberg Bumps.




                                 Confidential – Subject to Protective Order                      59


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 63 of 103
                                    Exhibit 8 131
         Number of URM and Non-URM North Carolina Public School Students
                         Eligible for Kahlenberg Bumps
                            2014-15 Admissions Cycle
  Number of Kahlenberg Bumps for
    Which Student is Eligible [2]               Number of URM Students [3]               Number of Non-URM Students [3]

0 bumps                                                        3,937                                    21,030
1 bump or more
(A, B, C or combination)                                     35,247                                     35,979
2 bumps or more
(A + B, A + C, B + C, or A + B + C)                          21,327                                     18,349


145.     The table shows that tens of thousands of North Carolina public school students would
receive one or more Kahlenberg Bumps, were they to apply to UNC. 35,247 URM students
would be eligible for one or more Kahlenberg Bumps, were they to apply. 35,979 non-URM
students would be eligible for one or more Kahlenberg Bumps.
146.     Now, most of these 71,226 Bump-eligible students are not at all well-qualified for
admission at UNC. If we classify them using Prof. Arcidiacono’s and Mr. Kahlenberg’s own
methodology for Simulation 3, they would have low probabilities of admission. But, with the
Kahlenberg Bumps, their admissions probabilities increase greatly. For instance, of the students
in the NCERDC population eligible for Kahlenberg Bumps A or B in KA Simulation 3, 31
percent would have had less than 5 percent admissions probability according to Prof.
Arcidiacono’s Model 2, but with the Kahlenberg Bumps would have over 50 percent probability
of admission. It is not plausible that if UNC’s admissions process were to raise so many
students’ admissions probability from under 5 percent to over 50 percent, its pool of applicants
would remain unchanged. 132

                   3.        The Kahlenberg Bump Is Not Justified by the Comparison to “Legacy
                             Preferences”


147.     It is worthwhile addressing Mr. Kahlenberg’s claim that one of his bumps is equivalent to
the increase in admissions probability that Prof. Arcidiacono estimates for children of out-of-


131See, Exhibit 8 for sources and notes.
132The 5 percent admissions probability is calculated according to KA Simulation 1, where Arcidiacono Model 2 has been
applied to the NCERDC population, as set out in Exhibit 6. Note that all of these estimated admissions probabilities are based on
the Arcidiacono Models, which I do not consider to be reliable.




                                         Confidential – Subject to Protective Order                                           60


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 64 of 103
state alumni. 133 (Keep in mind, however, that under the reasoning of the KA simulations, a
student can receive three bumps whereas no student could possibly be the child of an out-of-state
alum three times over.) This claim by Mr. Kahlenberg may seem reasonable at first glance, but it
is really an artifact of Prof. Arcidiacono’s model being overfit and seizing on a strong
interpretation of an estimated coefficient that applies to very few students. 134 To see this,
consider that one Kahlenberg Bump is approximately ten times the increase in admissions index
value that Arcidiacono Models 2 and 4 estimate for children of in-state alumni. 135 In addition,
the number of out-of-state applicants who are children of alumni is only two-fifths the number of
in-state applicants who are children of alumni. In fact, seizing on the estimated coefficient for
out-of-state alumni children is hardly different than seizing on some other small group of
students—students who could be soloists in the orchestra, say—estimating a coefficient for them
in an overfitted model and then using that estimate as a “yardstick” for the effect of any other
student characteristic. The orchestra-based estimate would apply to so few students that it would
be a prime candidate for overfitting and over-interpretation (as with any other highly selected,
small subset of students whose admissions decision might turn on a peculiar factor). Thus, when
used as a “yardstick” for a bump applied to many students, the orchestra-based estimate might
produce outsized effects that would not make sense as part of a holistic admissions process. Mr.
Kahlenberg may be using out-of-state alumni rather than the orchestral instrumentalists, but the
principle is the same. For judging magnitudes, the yardstick needs to be a student characteristic
that is reasonably common among applicants—test scores, grades, class rank, etc.
148.      To summarize, Mr. Kahlenberg’s preferences for certain socioeconomic variables
(Kahlenberg Bumps) are arbitrarily large. The KA simulation predictions, being based only on
past UNC applicants are not, in any case, reliable. If implemented in an admissions process with
most prospective applicants, the Kahlenberg Bumps:




133 Kahlenberg Report, p. 68.
134 In Prof. Arcidiacono’s models, each applicant characteristic in the model has an associated coefficient that Prof. Arcidiacono
estimates, which is meant to capture the extent to which that characteristic is associated with UNC admission, conditional on the
other applicant characteristics included in the model. In this section, I discuss the estimated coefficients from the Arcidiacono
Models, but I do not agree that they accurately capture how UNC admissions decisions would change if one were to change one
of the characteristics in his models.
135 The estimate of alumni preference for in-state applicants described here is based on Arcidiacono’s Models 2 and 4, which I do

not consider to accurately or reliably capture UNC’s admissions process.



                                         Confidential – Subject to Protective Order                                            61


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 65 of 103
      •   would fundamentally change the nature of UNC’s admissions to make it a process that
          was much less holistic; and
      •   would greatly reduce the academic preparedness of the class.

          C.     Mr. Kahlenberg’s Version of a “Percentage Plan” Is Unworkable and Does
                 Not Correspond to Top X Percent Plans that Are Implemented, Not Even in
                 Spirit

149.      Now that I have addressed why the KA socioeconomic status-based simulations are
unreliable and do not show that UNC has a workable socioeconomic status-based alternative
available, I turn to the other specific alternative proposed by Mr. Kahlenberg. In his Simulation
5, Mr. Kahlenberg suggests that UNC employ a plan that selects “the top 4.5% of students in
every North Carolina high school who rank highest using UNC’s current holistic model.” 136 I
call this the “Kahlenberg Top” plan. Mr. Kahlenberg’s proposed version of a “Percentage Plan”
does not correspond, even in spirit, to the approach used by all other Top X Percent plans
adopted in U.S. states. 137
150.      As I describe in this section, it is unlikely that the necessary conditions for implementing
Mr. Kahlenberg’s unusual plan could be achieved. In my opening report, I also analyzed Top X
Percent plans, but my analysis was based on a more realistic and straightforward implementation
of the Top X Percent plans, as they have been implemented in other states. 138 The fact that Mr.
Kahlenberg gets substantially different results from those in my opening report is due to the
peculiar way in which his hypothetical Top X Percent plan would work, which is unlike any
other percentage plan that I am aware has ever been adopted or studied.
151.      Specifically, the “Kahlenberg Top” plan works as follows:

               Mr. Kahlenberg assumes that, somehow, the applicants who are induced to apply
               under the “Kahlenberg Top” plan are just like those (in terms of their qualifications,
               high schools, etc.) who currently apply under UNC’s current admission policy. It is
               crucial to the Kahlenberg Top plan that no applicants newly made eligible by their
               class rank apply.



136 Kahlenberg Report, p. 76.
137 See, Long Report, Section VI.B and references therein.
138 Hoxby Report, Section VI.




                                         Confidential – Subject to Protective Order                     62


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 66 of 103
                 UNC “ranks” applicants using Arcidiacono Model 4. 139 I note that this is not how
                 UNC actually conducts its admissions process.

                 UNC reserves a number of seats per North Carolina high school that is equal to 4.5
                 percent of that high school’s graduating class.

                 UNC takes each high school’s applicants in order of their Model 4 prediction and
                 admits them in that order until it hits the reserved number of seats for that high
                 school. If there are extra seats, they go unfilled. If there are more applicants than
                 seats, then those with lower Model 4 predictions are rejected.

152.        To understand how unrealistic the Kahlenberg Top plan is, it is worthwhile comparing it
with a Top X Percent plan that has actually been implemented. To make the comparison clear, I
will focus on two hypothetical types of high schools and show how their students fare under an
actual Top X Percent plan and under the Kahlenberg Top plan.
153.        School A is a high school with high academic standards where a student who is a very
well qualified UNC applicant based on his test scores, extracurriculars, and other characteristics
may nevertheless have a class rank outside the top several percentiles—simply because he is
competing for that rank with so many other well qualified students. (A selective magnet school
would be an obvious example of an A-type school but so would numerous other schools that
serve families who seek a challenging academic environment for their children.)
154.        School B is a high school with low academic standards in general so that a student from
there who is a reasonably likely candidate for UNC admission under the current system has
anomalously high test scores or other qualifications for someone from his high school. That is,
the students who currently apply to UNC from B-type schools tend to be students who stand out
from their classmates on the basis of test scores, extracurricular activities, or some other
qualification. Of course, these stand-out students from B-type schools are likely to be very
highly ranked in their class as well, but that is not what makes them solid admissions candidates
under the current system. They have classmates whose class ranking is also high but who—
because of the school’s lower academic standards overall—have test scores or other




139   In Kahlenberg’s Top plan, he includes an athlete “preference.” Kahlenberg Report, p.77.



                                           Confidential – Subject to Protective Order                    63


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 67 of 103
qualifications that would make them unlikely to be admitted to UNC under its current admissions
approach.
155.      There are of course high schools that fall between the A-type and B-type schools, but one
can think through a Top X Percent plan with just the A-type and B-type schools.
156.      Now suppose that UNC implemented a standard Top 4.5 Percent plan where all students
ranked in the top 4.5 percent of their class would automatically qualify for UNC admission.
What would occur? Students from the A-type schools who were in the top 4.5 percent would
continue to apply. Many of them would have been in the applicant pool in any case (i.e. under
the old system) since a top ranked student from an A-type school would typically have high test
scores and other strong qualifications. 140
157.      Under the standard Top 4.5 Percent plan, the students from the B-type school who have
applied under the old system would still apply because, recall, in order to be likely admits under
the old system they had to have standout qualifications among their classmates (so that they were
nearly guaranteed to be top ranked). However, a new group of students from B-type schools
would apply under the Top 4.5 Percent plan who would not have applied under the old system,
and attracting these students is the whole point of a Top X percent plan. These new students
would be those who ranked in the top 4.5 percent of their class (and were eligible for automatic
admission) but whose test scores or other qualifications would have made them very unlikely
admits under the old UNC system.
158.      Thus, what happens under a standard Top X Percent system? Fewer students from A-
type schools are admitted, but they tend still to be well-qualified (but quite possibly worse on
holistic grounds). 141 The standout students from B-type schools who were admitted under the old
system are still admitted. But a new type of student from B-type schools is admitted and these
students have lower test scores and qualifications (other than class rank).
159.      In terms of student demographics, a standard Top X Percent system has to be evaluated
on a case-specific basis. For instance, if the top-scoring African American students in a state
tend to be enrolled in A-type schools but have class rank outside the top few percentiles, then the



140 Students from the A-type schools who were outside the top 4.5 percent may not apply to UNC but would instead apply to
other selective colleges.
141 Strictly speaking, the fewer students from A-type schools will be worse on holistic grounds than if the University were to

admit the same number of students from A-type schools through a holistic process.



                                         Confidential – Subject to Protective Order                                              64


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 68 of 103
plan will tend to reduce African American representation from the A-type schools but some of
this loss will typically be counteracted by gains in African American representation from B-type
schools (although potentially with a substantial decrease in African American students’ average
test scores and other academic qualifications). I evaluated standard Top X Percent plans for
North Carolina in my opening report. The aforementioned trade-offs appear in my analysis in
that report. 142
160.        Now consider the Kahlenberg Top plan. What would occur if it were implemented?
Under the Kahlenberg Top plan, Mr. Kahlenberg assumes that the same students from A-type
schools apply. From each A-type school, the University initially admits some top percentage of
its class (think of 3 percent, initially) where students are ranked on Model 4 predictions. Since,
relative to UNC’s true holistic process, Model 4 overweights test scores, grades, and other
readily observed academic qualifications, the students from A-type schools admitted at this point
will have higher test scores and grades than the students UNC would have admitted from A-type
schools under its current admissions system.
161.        Turning now to the B-type schools, Mr. Kahlenberg crucially assumes that the only
students who apply are the students who would have applied under the old system as well—these
tend to be the standout students. In other words, Mr. Kahlenberg inexplicably does not account
for the change in the applicant pool from B-type schools that would be certain to occur if UNC
(hypothetically) adopted the Kahlenberg Top plan. Since the standout students necessarily make
up a smaller share of their B-type high school classes than do students with the same test scores
and grades from A-type schools, the University is likely to run out of applicants from B-type
schools and be left with empty seats from B-type schools even at some initial X percentage like 3
percent. Moreover, for any value of X, the University will always run out of applicants from B-
type schools first.
162.        So, having taken X (perhaps 3) percent of students from each high school, still holding
seats because there are left-overs from the B-type schools, then the University will make its
percentage take more generous—for example, taking up to 4.5 percent from each school rather
than 3 percent. But, the University will have already run out of applicants from B-type schools



142   See, Hoxby Report, Section VI.



                                       Confidential – Subject to Protective Order                     65


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 69 of 103
so these schools are irrelevant to the remainder of the process. Under Kahlenberg’s simulations,
the University will keep admitting students from A-type schools until it fills the class.
163.     Thus, because Arcidiacono’s Model 4 overweights test scores and grades and other
observable qualifications relative to the UNC holistic process, the Kahlenberg Top model can
produce a hypothetical student body with test scores and grades that are as high or higher than
the status quo so long as the Kahlenberg Top model is applied only to the previous UNC
applicant pool. 143 It is only by excluding the possibility of any new applicants from B-type high
schools that the Kahlenberg Top model achieves this result.
164.     This point is worth emphasizing. In numerous instances, I critique Prof. Arcidiacono and
Mr. Kahlenberg for limiting their analysis to the pool of past UNC applicants rather than
potential applicants. My criticism of the Kahlenberg Top plan, however, is broader than this
concern. To achieve “successful” results (according to Mr. Kahlenberg), the Kahlenberg Top
plan would require that new students from B-type high schools do not apply. UNC cannot
control who does or does not apply. It also defies common sense to suggest that UNC would
somehow not announce that it was implementing an entirely new race-blind admissions program
and that the applicant pool would not change as a result.
165.     Indeed, as the available research shows, the Top X Percent plans that have actually been
implemented, like that of Texas, actually do attract new students from B-type high schools. 144
So, if North Carolina were to take the Kahlenberg Top plan, as proposed, and try to implement it,
the available research indicates that it would not get the results described by Mr. Kahlenberg.
Thus, Mr. Kahlenberg’s assumption of no new applicants from B-type high schools defies both
common sense and the experience of schools that have implemented race-blind admissions.
166.     In my opinion, the conditions for implementing the Kahlenberg Top plan would be
impractical and contrary to the spirit of a standard college admissions plan. Since the predictions
shown in the Kahlenberg Report for the Kahlenberg Top plan depend on there being no new
applicants, it is my opinion that those predictions are unrealistic and unreliable.


143 When applied to the previous UNC applicant pool, the Kahlenberg Top model may also admits some applicants from B-type

schools who were not likely to be admitted under UNC’s actual holistic admissions process but who did actually apply and are in
the previous UNC applicant pool (these students are admitted under the Kahlenberg Top plan because it sets aside more seats for
the B-type schools than there were actual applicants, so these applicants are admitted regardless of their qualifications). This
aspect of the plan will tend to reduce the average test scores in the Kahlenberg Top plan’s admitted class relative to the status
quo.
144 See, Long Report, Section VI.C.




                                         Confidential – Subject to Protective Order                                            66


   Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 70 of 103
167.     Further, it is my opinion that the evaluations of standard Top X Percent plans that are
shown in my affirmative report do generate reliable predictions of how such plans would affect
UNC. Not only do I evaluate Top X Percent plans that resemble other actual plans, I also
employ a range of reasonable assumptions about the share of newly-admissions-eligible students
who would apply were a Top X Percent plan put in place. 145
168.     Although I do not think that the predictions for the Kahlenberg Top plan discussed in the
Kahlenberg Report (pp. 76–79) are reliable, I do note the following additional problems with
those predictions.

              The average characteristics, including test scores and GPA, of the admitted students
              in the KA simulation of Mr. Kahlenberg’s Top 4.5 Percent Plan (reported on page 78
              of the Kahlenberg Report) are calculated incorrectly. As I described above, his
              procedure would assign a particular number of admission slots to each school and in
              his simulation, he “fills” these slots with actual past UNC applicants. That is, in this
              simulation, applicants are either admitted or they are not. However, in the KA
              simulation, average SAT and GPA are weighted such that applicants with a higher
              probability of admission under Arcidiacono Model 4 receive a larger weight in the
              average. There is no justification for this and it means that the average statistics
              reported for his Simulation 5 are incorrect. Exhibit 9 shows the results of KA
              Simulation 5 when the average SAT is calculated correctly: the average SAT of
              admitted applicants would be 1246, rather than the 1320 he reported. Mr. Kahlenberg
              incorrectly overstated the average SAT of the admitted class by 74 points. 146




145Hoxby Report, ¶ 227.
146Note that these numbers are based on KA Simulation 5, which in turn is based on the Arcidiacono Models. Exhibit 9 reports
numbers based on these models for comparison with the Kahlenberg Report, but should not be taken to mean that I endorse this
simulation methodology or the Arcidiacono admissions model.



                                        Confidential – Subject to Protective Order                                         67


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 71 of 103
                                                 Exhibit 9 147
                                KA Simulation 5: Top 4.5 Percent Model, with
                                  Average SAT Score Calculated Correctly
                                         2014-15 Admissions Cycle
                                                                                                         Kahlenberg Report Results, but
                                                                                                         Without Adm. Prob. Weighting on
                      Status Quo: Actual UNC Admitted Class [3]       Kahlenberg Report Results [4]               Test Scores [5]
  Race/Ethnicity         Total Admits        Avg. SAT Score        Total Admits         Avg. SAT Score           Avg. SAT Score
African American             383 (9%)              1195              491 (13%)              1216                      1098
Asian                       488 (11%)              1354              423 (11%)              1359                      1294
Hispanic                     241 (5%)              1238               237 (6%)              1272                      1189
Native American               74 (2%)              1261                49 (1%)              1298                      1214
Pacific Islander               7 (0%)              1284                 5 (0%)              1270                      1239
White                     3,064 (69%)              1320            2,419 (65%)              1323                      1271
Missing                      170 (4%)              1358               117 (3%)              1352                      1310

Total                    4,427 (100%)              1309           3,741 (100%)              1320                      1246



                   Mr. Kahlenberg’s presentation of the predictions (Simulation 5 on page 78) is
                   misleading. While he says that he simulates a “top 4.5% model” using UNC’s past
                   applicants, this cutoff is in fact too low to create an in-state admitted class that is
                   comparable in size to the in-state “Status Quo” admitted class. It is misleading to
                   compare a “Status Quo” class of 4,427 students with an alternative class of 3,741
                   students and declare that “Simulation 5 is superior to the status quo in virtually every
                   respect.” 148

                   In forming his predictions (Simulation 5), Mr. Kahlenberg uses the incorrect variable
                   to identify high schools. Specifically, he identifies high schools using the NCERDC
                   variable known as “SCHLCODE.” 149 This variable is not, in fact, a code for a unique
                   high school. Instead, in order to identify a high school, the variable SCHLCODE
                   must be combined with the appropriate district (LEA) code. 150 The effect of this error
                   is that Mr. Kahlenberg identifies too few students as attending high schools with
                   small class sizes. This biases his estimates of the effects of his Simulation 5.

                   Mr. Kahlenberg has not explained how his “Percentage Plan” could be applied to high
                   schools with small classes or to home-schooled students. Many private schools in



147 See Exhibit 9 for sources and notes.
148 Kahlenberg Report, p. 78. Although Mr. Kahlenberg claims that he is following the approach of UNC in selecting the “top
4.5%” because “UNC determined in its own simulations that a ‘top 4.5%’ model would yield a class similar in size to the current
student body” (Kahlenberg Report, p. 76), Mr. Kahlenberg does not acknowledge that this choice results in the KA Simulations
comparing admitted classes of different sizes.
149 He ranks students within SCHLCODEs using Arcidiacono Model 4 (which includes UNC’s ratings variable).
150 My opening report correctly identifies high schools using the College Board ATP code.




                                              Confidential – Subject to Protective Order                                             68


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 72 of 103
              North Carolina have too few students for any plan based on a “Top” percentage of
              students from that high school. For example, as it is implemented in the KA
              Simulations, the Kahlenberg Top plan would never admit any student from a high
              school graduating class of less than 23 students.

              Mr. Kahlenberg further speculates that “a version of the percentage plan could also be
              applied to out-of-state applicants by admitting top students from a variety of
              geographic locations, such as zip codes or College Board clusters.” 151 He does not
              analyze or test this claim in any way. There are in excess of 42,000 5-digit ZIP codes
              in the United States and millions of ZIP+4 codes, 152 so what a “workable” out-of-state
              percentage plan might look like needs to be explained (and not just asserted) with
              much greater specificity. The College Board collapses geographic neighborhoods
              into 33 neighborhood clusters for the purposes of helping educational institutions
              better target recruitment. 153 Similarly, Mr. Kahlenberg has not specified how these
              cluster groupings might be used for an “out-of-state Top Percent plan.”

         D.     Numerous Suggestions Made by Mr. Kahlenberg Regarding Alternative
                Admissions Plans are Unfounded, Unworkable, or Based Purely on Hopes

169.     Numerous suggestions made by Mr. Kahlenberg regarding alternative admissions plans
are unfounded or unworkable. In multiple cases, he suggests plans that he hopes might work
without assessing the practicalities involved or the evidentiary basis for his hopes.
170.     For instance, Mr. Kahlenberg suggests that one component of a race-blind alternative
admissions policy could be the elimination of “legacy” (children of alumni) preferences favoring
non-minorities. 154 In addition, he suggests that socioeconomic admissions plan modeling might
be improved through the use of applicant family wealth data. 155 Furthermore, he contends that




151 Kahlenberg Report, fn. 291.
152 “Frequently Asked Questions,” USPS, available at faq.usps.com; Hoxby Report, ¶ 264.
153 As of a 2011 College Board revision, there were 33 “educational neighborhood” clusters. See “Segment Analysis Service,”

College Board Search, pp. 2–3, available at http://media.collegeboard.com/mSSS/media/pdf/segment-analysis-service-
overview.pdf
154 Kahlenberg Report, pp. 54–57.
155 Kahlenberg Report, pp. 22–25.




                                        Confidential – Subject to Protective Order                                            69


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 73 of 103
the reduction in URM students that would follow on from a switch to a race-blind alternative
admissions process might be offset by improved recruiting. 156

                 1.     Eliminating Alumni Preferences Is Not a Standalone Workable Race-
                        Blind Alternative


171.     I now consider what the size of the alumni preference applicants at UNC receive is, and
what the likely effect of eliminating those preferences would be. For this exercise, I take Prof.
Arcidiacono’s model as given, even though I do not accept that it is an accurate or reliable
reflection of UNC’s admissions process. However, even under Prof. Arcidiacono’s model, the
impact of alumni preferences is too small for the elimination of such preferences to serve as a
workable race-blind alternative on its own. Despite Mr. Kahlenberg’s contention that size of the
alumni preference is large (and, particularly so for out-of-state applicants) 157 the number of such
students whose admissions decisions are impacted, even under Prof. Arcidiacono’s model, which
I do not accept, is comparatively low.
172.     Even if one accepts Arcidiacono Model 4, which I do not, then the total number of
students potentially affected by alumni preferences is too small to make a substantial difference
in the ability of UNC to implement a workable race-blind alternative admissions plan: under
Prof. Arcidiacono’s Model 4, only 228 applicants in the average admissions cycle that Prof.
Arcidiacono analyzes have their admissions decision affected by alumni preferences out of an
average applicant pool of 27,285.

                 2.     Mr. Kahlenberg’s Claim that His Socioeconomic Plan Would Do Even
                        Better if He Had Better Data (Such as Data on Wealth) Is Unfounded and
                        Misleading


173.     Mr. Kahlenberg claims that UNC could implement a socioeconomic admissions plan that
includes measures of families’ wealth and that such a plan would be especially effective at
maintaining the university’s racial diversity. 158 This claim is unfounded for two related reasons.




156 Kahlenberg Report, pp. 57–60.
157 Kahlenberg Report, p. 55.
158 Kahlenberg Report, p. 31, fn. 264, pp.74–75.




                                         Confidential – Subject to Protective Order                 70


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 74 of 103
                i. Wealth data that would allow universities to implement admissions plans based
                      on wealth do not exist.
                ii. In part because wealth data do not exist but for other reasons as well, the
                      evidence upon which Mr. Kahlenberg’s claim is based is extremely slight and
                      problematic. Recent evidence indicates that wealth data would not improve the
                      information available to an admissions office that already had students’
                      achievement and the sort of socioeconomic data already incorporated in Mr.
                      Kahlenberg’s proposal (or the wider array of socioeconomic factors that I use in
                      the plans I examine in my opening report).
174.      Mr. Kahlenberg suggests that UNC could use data on students’ wealth in a
socioeconomic admissions plan. 159 He does not indicate how UNC could obtain such data.
Indeed, his remarks suggest that he may be unaware that accurate wealth data are not only not
possessed by the university but would be extremely difficult if not impossible to obtain. 160
175.      In fact, wealth data are not available for U.S. families, in part because answering wealth
questions is inherently difficult. For instance, in order to compute wealth, families must be
asked about the value of their (i) assets at financial institutions, (ii) other interest earning assets,
(iii) stocks and mutual fund shares, (iv) equity in their businesses or profession, (v) equity in
their own homes, (vi) equity in their motor vehicles, (vii) rental property equity, (viii) other real
estate equity, (ix) retirement accounts, (x) education savings accounts, (xi) annuities and trusts,
(xii) life insurance (its cash value), and (xii) other assets. 161 These are challenging questions to
answer and, therefore, not asked in most surveys such as the Census or the American
Community Survey. 162 When questions like this are asked, as they are in the Survey of Income
and Program Participation, a substantial share of people (20 to 60 percent) prefer not to respond



159 “We did not have access to the family net worth/wealth of either in-state or out-of-state applicants, a factor that is more highly
correlated with race than is parental education and income. As a result, the simulations likely form a lower bound estimate of the
racial dividends of these strategies. Better data could produce higher levels of racial diversity.” At p. 73 he claims “any modest
decline in black representation could be addressed if UNC were to employ a wealth variable…” Kahlenberg Report, fn. 264.
160 Mr. Kahlenberg suggests that UNC has wealth data (which it does not have) that it could have provided to him: “I did not

have some of the data I would have liked to review from UNC, including precise data about student…wealth.” Kahlenberg
Report, pp. 3–4.
161 See, “Survey of Income and Program Participation, Core Questionnaire, Assets,” US Census Bureau, available at

https://www.census.gov/programs-surveys/sipp/tech-documentation/questionnaires.html
162 See, “Questions on the Form and Why We Ask,” US Census Bureau, available at

https://www.census.gov/acs/www/about/why-we-ask-each-question/




                                          Confidential – Subject to Protective Order                                               71


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 75 of 103
and others give answers that are approximate at best. 163 The Internal Revenue Service does not
have data on families' wealth (except for the small share of very affluent families who pay the
estate tax at a family member's death). 164 While families who file the Free Application for
Federal Student Aid (FAFSA) are asked a few wealth-related questions (the value of their
checking and savings accounts, for instance), they are not asked to report on the value of the
home in which they live, their businesses or farms (unless they employ more than 100 full-time
workers), their retirement accounts, their life insurance, or their motor vehicles. 165 Yet, the
aforementioned categories (homes, businesses, etc.) are the main sources of wealth for all but the
richest Americans. And, of course, very rich families do not file for federal financial aid.
176.      In short, UNC not only does not have wealth data at present, it would be very difficult if
not impossible for UNC to obtain it. Thus, Mr. Kahlenberg’s suggestions regarding wealth-
based admissions plans would appear to be not well-considered.
177.      The fact that wealth data are scarce and problematic is one reason why there is almost no
reliable evidence that wealth differences explain differences in college-going between URM and
non-URM students. The other reason is that it is extremely hard for researchers to show that
there is an effect of wealth itself, as opposed to the effects of family characteristics that are
correlated with wealth: income, achievement, and so on. For instance, recent research suggests
that while wealthier students are more likely to attend college, the correlation between wealth
and college-going is eliminated once other factors (such as achievement) are taken into
account. 166




163 See, Czajka, J., J. Jacobson, and S. Cody, “Survey Estimates of Wealth: A Comparative Analysis and Review of the Survey of
Income and Program Participation,” Social Security Bulletin 65, no. 1. (2003/2004): 63–69; Eggleston, J., and M. Klee,
“Reassessing wealth data quality in the Survey of Income and Program Participation,” SEHSD Working Paper, (2016) 1–48 at p.
12.
164 Johnson, B. and K. Moore, “Consider the Source: Differences in Estimates of Income and Wealth From Survey and Tax

Data,” Special Studies in Federal Tax Statistics (2005): 77–99 at pp. 3, 6, 19. Note that the Survey of Consumer Finances is
anonymized: “The confidentiality of the information provided in the study is of the highest importance to NORC and the Federal
Reserve,” Federal Reserve, available at https://www.federalreserve.gov/econres/aboutscf.htm.
165 “Business value does not include the value of a small business if your family owns and controls more than 50% of the

business and the business has 100 or fewer full-time or full-time equivalent employees. For small business value, your family
includes (1) persons directly related to you such as a parent, sister, or cousin or (2) persons who are or were related to you by
marriage such as a spouse, stepparent, or sister-in-law,” (See, “What is the net worth of your current business and / or investment
farms?” FASFA, available at https://fafsa.ed.gov/fotw1819/help/fotw35c.htm); See also, “Privacy and Security Information,”
FASFA, available at https://fafsa.ed.gov/privacynotice.htm.
166 See, Su Jin Jez, "The Influence of Wealth and Race in Four-Year College Attendance," University of California at Berkeley,

Center for Studies in Higher Education, (2008).




                                         Confidential – Subject to Protective Order                                             72


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 76 of 103
178.     Summing up, Mr. Kahlenberg’s assertions regarding the use of wealth in an admissions
plan would appear to be not just impractical but also founded on evidence that is, at best, weak.

                 3.     Enhanced Recruiting Is Not Able to Fully Substitute for Losses Due to a
                        Race-Blind Alternative


179.     Mr. Kahlenberg makes a number of claims that suggest that UNC does a poor job in
recruiting economically disadvantaged applicants, and suggests that through improved
recruitment efforts, UNC would be able to offset the loss to diversity resulting from the switch to
a race-blind admissions process. 167 In addition, Mr. Kahlenberg argues that UNC does not do
well at matriculating disadvantaged students (though previously he has not considered the impact
of his simulations on the matriculating class at all). 168
180.     Regardless, it is not clear how Mr. Kahlenberg reaches these conclusions. I have already
demonstrated in my opening report (citing my own research on this question) that the vast
majority (86 percent) of low-income, high-achieving students who do not apply to selective
universities like UNC (what I call the missing “one-offs”) are non-URMs. 169 Thus, contrary to
Mr. Kahlenberg’s claims, an increase in UNC’s recruiting and information campaigns directed
toward low-income students who are “one-offs” could not reasonably be expected to substitute
for race-conscious admissions. 170




167 Kahlenberg Report, p. 57: “More generally, UNC officials argued that recruitment was the key to putting UNC on ‘solid
footing for our diversity efforts’ in the event the use of race were banned in admissions.” Kahlenberg Report p. 58: “[T]he
bottom line results suggest UNC does a poor job of recruiting economically disadvantaged applicants, many of whom are
underrepresented minorities. For example, UNC does an especially poor job of recruiting into its applicant pool students whose
parents do not have a college degree...”.
168 “Once students are accepted, UNC does a poor job of targeting disadvantaged students to come to campus. In 2013, for

example, about one in five students (1817 of 8243) were invited to the special Excel program to encourage acceptance. Of those
students deemed highly desirable by UNC, just 17.2% were first generation college students and just 19.5% were
underrepresented minorities.” Kahlenberg Report at p. 59
169 Hoxby Report, ¶ 285.
170 Hoxby Report, ¶ 286.




                                        Confidential – Subject to Protective Order                                           73


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 77 of 103
         E.     Mr. Kahlenberg Does Not Attempt to Evaluate Alternative Admissions Plans
                Solely on the Basis of Whether They Would Allow UNC to Maintain Racial
                Diversity. Instead, His Evaluation of Each Plan is Based Partly on Whether It
                Increases UNC’s Socioeconomic Diversity.

181.     Mr. Kahlenberg’s report and opinions are colored by his clear preference for and desire to
increase socioeconomic diversity. I understand the question at issue to be whether there is a
workable alternative that would allow UNC to maintain racial diversity while also maintaining
its academic standards. However, each time he evaluates a plan, Mr. Kahlenberg appears to
value its attainment of socioeconomic diversity as much or more as its attainment of racial
diversity: Mr. Kahlenberg says in his report that “the critical measure is the net impact on
socioeconomic and racial diversity taken together.” 171
182.     Moreover, recall the logic that my opening report established. It does not argue that
socioeconomic proxies could not be used in admissions to increase socioeconomic diversity.
Presumably, they could be so used. This point is noted multiple times in my opening report. 172
Rather, the logic of my opening report is that there is a trade-off to be faced by a university that
substitutes socioeconomic proxies for race in an attempt to make its admissions process race-
blind. By substituting race with socioeconomic proxies, the university always suffers costs along
other dimensions that it cares about in admissions. The university cannot get back to the racial
diversity it had previously, without suffering these costs, because the correlation between
socioeconomic variables and race is far from perfect. 173


VI.      Conclusion


183.     In my opening report, I conducted analyses of both UNC admissions data and data on all
North Carolina public high school students and found, among other things, that (1) race is not a
dominant factor in UNC admissions and (2) there is no workable race-blind alternative that
would allow UNC to maintain its racial diversity while also maintaining its current academic
standards. For the reasons detailed in this report, none of the analysis or opinions presented in



171 Kahlenberg Report, p. 73.
172 See, e.g., Hoxby Report, ¶ 134.
173 See, Hoxby Report, Sections IV.B, V.A.




                                        Confidential – Subject to Protective Order                  74


      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 78 of 103
the Arcidiacono Report or Kahlenberg Report changes any of the opinions I presented in my
opening report.
184.   I reserve the right to amend or supplement my report and opinions in light of any
additional information produced in the discovery process.




Dated: April 6, 2018


                                                        __________________________________
                                                                      Caroline M. Hoxby




                              Confidential – Subject to Protective Order                    75


  Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 79 of 103
                            Exhibits




Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 80 of 103
                                                                                                                 EXHIBIT 1 TABLE 1

     Share of Admissions Decision Due to Race/Ethnicity in Arcidiacono
                               Models 2–7 [1]
                  2011-12 to 2016-17 Admissions Cycles [2]
                                             (A)                           (B)                                 (C)                 (D)= (C) x (A)
                                                                   Share of R2 Due to                                           Share of Admissions
                                                                  Variables Other Than                  Share of R2 Due to        Decision Due to
                                                   2
           Model                      Pseudo R [3]                   Race/Ethnicity                      Race/Ethnicity           Race/Ethnicity
Model 2
 In-State                                  0.565                            96.4%                              3.6%                        2.0%
 Out-of-State                              0.416                            86.6%                             13.4%                        5.6%
Model 3
 In-State                                  0.715                            96.4%                              3.6%                        2.6%
 Out-of-State                              0.584                            88.8%                             11.2%                        6.5%
Model 4
 In-State                                  0.716                            96.2%                              3.8%                        2.7%
 Out-of-State                              0.586                            88.5%                             11.5%                        6.7%

Model 5
 In-State                                  0.712                            96.3%                              3.7%                        2.6%
 Out-of-State                              0.582                            88.6%                             11.4%                        6.6%
Model 6
 In-State                                  0.750                            96.7%                              3.3%                        2.5%
 Out-of-State                              0.644                            90.4%                              9.6%                        6.2%
Model 7 [4]
 In-State                                  0.768                            96.6%                              3.4%                        2.6%

Source: Connect Carolina; Expert Report and Production of Peter S. Arcidiacono, January 17, 2018
Note:
[1] A Shapley decomposition is performed for each of the Arcidiacono Models, which are run separately on in-state and out-of-state applicants. Note that
this Exhibit is based on Arcidiacono Models 2–7, which do not accurately reflect UNC’s admissions process or decisions.
[2] The 2011-12 to 2016-17 admissions cycles refer to the classes of 2016 through 2021 per Arcidiacono's terminology.
[3] See the Arcidiacono Report Tables A.4.1 and A.4.2.
[4] Arcidiacono does not estimate Model 7 for out-of-state applicants. Model 7 includes Census “Tract” fixed effects. Additionally, Arcidiacono's Model 7
cannot be run on in-state applicants from the 2016-17 cycle due to a lack of Census Tract information in that cycle.



                                                           Confidential – Subject to Protective Order


                      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 81 of 103
                                                                                             EXHIBIT 2 FIGURE 1a

Number of Students




                                                                              Average
                                                                              Among Y
                                                                              Applicants



                                                       Average
                                                       Among X
                                                       Applicants




                     ← Lower Scores                         Test Scores                             Higher Scores →



                                                Confidential – Subject to Protective Order


                         Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 82 of 103
                                                                                             EXHIBIT 2 FIGURE 1b




                                            Reject       Accept
Number of Students




                                                                                            Average Among
                                                                                              Admitted Y
                                                                                               Students




                                                             Average
                                                              Among
                                                            Admitted X
                                                             Students




                     ← Lower Scores                        Test Scores                                      Higher Scores →



                                               Confidential – Subject to Protective Order


                        Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 83 of 103
                                                                                                            EXHIBIT 2 FIGURE 2a

                        UNC Admits by Decile Based on Arcidiacono Index
Number of
                      In-State, Average Admissions Cycle (2011-12 to 2016-17)
Admits
900    Left Bar = Actual Admissions
          non-URM Admits, Actual Admissions Probabilities           non-URM Admits, Equalized Admissions Probabilities
800
          URM Admits, Actual Admissions Probabilities               URM Admits, Equalized Admissions Probabilities

700

600

500

400

300

200

100

 0
            1               2               3              4              5             6                   7             8               9              10
                                                               Decile Based on Arcidiacono Index
      Source: Expert Report and Production of Peter S. Arcidiacono, January 17, 2018
      Note: The in-state applicants represented in Arcidiacono Report Table 3.1 represent six admissions cycles, 2011-12 to 2016-17 (this refers to the classes
      of 2016 to 2021 per Arcidiacono's terminology). For each Arcidiacono Index decile, this number is divided by six to represent the average admissions
      cycle. The in-state admissions probabilities by Arcidiacono Index decile and race/ethnicity in Arcidiacono Report Table 3.3 are used to calculate the
      actual in-state admits for the average admissions cycle. To equalize admissions probabilities within each decile, the number of URM and non-URM
      admits for the average admissions cycle are adjusted such that the average admissions probability for each category is equal to the total admissions
      probability by Arcidiacono Index decile in Arcidiacono Report Table 3.3. To be consistent with the Kahlenberg/Arcidiacono Reports, under-represented
      minorities ("URM") include African American and Hispanic applicants (and not Native Americans) and non-URM include Asian and white applicants. This
      Figure excludes Other/NA individuals which includes individuals who identified as Native American, Pacific Islander, or had a missing race/ethnicity. This
      Figure also excludes students who were excluded by Arcidiacono: students who are foreign, are considered to be in “special recruiting categories”
      according to Arcidiacono, are missing ratings variables, have incomplete applications, or were previously admitted. Applicants missing GPAs or test
      scores are also excluded, as these fields are needed to calculate the Arcidiacono Index. In total, the Figure includes 24,808 in-state admits, averaging to
      4,135 for each of the six admissions cycles. Note that this Figure is based on the Arcidiacono Index, which does not accurately reflect UNC’s admissions
      process or decisions. This Figure does not say anything about what would happen under an actual race-blind admissions plan.



                                                               Confidential – Subject to Protective Order


                         Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 84 of 103
                                                                                                             EXHIBIT 2 FIGURE 2b

                     UNC Admits by Decile Based on Arcidiacono Index
Number of         Out-of-State, Average Admissions Cycle (2011-12 to 2016-17)
Admits
600          Left Bar = Actual Admissions                     Right Bar = Equal Admissions
                                    non-URM Admits, Actual Admissions Probabilities
                                    non-URM Admits, Equalized Admissions Probabilities
                                    URM Admits, Actual Admissions Probabilities
500


400


300


200


100


 0
            1               2               3               4              5             6                   7             8               9              10
                                                                Decile Based on Arcidiacono Index
      Source: Expert Report and Production of Peter S. Arcidiacono, January 17, 2018
      Note: The out-of-state applicants represented in Arcidiacono Report Table 3.2 represent six admissions cycles, 2011-12 to 2016-17 (this refers to the
      classes of 2016 to 2021 per Arcidiacono's terminology). For each Arcidiacono Index decile, this number is divided by six to represent the average
      admissions cycle. The out-of-state admissions probabilities by Arcidiacono Index decile and race/ethnicity in Arcidiacono Report Table 3.4 are used to
      calculate the actual out-of-state admits for the average admissions cycle. To equalize admissions probabilities within each decile, the number of URM
      and non-URM admits for the average admissions cycle are adjusted such that the average admissions probability for each category is equal to the total
      admissions probability by Arcidiacono Index decile in Arcidiacono Report Table 3.4. To be consistent with the Kahlenberg/Arcidiacono Reports, under-
      represented minorities ("URM") include African American and Hispanic applicants (and not Native Americans) and non-URM include Asian and white
      applicants. This Figure excludes Other/NA individuals which includes individuals who identified as Native American, Pacific Islander, or had a missing
      race/ethnicity. This Figure also excludes students who were excluded by Arcidiacono: students who are foreign, are considered to be in “special
      recruiting categories” according to Arcidiacono, are missing ratings variables, have incomplete applications, or were previously admitted. Applicants
      missing GPAs or test scores are also excluded, as these fields are needed to calculate the Arcidiacono Index. In total, the Figure includes 8,933 out-of-
      state admits, averaging to 1,489 for each of the six admissions cycles. Note that this Figure is based on the Arcidiacono Index, which does not
      accurately reflect UNC’s admissions process or decisions. This Figure does not say anything about what would happen under an actual race-blind
      admissions plan.


                                                                Confidential – Subject to Protective Order


                         Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 85 of 103
                                                                                                             EXHIBIT 2 FIGURE 3a

                       UNC Admits by Decile Based on Arcidiacono Model 4
Number of              and All-One-Race Estimated Admissions Probabilities
Admits
                       In-State, Average Admissions Cycle (2011-12 to 2016-17)
1200
            Left Bar = Actual Admissions                                Right Bar = Equal Admissions
            non-URM Admits, Actual Admissions Probabilities             non-URM Admits, Equal Admissions Probabilities
1000
            URM Admits, Actual Admissions Probabilities                  URM Admits, Equal Admissions Probabilities

 800


 600


 400


 200


   0
              1               2            3             4            5            6            7           8              9                                10
                                   Decile Based on Arcidiacono Model 4 and All-One-Race Estimated Admissions Probabilities
       Source: Expert Report and Production of Peter S. Arcidiacono, January 17, 2018
       Note: The in-state applicants represented in the Arcidiacono Report Section 4 represent six admissions cycles, 2011-12 to 2016-17 (this refers to the classes
       of 2016 to 2021 per Arcidiacono's terminology). Arcidiacono Model 4 is used to predict admissions probabilities for in-state applicants in these admissions
       cycles. Consistent with his methodology, the race/ethnicity term, but not the race/ethnicity term interacted with missing percentiles, missing GPAs, and rank
       type, is changed to African American, for all students, prior to calculating admissions probabilities. Across all six admissions cycles, in-state applicants are
       binned into deciles based on these probabilities. Actual admissions decisions for the students in these deciles are used to calculate the actual in-state
       admits, within each decile, across all six admissions cycles, and is divided by six to represent the average admissions cycle. To equalize admissions
       probabilities within each decile, the number of URM and non-URM admits for the average admissions cycle are adjusted such that the average admissions
       probability for each category is equal to the total admissions probability in each decile. To be consistent with the Kahlenberg/Arcidiacono Reports, under-
       represented minorities ("URM") include African American and Hispanic applicants (and not Native Americans) and non-URM include Asian and white
       applicants. This Figure excludes Other/NA individuals which includes individuals who identified Native American, Pacific Islander, or had a missing
       race/ethnicity. This Figure also excludes students who were excluded by Arcidiacono: students who are foreign, are considered to be in “special recruiting
       categories” according to Arcidiacono, are missing ratings variables, have incomplete applications, or were previously admitted. In total, the Figure includes
       25,932 in-state admits, averaging to 4,322 for each of the six admissions cycles. Note that this Figure is based on Arcidiacono Model 4, which does not
       accurately reflect UNC’s admissions process or decisions. This Figure does not say anything about what would happen under an actual race-blind
       admissions plan.


                                                                Confidential – Subject to Protective Order


                          Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 86 of 103
                                                                                                              EXHIBIT 2 FIGURE 3b

                     UNC Admits by Decile Based on Arcidiacono Model 4
Number of
                     and All-One-Race Estimated Admissions Probabilities
Admits              Out-of-State, Average Admissions Cycle (2011-12 to 2016-17)
1400
              Left Bar = Actual Admissions                                 Right Bar = Equal Admissions
1200          non-URM Admits, Actual Admissions Probabilities              non-URM Admits, Equal Admissions Probabilities
              URM Admits, Actual Admissions Probabilities                  URM Admits, Equal Admissions Probabilities
1000


 800


 600


 400


 200


   0
              1               2              3            4            5            6            7            8             9                                 10
                                    Decile Based on Arcidiacono Model 4 and All-One-Race Estimated Admissions Probabilities
       Source: Expert Report and Production of Peter S. Arcidiacono, January 17, 2018
       Note: The out-of-state applicants represented in the Arcidiacono Section 4 represent six admissions cycles, 2011-12 to 2016-17 (this refers to the classes of
       2016 to 2021 per Arcidiacono's terminology). Arcidiacono Model 4 is used to predict admissions probabilities for out-of-state applicants in these admissions
       cycles. Consistent with his methodology, the race/ethnicity term, but not the race/ethnicity term interacted with missing percentiles, missing GPAs, and rank
       type, is changed to African American, for all students, prior to calculating admissions probabilities. Across all six admissions cycles, out-of-state applicants
       are binned into deciles based on these probabilities. Actual admissions decisions for the students in these deciles are used to calculate the actual out-of-
       state admits, within each decile, across all six admissions cycles, and is divided by six to represent the average admissions cycle. To equalize admissions
       probabilities within each decile, the number of URM and non-URM admits for the average admissions cycle are adjusted such that the average admissions
       probability for each category is equal to the total admissions probability in each decile. To be consistent with the Kahlenberg/Arcidiacono Reports, under-
       represented minorities ("URM") include African American and Hispanic applicants (and not Native Americans) and non-URM include Asian and white
       applicants. This Figure excludes Other/NA individuals which includes individuals who identified as Native American, Pacific Islander, or had a missing
       race/ethnicity. This Figure also excludes students who were excluded by Arcidiacono: students who are foreign, are considered to be in “special recruiting
       categories” according to Arcidiacono, are missing ratings variables, have incomplete applications, or were previously admitted. In total, the Figure includes
       13,078 out-of-state admits, averaging to 2,180 for each of the six admissions cycles. Note that this Figure is based on Arcidiacono Model 4, which does not
       accurately reflect UNC’s admissions process or decisions. This Figure does not say anything about what would happen under an actual race-blind
       admissions plan.


                                                                Confidential – Subject to Protective Order


                           Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 87 of 103
                                                                                                                        EXHIBIT 2 FIGURE 4a

                       Predicted Change in Probability of Admissions of Asian
                         Students If Treated as African American or Hispanic
                            In-State, 2011-12 to 2016-17 Admissions Cycles


Predicted Change
in Probability
                   Arcidiacono's Claimed Change
16%                          (Table 4.3)
                               14.4%
14%


12%
                                                                                                       Arcidiacono's Claimed Change
                                                                                                                 (Table 4.3)
10%
                                                                                                                    8.9%

8%


6%
                                             Arcidiacono's Claimed                                                             Arcidiacono's Claimed
4%                                            Change Scaled for                                                                 Change Scaled for
                                              Capacity Constraints                                                              Capacity Constraints
                                                     1.7%                                                                              1.8%
2%


0%
                               Treated as African American                                                            Treated as Hispanic
   Source: Connect Carolina; Expert Report and Production of Peter S. Arcidiacono, January 17, 2018
   Note: The 2011-12 to 2016-17 admissions cycles refer to the classes of 2016 through 2021 per Arcidiacono's terminology. Arcidiacono Model 4 is used to
   predict admissions probabilities for in-state Asian students, in these admissions cycles. Consistent with his methodology, the race/ethnicity term, but not the
   race/ethnicity term interacted with missing percentiles, missing GPAs, and rank type, is changed to African American or Hispanic, and the admissions probabilities
   are recalculated based on Arcidiacono Model 4 regression coefficients. The mean change in admissions probability for in-state Asian students if they are
   treated as African American or Hispanic that Arcidiacono reports in Table 4.3 Model 4 is labeled "Arcidiacono's Claimed Change (Table 4.3)." Adjusted admissions
   probabilities are scaled, per Arcidiacono's methodology, to maintain the original number of admitted students in the sample. The mean change between the
   scaled counterfactual and original admissions probability is reported and labeled "Arcidiacono's Claimed Change Scaled for Capacity Constraints." Note that
   this Figure is based on Arcidiacono Model 4, which does not accurately reflect UNC’s admissions process or decisions. This Figure does not say anything about
   what would happen under an actual race-blind admissions plan.



                                                                Confidential – Subject to Protective Order


                           Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 88 of 103
                                                                                                                       EXHIBIT 2 FIGURE 4b

                       Predicted Change in Probability of Admissions of Asian
                         Students If Treated as African American or Hispanic
                          Out-of-State, 2011-12 to 2016-17 Admissions Cycles


Predicted Change
in Probability   Arcidiacono's Claimed Change
                           (Table 4.3)
50%
                             45.6%
45%

40%

35%

30%
                                                                                                      Arcidiacono's Claimed Change
                                                                                                                (Table 4.3)
25%
                                                                                                                  21.6%
20%

15%
                                             Arcidiacono's Claimed                                                            Arcidiacono's Claimed
10%                                           Change Scaled for                                                                Change Scaled for
                                              Capacity Constraints                                                             Capacity Constraints
 5%                                                  3.1%                                                                              3.1%

 0%
                               Treated as African American                                                           Treated as Hispanic
   Source: Connect Carolina; Expert Report and Production of Peter S. Arcidiacono, January 17, 2018
   Note: The 2011-12 to 2016-17 admissions cycles refer to the classes of 2016 through 2021 per Arcidiacono's terminology. Arcidiacono Model 4 is used to
   predict admissions probabilities for out-of-state Asian students, in these admissions cycles. Consistent with his methodology, the race/ethnicity term, but not the
   race/ethnicity term interacted with missing percentiles, missing GPAs, and rank type, is changed to African American or Hispanic, and the admissions probabilities
   are recalculated based on Arcidiacono Model 4 regression coefficients. The mean change in admissions probability for out-of-state Asian students if they are
   treated as African American or Hispanic that Arcidiacono reports in Table 4.3 Model 4 is labeled "Arcidiacono's Claimed Change (Table 4.3)." Adjusted admissions
   probabilities are scaled, per Arcidiacono's methodology, to maintain the original number of admitted students in the sample. The mean change between the
   scaled counterfactual and original admissions probability is reported and labeled "Arcidiacono's Claimed Change Scaled for Capacity Constraints." Note that
   this Figure is based on Arcidiacono Model 4, which does not accurately reflect UNC’s admissions process or decisions. This Figure does not say anything about
   what would happen under an actual race-blind admissions plan.



                                                                Confidential – Subject to Protective Order


                           Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 89 of 103
                                                                                                                    EXHIBIT 2 TABLE 1
   Change in Non-URM Admits with Equalized Admissions Probabilities
                 within Each Arcidiacono Index Decile
            Average Admissions Cycle (2011-12 to 2016-17) [1]

                               Change in non-URM In-State Admits [2]                            Change in non-URM Out-of-State Admits [2]
     Decile                                    Change as a                                                         Change as a
   Based on                                      Share of            Change as a                                     Share of           Change as a
  Arcidiacono          Change in non-            In-State               Share of          Change in non-           Out-of-State            Share of
     Index             URM Admits [3]           Admits [4]           All Admits [5]       URM Admits [3]            Admits [4]          All Admits [5]
         1                      1                  0.02%                 0.02%                     0                  -0.01%                 0.00%
         2                     13                  0.32%                 0.24%                     9                   0.58%                 0.15%
         3                     35                  0.84%                 0.62%                    17                   1.13%                 0.30%
         4                     41                  0.99%                 0.73%                    30                   2.04%                 0.54%
         5                     44                  1.07%                 0.79%                    34                   2.25%                 0.60%
         6                     31                  0.75%                 0.55%                    33                   2.20%                 0.58%
         7                     14                  0.34%                 0.25%                    36                   2.44%                 0.64%
         8                      5                  0.13%                 0.10%                    27                   1.82%                 0.48%
         9                      2                  0.04%                 0.03%                    21                   1.43%                 0.38%
        10                      0                 -0.01%                 0.00%                    19                   1.28%                 0.34%

Source: Expert Report and Production of Peter S. Arcidiacono, January 17, 2018
Note:
[1] Arcidiacono Report Tables 3.1 and 3.2 represent applicant numbers from six admissions cycles, 2011-12 to 2016-17 (this refers to the classes of 2016
to 2021 per Arcidiacono's terminology). For each Arcidiacono Index decile, the number of applicants is divided by six to represent the average
admissions cycle. The in-state and out-of-state admissions probabilities by Arcidiacono Index decile and race/ethnicity in Arcidiacono Report Tables 3.3
and 3.4 are used to calculate the actual in-state and out-of-state admits for the average admissions cycle. To equalize admissions probabilities within
each decile, the number of URM and non-URM admits for the average admissions cycle are adjusted such that the average admissions probability for
each category is equal to the total admissions probability by Arcidiacono Index decile in Arcidiacono Report Tables 3.3 and 3.4. Note that this Exhibit is
based on the Arcidiacono Index, which does not accurately reflect UNC’s admissions process or decisions. This Exhibit does not say anything about what
would happen under an actual race-blind admissions plan.
[2] To be consistent with the Kahlenberg/Arcidiacono Reports, under-represented minorities ("URM") include African American and Hispanic applicants
(and not Native Americans) and non-URM include Asian and white applicants. This Exhibit excludes Other/NA individuals which includes individuals who
identified as Native American, Pacific Islander, or had a missing race/ethnicity. This Exhibit also excludes students who were excluded by Arcidiacono:
students who are foreign, are considered to be in “special recruiting categories” according to Arcidiacono, are missing ratings variables, have incomplete
applications, or were previously admitted. Applicants missing GPAs or test scores are also excluded, as these fields are needed to calculate the
Arcidiacono Index.
[3] The change in non-URM admits is calculated as the difference between the number of non-URM admits in the average admissions cycle and the
number of non-URM admits in the average admissions cycle after equalizing URM and non-URM admission probabilities within each decile. This number
is rounded to the nearest integer.
[4] The change in in-state or out-of-state non-URM admits per decile is divided by the total number of in-state or out-of-state URM and non-URM admits,
in an average admissions cycle. Due to the rounding of the change in the number of admits, a change of zero in the rounded number of admits in this
Exhibit can correspond to a non-zero change in the share admits in this Exhibit.
[5] The change in in-state or out-of-state non-URM admits per decile is divided by the total number of URM and non-URM admits, in an average
admissions cycle. Due to the rounding of the change in the number of admits, a change of zero in the rounded number of admits in this Exhibit can
correspond to a non-zero change in the share admits in this Exhibit.



                                                       Confidential – Subject to Protective Order


           Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 90 of 103
                                                                                                                                    EXHIBIT 3 FIGURE 1
                                   Mean Squared Errors of Admissions Decision Predictions
                                        2014-15 to 2016-17 Admissions Cycles, In-State
 Increase in MSE,
 Out-of-Sample
 Relative to In-Sample

250%
                                                                                                                                                                                 231%
225%

200%

175%
                                                                                                                                                       156%
150%

125%

100%

  75%

  50%                                                                                                                        34%
                                                                         32%                       34%
  25%                                          11%
                     5%
   0%
             Hoxby Report,        Arcidiacono Model 2,         Arcidiacono Model 3,      Arcidiacono Model 4,      Arcidiacono Model 5,      Arcidiacono Model 6,      Arcidiacono Model 7,
        Exhibit 1 Table 1 Row (9)        In-State                     In-State                  In-State                  In-State                  In-State                  In-State


Source: College Board; Connect Carolina; Expert Report and Production of Caroline M. Hoxby, January 12, 2018; Expert Report and Production of Peter S. Arcidiacono, January 17, 2018
Note: For Arcidiacono Models 2–7, described in his Figure 4.1 and for Hoxby Report Exhibit 1 Table 1 row (9), the regression is run separately on each of the 2014-15 to 2016-17 admissions
cycles. The 2014-15 to 2016-17 admissions cycles refer to the classes of 2019 to 2021 per Arcidiacono's terminology. The admissions cycle used to run the regression is referred to as "in-
sample," whereas the other admissions cycles from 2014-15 to 2016-17 are considered "out-of-sample." For each admissions cycle, the resulting coefficients are used to predict admissions for
out-of-sample applicants that meet the same exclusion criteria specified in the original regression. Arcidiacono Models 2–7 are run on in-state applicants in Connect Carolina data. Hoxby Report
Exhibit 1 Table 1 row (9) pools in-state and out-of-state applicants. For each regression and admissions cycle from 2014-15 to 2016-17, the actual admissions decision of each student is
subtracted from their predicted admissions probability, and this result is squared. The mean squared error ("MSE") is computed for each admissions cycle, and the percentage increase of MSE
from the in-sample admissions cycles to each out-of-sample admissions cycle is calculated. The average of the percentage increase in MSE is then taken across the admissions cycles. Due to a
change in the recording methodology of parent/guardian education level after 2013-14, which is used in Hoxby Report Exhibit 1 Table 1 row (9), the calculation of MSE starts in 2014-15. No MSE
is calculated for Arcidiacono Model 7 in the 2016-17 cycle due to a lack of Census Tract information in that cycle.




                                                                             Confidential – Subject to Protective Order


                                   Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 91 of 103
                                                                                                                                      EXHIBIT 3 FIGURE 2
                                    Mean Squared Errors of Admissions Decision Predictions
                                       2014-15 to 2016-17 Admissions Cycles, Out-of-State
 Increase in MSE,
 Out-of-Sample
 Relative to In-Sample

250%

225%

200%                                                                                                                                                                             188%

175%

150%

125%

100%

  75%

  50%                                                                                41%                            42%
                                                                                                                                                  26%
                                                      20%
  25%
                        5%
   0%
               Hoxby Report,                Arcidiacono Model 2,          Arcidiacono Model 3,           Arcidiacono Model 4,           Arcidiacono Model 5,           Arcidiacono Model 6,
          Exhibit 1 Table 1 Row (9)             Out-of-State                  Out-of-State                   Out-of-State                   Out-of-State                   Out-of-State


Source: College Board; Connect Carolina; Expert Report and Production of Caroline M. Hoxby, January 12, 2018; Expert Report and Production of Peter S. Arcidiacono, January 17, 2018
Note: For Arcidiacono Models 2–6, described in his Figure 4.1 and for Hoxby Report Exhibit 1 Table 1 row (9), the regression is run separately on each of the 2014-15 to 2016-17 admissions
cycles. The 2014-15 to 2016-17 admissions cycles refer to the classes of 2019 to 2021 per Arcidiacono's terminology. Arcidiacono does not employ Model 7 for out-of-state applicants. Model 7
includes Census Tract fixed effects, which are not relevant for out-of-state applicants. The admissions cycle used to run the regression is referred to as "in-sample," whereas the other admissions
cycles from 2014-15 to 2016-17 are considered "out-of-sample." For each admissions cycle, the resulting coefficients are used to predict admissions for out-of-sample applicants that meet the
same exclusion criteria specified in the original regression. Arcidiacono Models 2–6 are run on out-of-state applicants in Connect Carolina data. Hoxby Report Exhibit 1 Table 1 row (9) pools in-
state and out-of-state applicants. For each regression and admissions cycle from 2014-15 to 2016-17, the actual admissions decision of each student is subtracted from their predicted admissions
probability, and this result is squared. The mean squared error ("MSE") is computed for each admissions cycle, and the percentage increase of MSE from the in-sample admissions cycles to each
out-of-sample admissions cycle is calculated. The average of the percentage increase in MSE is then taken across the admissions cycles. Due to a change in the recording methodology of
parent/guardian education level after 2013-14, which is used in Hoxby Report Exhibit 1 Table 1 row (9), the calculation of MSE starts in 2014-15.




                                                                             Confidential – Subject to Protective Order


                                   Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 92 of 103
                                                                                                                                     EXHIBIT 4 TABLE 1

                          Shrinkage Statistics of Admissions Decision Predictions [1]
                               2011-12 to 2016-17 Admissions Cycles, In-State [2]
                                                                                                          Overfitting Shrinkage
                Specification                                     Average Shrinkage Estimate                                                 Standard Error

  Hoxby Report
   Exhibit 1 Table 1 Row (9) [3]                                                  0.072                                                             0.008

  Arcidiacono Report [4]
   Model 2, In-State                                                              0.112                                                             0.010
   Model 3, In-State                                                              0.135                                                             0.007
   Model 4, In-State                                                              0.166                                                             0.010
   Model 5, In-State                                                              0.192                                                             0.012
   Model 6, In-State                                                              1.225                                                             0.025
   Model 7, In-State                                                              3.116                                                             0.043

Source: Bilger and Manning (2015); College Board; Connect Carolina; Expert Report and Production of Caroline M. Hoxby, January 12, 2018; Expert Report and Production of
Peter S. Arcidiacono, January 17, 2018; Marcel Bilger's overfit.ado
Note:
[1] Shrinkage estimates are calculated using 10-fold cross-validation, repeated five times. Overfitting shrinkage is calculated as per Bilger and Manning (2015), via Marcel Bilger's
overfit.ado Stata program.
[2] The 2011-12 to 2016-17 admissions cycles refer to the classes of 2016 through 2021 per Arcidiacono's terminology.
[3] The regression employed is from Hoxby Exhibit 1 Table 1 row (9), based on Connect Carolina data from the 2014-15 to 2016-17 admissions cycles. The model pools in-state
and out-of-state applicants. Due to a change in the recording methodology of parent/guardian education level after 2013-14, only cycles after 2013-14 are used.
[4] Arcidiacono Models 2–6 are run on in-state applicants in Connect Carolina data from the 2011-12 to 2016-17 admissions cycles. Arcidiacono Model 7 cannot be run on the
2016-17 cycle due to a lack of Census Tract information in that cycle, and therefore Arcidiacono Model 7 is run on in-state applicants in Connect Carolina data from the 2011-12 to
2015-16 admissions cycles.




                                                                       Confidential – Subject to Protective Order


                                Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 93 of 103
                                                                                                                                     EXHIBIT 4 TABLE 2

                          Shrinkage Statistics of Admissions Decision Predictions [1]
                             2011-12 to 2016-17 Admissions Cycles, Out-of-State [2]
                                                                                                          Overfitting Shrinkage
                Specification                                     Average Shrinkage Estimate                                                 Standard Error

  Hoxby Report
   Exhibit 1 Table 1 Row (9) [3]                                                  0.072                                                             0.008

  Arcidiacono Report [4]
   Model 2, Out-of-State                                                          0.205                                                             0.016
   Model 3, Out-of-State                                                          0.213                                                             0.013
   Model 4, Out-of-State                                                          0.263                                                             0.015
   Model 5, Out-of-State                                                          0.340                                                             0.014
   Model 6, Out-of-State                                                          7.607                                                             0.039

Source: Bilger and Manning (2015); College Board; Connect Carolina; Expert Report and Production of Caroline M. Hoxby, January 12, 2018; Expert Report and Production of
Peter S. Arcidiacono, January 17, 2018; Marcel Bilger's overfit.ado
Note:
[1] Shrinkage estimates are calculated using 10-fold cross-validation, repeated five times. Overfitting shrinkage is calculated as per Bilger and Manning (2015), via Marcel Bilger's
overfit.ado Stata program.
[2] The 2011-12 to 2016-17 admissions cycles refer to the classes of 2016 through 2021 per Arcidiacono's terminology.
[3] The regression employed is from Hoxby Exhibit 1 Table 1 row (9), based on Connect Carolina data from the 2014-15 to 2016-17 admissions cycles. The model pools in-state
and out-of-state applicants. Due to a change in the recording methodology of parent/guardian education level after 2013-14, only cycles after 2013-14 are used.
[4] Arcidiacono Models 2–6, are run on out-of-state applicants in Connect Carolina data from the 2011-12 to 2016-17 admissions cycles. Arcidiacono does not employ Model 7 for
out-of-state applicants. Model 7 includes Census Tract fixed effects, which are not relevant for out-of-state applicants.




                                                                       Confidential – Subject to Protective Order


                                Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 94 of 103
                                                                                                                                                                    EXHIBIT 5

                          Sensitivities of Arcidiacono Models 2 and 3:
      Impact of Excluding "Special Recruiting Category" Students and Including Ratings [1]
                            2011-12 to 2016-17 Admissions Cycles [2]
                                                                                                                                                     Coefficient on              Coefficient on
                                                                                                                                                    African American               Hispanic
                                                                                                                                                     Race/Ethnicity              Race/Ethnicity
                       Model Relative to Arcidiacono Report Specifications                                                Pseudo R2                     Indicator                  Indicator

  In-State
    Arcidiacono Model 3 [3]                                                                                                  0.715                          2.85                       1.81
    Arcidiacono Model 3 without Excluding "Special Recruiting Category" Students [3][4]                                      0.688                          2.41                       1.53
    Arcidiacono Model 2                                                                                                      0.565                          1.84                       1.27
    Arcidiacono Model 2 without Excluding "Special Recruiting Category" Students [4]                                         0.556                          1.72                       1.17

  Out-of-State
   Arcidiacono Model 3 [3]                                                                                                   0.584                          5.85                       3.01
   Arcidiacono Model 3 without Excluding "Special Recruiting Category" Students [3][4]                                       0.523                          4.32                       2.30
   Arcidiacono Model 2                                                                                                       0.416                          4.68                       2.43
   Arcidiacono Model 2 without Excluding "Special Recruiting Category" Students [4]                                          0.352                          3.75                       1.95

Source: Connect Carolina; Connect Carolina Flat File Data Definitions; Expert Report and Production of Peter S. Arcidiacono, January 17, 2018
Note:
[1] Note that this Exhibit is based on Arcidiacono Models 2 and 3, which do not accurately reflect UNC’s admissions process or decisions. This Exhibit does not say anything about what would
happen under an actual race-blind admissions plan.
[2] The 2011-12 to 2016-17 admissions cycles refer to the classes of 2016 through 2021 per Arcidiacono's terminology.
[3] All of Arcidiacono Models 3 and higher include the five ratings variables: program, performance, extracurricular activities, essay, and personal qualities.
[4] Variables that indicate a student is a "Special Recruiting Category" student have the following definitions, according to the Connect Carolina data dictionary: doesn't meet ACG, advanced
courses, Alamance Community College, attended Camp Carolina, member of Carolina Student Transfer Excellence Program, distinction, Dean of Students access (related to disciplinary issues),
Dean of Students cleared, drama possible, drama final, Durham Tech Community College, external program, previously used to mark Honors Carolina nominees, Honors Carolina invitee,
Innovation Scholars access rights, men's JV basketball, student received likely letter, Morehead-Cain access rights, music final, Pogue Scholarship alternate, Pogue access rights, Pogue finalist,
Pogue nominee, Pogue semi-finalist, Pogue winner, priority oos, Robertson alternate, Robertson finalist, Robertson semifinalist, Robertson winner, sub-d final (learning disability self-disclosed),
scholarship invitee day 1, scholarship invitee day 2, science, Trademark Scholarship, Project Uplift attendee, special talent athlete.




                                                                             Confidential – Subject to Protective Order


                                   Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 95 of 103
                                                                                                                                                                                EXHIBIT 6
                                                 KA Simulation 3 (Socioeconomic Status-Based Plan)
                                                  Using Arcidiacono Model 2 and NCERDC Data [1]
                                                             2014-15 Admissions Cycle [2]
                                          Status Quo                                            Kahlenberg/Arcidiacono Simulation 3                             Kahlenberg/Arcidiacono Simulation 3
                         (Actual UNC Resident Public School Admits) [3]                               Applied to NCERDC [4]                                      Applied to NCERDC and Scaled [5]
                                                Avg. SAT                                                         Avg. SAT                                                        Avg. SAT
Race/Ethnicity [6]       Total Admits           Score [7]          Avg. GPA [8]           Total Admits           Score [7]         Avg. GPA [8]           Total Admits           Score [7]          Avg. GPA [8]
African American                  293                 1196               4.57                      8,322               878               4.09                      665                 1028               4.56
Asian                             401                 1349               4.78                      1,276              1158               4.68                      164                 1215               4.87
Hispanic                          204                 1235               4.62                      3,233               957               4.18                      324                 1090               4.62
Native American                    65                 1256               4.62                        899               862               4.19                      102                 1020               4.60
Pacific Islander                    4                 1266               4.91                         41              1060               4.28                        5                 1186               4.54
White                           2,360                 1316               4.75                     17,707              1092               4.46                    2,081                 1166               4.69
Missing                           124                 1350               4.77                         17               870               2.82                        1                  928               2.82
Multi-racial                        -                    -                  -                      1,035              1025               4.33                      100                 1128               4.64
Total                           3,451                 1305               4.73                     32,529              1025               4.40                    3,442                 1136               4.69

Source: 2010 Census; 2010-2014 American Community Survey 5-Year Estimates; Census Block to Zip Code Crosswalk; Connect Carolina; Connect Carolina-NCERDC Crosswalk; Expert Report and Production
of Peter S. Arcidiacono, January 17, 2018; Expert Report and Production of Richard D. Kahlenberg, January 12, 2018; NCERDC; North Carolina Public High School List; U.S. Department of Education
Note:
[1] Arcidiacono Model 2 Logit regression is estimated on in-state applicants using all Connect Carolina variables for which analogues exist in NCERDC. The variables alum, decision round, class rank type, and
athletic preference are therefore excluded. Fee waiver and first generation college status are proxied and included. Each is proxied using Probit regressions of the desired variable on several ACS
socioeconomic variables (details in text). The estimated Model 2 regression is used to predict index values for the 98,214 non-foreign NCERDC students in the high school graduation year 2014-15. A predicted
admitted class is constructed following Kahlenberg/Arcidiacono’s method of summing the predicted admissions probabilities across all students. Note that this Exhibit is based on Arcidiacono Model 2, which
does not accurately reflect UNC’s admissions process or decisions. This Exhibit does not say anything about what would happen under an actual race-blind admissions plan.
[2] The 2014-15 admissions cycle refers to the class of 2019 per Kahlenberg/Arcidiacono's terminology.
[3] The number of admits in the Status Quo is calculated using North Carolina resident public school students (excluding students who are foreign, are considered to be in “special recruiting categories”
according to Arcidiacono, are missing ratings variables, have incomplete applications, or were previously admitted) in the Connect Carolina data. Unlike in KA Simulation 3, applicants with athletic preference are
also excluded because there is no analogous indicator in NCERDC data.
[4] Simulation 3 includes no racial/ethnic preferences, no legacy preference, no early decision preference, and no female preference, while adding in Kahlenberg/Arcidiacono’s family and neighborhood
socioeconomic status-based preferences (the index value is adjusted by 5 for students who have SES_family equal to one and by 5 for students who have SES_neighborhood equal to one). Unlike in the KA
simulations, race/ethnicity interacted with missing percentile and missing GPA is also turned off. A predicted admitted class is constructed following Kahlenberg/Arcidiacono’s method of summing the predicted
admissions probabilities across all students. All counts and average test scores/GPAs are weighted by students' predicted admissions probabilities.
[5] Simulation 3 is run as described in [4]. However, the predicted probabilities of admissions are scaled, per Kahlenberg/Arcidiacono's methodology, until the sum of predicted probabilities is reasonably close to
the number of admitted North Carolina resident public school students in the status quo. All counts and average test scores/GPAs are weighted by students' predicted scaled admissions probabilities.
[6] Arcidiacono Model 2 is estimated using the race/ethnicity categories in NCERDC data rather than those in Connect Carolina data, so that the resulting coefficients can be applied to NCERDC data. Therefore,
individuals who are both African American and Hispanic in Connect Carolina data are considered African American for the purposes of the estimation because that is how students in NCERDC data are
categorized. Because multi-racial is not a race/ethnicity category in Connect Carolina, students identified only as multi-racial in NCERDC are given a value between zero and one for the indicator for each
race/ethnicity based on 2010 Census data for those who self-reported as multi-racial: 52.5% African American, 12.7% Asian, 20.7% Hispanic, 1.1% Missing, 11.7% Native American, and 1.3% Pacific Islander.
[7] The average SAT reported is computed based on the highest SAT or converted SAT (based on ACT, using Arcidiacono’s method) for all students with non-missing values of SAT or converted SAT.
[8] Following Arcidiacono’s method, GPAs below 1 and above 5.41 are set to missing. The average GPA reported is computed for students with non-missing GPAs.




                                                                                   Confidential – Subject to Protective Order


                                      Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 96 of 103
                                                                                                                       EXHIBIT 7
   SAT Score Increase Equivalent to Kahlenberg Bumps [1]
                2014-15 Admissions Cycle [2]
                                                                                Equivalent Increase in SAT Score
           Number of Kahlenberg Bumps [3]                                        (Combined Math and Verbal) [4]

1 bump (A, B, or C)                                                                           278
2 bumps (A + B, A + C, or B + C)                                                              556
3 (all) bumps (A + B + C)                                                                     834


Source: Connect Carolina; Expert Report and Production of Peter S. Arcidiacono, January 17, 2018
Note:
[1] Note that this Exhibit is based on Arcidiacono Model 4, which does not accurately reflect UNC’s admissions process or
decisions. This Exhibit does not say anything about what would happen under an actual race-blind admissions plan.
[2] The 2014-15 admissions cycle refers to the class of 2019 per Kahlenberg/Arcidiacono's terminology.
[3] See report text for a description of Kahlenberg Bumps A, B, and C. These correspond to what Kahlenberg refers to as
preferences for “coming from a family that is socioeconomically disadvantaged,” “growing up in a disadvantaged
neighborhood,” and “attend[ing] schools which are in the most socioeconomically disadvantaged third,” respectively. See
Kahlenberg Report, pp. 68–70.
[4] Equivalent increases in SAT scores are computed based on coefficients from the regression used in KA Simulations 1–3,
run on in-state applicants in the 2014-15 admissions cycle. Arcidacono Model 4 is run with athletic preferences. An equivalent
increase in SAT score is calculated assuming that one half of the increase would be in the SAT Math score and the other half
would be in the SAT Verbal score.




                                             Confidential – Subject to Protective Order


        Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 97 of 103
                                                                                                                              EXHIBIT 8

 Number of URM and Non-URM North Carolina Public School
         Students Eligible for Kahlenberg Bumps
              2014-15 Admissions Cycle [1]
 Number of Kahlenberg Bumps for
   Which Student is Eligible [2]                 Number of URM Students [3]                 Number of Non-URM Students [3]

0 bumps                                                           3,937                                    21,030
1 bump or more
(A, B, C or combination)                                        35,247                                     35,979
2 bumps or more
(A + B, A + C, B + C, or A + B + C)                             21,327                                     18,349

Source: 2010 Census; 2010-2014 American Community Survey 5-Year Estimates; Connect Carolina; Connect Carolina-NCERDC
Crosswalk; Expert Report and Production of Richard D. Kahlenberg, January 12, 2018; NCERDC
Note:
[1] The 2014-15 admissions cycle refers to the class of 2019 per Kahlenberg/Arcidiacono's terminology.
[2] See report text for a description of Kahlenberg Bumps A, B, and C. These correspond to what Kahlenberg refers to as
preferences for “coming from a family that is socioeconomically disadvantaged,” “growing up in a disadvantaged neighborhood,”
and “attend[ing] schools which are in the most socioeconomically disadvantaged third,” respectively. See Kahlenberg Report, pp.
68–70.
[3] To be consistent with the Kahlenberg/Arcidiacono Reports, under-represented minorities ("URM") include African American and
Hispanic applicants (and not Native Americans) and non-URM include Asian and white applicants. This Exhibit excludes Other/NA
individuals which include individuals who identified as Native American, Pacific Islander, or had a missing race/ethnicity. A number
of students identified only as multi-racial in NCERDC whereas all students in Connect Carolina identified their specific race(s).
Based on 2010 Census data, 73.2% of students self-reporting as multi-racial are considered as URM, and are included in the
number of URM students; 12.7% of students self-reporting as multi-racial are considered as non-URM, and are included in number
of non-URM students.




                                               Confidential – Subject to Protective Order


          Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 98 of 103
                                                                                                                                                                       EXHIBIT 9
    KA Simulation 5: Top 4.5 Percent Model, with Average SAT Score Calculated Correctly [1]
                                 2014-15 Admissions Cycle [2]
                                                                                                                                                      Kahlenberg Report Results, but
                          Status Quo: Actual UNC Admitted Class [3]                         Kahlenberg Report Results [4]                     Without Adm. Prob. Weighting on Test Scores [5]
  Race/Ethnicity              Total Admits               Avg. SAT Score                 Total Admits               Avg. SAT Score                                 Avg. SAT Score
African American                  383 (9%)                      1195                     491 (13%)                        1216                                          1098
Asian                            488 (11%)                      1354                     423 (11%)                        1359                                          1294
Hispanic                          241 (5%)                      1238                      237 (6%)                        1272                                          1189
Native American                    74 (2%)                      1261                       49 (1%)                        1298                                          1214
Pacific Islander                    7 (0%)                      1284                        5 (0%)                        1270                                          1239
White                          3,064 (69%)                      1320                   2,419 (65%)                        1323                                          1271
Missing                           170 (4%)                      1358                      117 (3%)                        1352                                          1310

Total                         4,427 (100%)                      1309                  3,741 (100%)                        1320                                          1246
Source: Connect Carolina; Connect Carolina-NCERDC Crosswalk; Expert Report and Production of Richard D. Kahlenberg, January 12, 2018; NCERDC
Note:
[1] Note that this Exhibit is based on Arcidiacono Model 4, which does not accurately reflect UNC’s admissions process or decisions. This Exhibit does not say anything about what would happen under
an actual race-blind admissions plan.
[2] The 2014-15 admissions cycle refers to the class of 2019 per Kahlenberg/Arcidiacono's terminology.
[3] The Status Quo is reported in the Kahlenberg Report Table C.3. Average SAT scores by race/ethnicity are not reported by Kahlenberg, but are reported here based on the underlying code.
[4] The results of Simulation 5 are reported in the Kahlenberg Report Table C.3. Average SAT scores by race/ethnicity are not reported by Kahlenberg, but are reported here based on the underlying
code.
[5] In the Kahlenberg Report Table C.3, SAT scores are weighted by the admitted students' predicted admissions probabilities. However, per the Kahlenberg Top Plan, once a student is identified as
eligible for admissions, he or she is admitted. Therefore, admitted students' SAT scores should not be weighted by the predicted admissions probabilities, as all admissions probabilities for admitted
students are equal to 1. The average SAT scores here are presented by weighting all admitted students equally. Also, Kahlenberg/Arcidiacono mistakenly exclude students' SAT scores from the
average calculations when the student is missing GPA. This is corrected here. Only students with missing SAT scores are excluded from the calculation of average SAT scores.




                                                                               Confidential – Subject to Protective Order


                                    Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 99 of 103
                          Appendix A




Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 100 of 103
                                             Appendix A
                                     Materials Relied Upon


Academic Articles
   •    Bilger M. and W. Manning, “Measuring overfitting in nonlinear models: A new method
        and an application to health expenditures,” Health Economics 24, no. 1 (2015): 75–85.
   •    Copas, J., "Cross-Validation Shrinkage of Regression Predictors," Journal of the Royal
        Statistical Society, Series B (Methodological) 49, no. 2 (1987): 175–183.
   •    Copas, J., "Regression, Prediction and Shrinkage," Journal of the Royal Statistical
        Society, Series B (Methodological) 45, no. 3 (1983): 311–354.
   •    Czajka, J., J. Jacobson, and S. Cody, “Survey Estimates of Wealth: A Comparative
        Analysis and Review of the Survey of Income and Program Participation.” Social
        Security Bulletin 65, no. 1 (2003-2004): 63–69.
   •    Eggleston, J, and M. Klee, “Reassessing wealth data quality in the Survey of Income and
        Program Participation,” SEHSD Working Paper, (2016): 1–48.
   •    Heckman, J., “The Common Structure of Statistical Models of Truncation, Sample
        Selection and Limited Dependent Variables and a Simple Estimator for Such Models,”
        Annals of Economic and Social Measurement in NBER 5, no. 4 (1973): 475–492.
   •    Johnson, B. and K. Moore, “Consider the Source: Differences in Estimates of Income and
        Wealth From Survey and Tax Data,” Special Studies in Federal Tax Statistics (2005):
        77–99.
   •    Su Jin Jez, "The Influence of Wealth and Race in Four-Year College Attendance,"
        University of California at Berkeley, Center for Studies in Higher Education, (2008).
   •    Varian, H., “Big Data: New Tricks for Econometrics,” Journal of Economic Perspectives
        28, no. 2 (2014): 3–28.
   •    Winship, C. and R. D. Mare, “Models for Sample Selection Bias,” Annual Review of
        Sociology, 18, (1992): 327–350.


Bates Stamped Documents
   •    UNC0079430–37.
   •    UNC0323603.


Books
   •    Greene, W., Econometric Analysis. New Jersey: Pearson Prentice Hall, 2008.
   •    Harrell Jr., F., Regression Modeling Strategies: With Applications to Linear Models,
        Logistic Regressions, and Survival Analysis, 1st ed., New York: Springer, 2001.
   •    Stock, J., and M. Watson, Introduction to Econometrics, New York: Pearson Education,
        2003.




                                 Confidential – Subject to Protective Order              Page 1



  Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 101 of 103
Expert Reports
   •   Expert Report of Bridget T. Long, filed January 12, 2018.
   •   Expert Report of Caroline M. Hoxby, filed January 12, 2018.
   •   Expert Report and Production of Peter S. Arcidiacono, filed January 17, 2018.
   •   Expert Report and Production of Richard D. Kahlenberg, filed January 12, 2018.


Legal Documents
   •   Complaint, Students for Fair Admissions, Inc. v. University of North Carolina, Case No.
       1:14-cv-954, The Middle District of North Carolina, dated November 17, 2014.


Websites
   •   “2007 USED Guidance on Maintaining, Collecting and Reporting Race and Ethnicity
       Data,” Federal Register, A Notice by the Education Department on 10/19/2007, available
       at https://www.federalregister.gov/documents/2007/10/19/E7-20613/final-guidance-on-
       maintaining-collecting-and-reporting-racial-and-ethnic-data-to-the-us-department.
   •   “ACT and SAT® Concordance Tables,” College Board, Office of Research and
       Development, Research Note RN-40, October 2009, available at
       https://files.eric.ed.gov/fulltext/ED562594.pdf.
   •   “Frequently Asked Questions,” USPS, available at faq.usps.com.
   •   “Geographic Areas Reference Manual,” US Census Bureau, November 2014, available at
       https://www2.census.gov/geo/pdfs/reference/GARM/Ch10GARM.pdf.
   •   “Geographic Terms and Concepts – Census Tract,” United States Census Bureau,
       available at https://www.census.gov/geo/reference/gtc/gtc_ct.html.
   •   “On the Bubble,” Oxford English Dictionaries, available
       https://en.oxforddictionaries.com/definition/on_the_bubble.
   •   “Overfitting,” Oxford English Dictionaries, available
       https://en.oxforddictionaries.com/definition/us/overfitting.
   •   “Privacy and Security Information,” FAFSA, available at
       https://fafsa.ed.gov/privacynotice.htm.
   •    “Questions on the Form and Why We Ask,” US Census Bureau, available at
       https://www.census.gov/acs/www/about/why-we-ask-each-question/.
   •   “Segment Analysis Service,” College Board Search, available at
       https://collegeboardsearch.collegeboard.org/pastudentsrch/support/licensing/college-
       board-search-services/segment-analysis-service.
   •   “Survey of Income and Program Participation, Core Questionnaire, Assets,” US Census
       Bureau, available at https://www.census.gov/programs-surveys/sipp/tech-
       documentation/questionnaires.html.
   •   “The confidentiality of the information provided in the study is of the highest importance
       to NORC and the Federal Reserve,” Federal Reserve, available at
       https://www.federalreserve.gov/econres/aboutscf.htm.
   •   “What is the net worth of your current businesses and / or investment farms?” FASFA,
       available at https://fafsa.ed.gov/fotw1819/help/fotw35c.htm.



                                 Confidential – Subject to Protective Order                Page 2



 Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 102 of 103
   •   Advisory Committee on Undergraduate Admissions, “2012-2013 Annual Report,”
       University of North Carolina, April 25, 2014, available at
       https://carolinacommitment.unc.edu/files/2014/04/April-25-Annual-Report-Advisory-
       Committee-on-Undergraduate-Admissions.pdf.


Data
   •   Data cited in my January 12, 2018 report.
   •   Census Block to Zip Code Crosswalk.
   •   New SAT© to Old SAT© Concordance Tables, The College Board, May 2016.


All other materials cited in this rebuttal report and in my January 12, 2018 report.




                                  Confidential – Subject to Protective Order           Page 3



  Case 1:14-cv-00954-LCB-JLW Document 166-8 Filed 01/18/19 Page 103 of 103
